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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY

 UNITED STATES OF AMERICA, THE STATE OF               )
 CALIFORNIA, THE STATE OF COLORADO, THE               )   CASE NO. 12-cv-07758-MAS-LHG
 STATE OF CONNECTICUT, THE STATE OF                   )
 DELAWARE, THE STATE OF FLORIDA, THE                  )     JURY TRIAL DEMANDED
 STATE OF GEORGIA, THE STATE OF HAWAII,               )
 THE STATE OF ILLINOIS, THE STATE OF                  )
 INDIANA, THE STATE OF IOWA, THE STATE OF             )
 LOUISIANA, THE COMMONWEALTH OF                       )
 MASSACHUSETTS, THE STATE OF MICHIGAN,                )
 THE STATE OF MINNESOTA, THE STATE OF                 )
 MONTANA, THE STATE OF NEVADA, THE STATE              )
 OF NEW JERSEY, THE STATE OF NEW MEXICO,              )
 THE STATE OF NEW NEW YORK, THE STATE OF              )
 NORTH CAROLINA, THE STATE OF OKLAHOMA,               )
 THE STATE OF RHODE ISLAND, THE STATE OF              )
 TENNESSEE, THE STATE OF TEXAS, THE                   )
 COMMONWEALTH OF VIRGINIA, THE STATE OF               )
 WASHINGTON, AND THE DISTRICT OF                      )
 COLUMBIA, EX REL. JESSICA PENELOW and                )
 CHRISTINE BRANCACCIO,                                )
                                                      )
                              Plaintiffs,             )
                                                      )
         vs.                                          )
                                                      )
 JANSSEN PRODUCTS, LP,
                                                      )
                             Defendant.               )

 SECOND AMENDED COMPLAINT PURSUANT TO THE FEDERAL FALSE CLAIMS
   ACT, 31 U.S.C. §§ 3729 ET SEQ. AND PENDENT STATE FALSE CLAIMS ACTS
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                                          COMPLAINT

        The qui tam Relators, Jessica Penelow (“Relator Penelow”) and Christine Brancaccio

 (“Relator Brancaccio”) (collectively, “Relators”), on behalf of the United States of America, The

 State of California, The State of Colorado, The State of Connecticut, The State of Delaware, The

 State of Florida, The State of Georgia, The State of Hawaii, The State of Illinois, The State of

 Indiana, The State of Iowa, The State of Louisiana, The Commonwealth of Massachusetts, The

 State of Michigan, The State of Minnesota, The State of Montana, The State of Nevada, The State

 of New Jersey, The State of New Mexico, The State of New York, The State of North Carolina,

 The State of Oklahoma, The State of Rhode Island, The State of Tennessee, The State of Texas,

 The Commonwealth of Virginia, The State of Washington and The District of Columbia

 (hereinafter referred to as the “Relator States” and collectively with the United States as the

 “Government Plaintiffs”), bring this action against Janssen Products, LP ( “Defendant” or

 “Janssen”) for violations of the Federal False Claims Act, 31 U.S.C. § 3729 et seq. and the federal

 Anti-Kickback Statute, 42 U.S.C. § 1320a-7b, as well as for violations of the following state false

 claims acts: The California False Claims Act, § 12650, et seq.; The Colorado Medicaid False

 Claims Act, § 25.5-4-304, et seq.; The Connecticut False Claims Act, § 17b-301a, et seq.; The

 Delaware False Claims and Reporting Act, § 1201, et seq.; The Florida False Claims Act, § 68.081,

 et seq.; The Georgia State False Medicaid Claims Act, § 49-4-168, et seq.; The Hawaii False

 Claims Act, § 661-21, et seq.; The Illinois False Claims Act, § 175/1, et seq.; The Indiana False

 Claims and Whistleblower Protection Act, IC 5-11-5.5-1, et seq.; The Iowa False Claims Act,

 §685.1, et seq.; The Louisiana False Claims Act, § 46:437.1, et seq.; The Massachusetts False

 Claims Act, Ch. 12 § 5A, et seq.; The Michigan Medicaid False Claim Act, § 400.601, et seq.; The

 Minnesota False Claims Act, § 15C.01, et seq.; The Montana False Claims Act, § 17-8-401, et

 seq.; The Nevada Submission of False Claims to State or Local Government Act, § 357.010, et
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 seq.; The New Jersey False Claims Act, § 2A:32C-1, et seq.; The New Mexico Medicaid False

 Claims Act, § 27-14-1, et seq.; The New York False Claims Act, § 187, et seq.; The North Carolina

 Medical Assistance Provider False Claims Act, § 108A-70.10, et seq.; Oklahoma Medicaid

 Program Integrity Act §1005(A)(6); The Rhode Island False Claims Act, § 9-1.1-1, et seq.; The

 Tennessee Medicaid False Claims Act, § 71-5-181, et seq.; The Texas Medicaid Fraud Prevention

 Act, § 36.001, et seq.; The Virginia Fraud Against Taxpayers Act, § 8.01-216.1, et seq.; The

 Washington Health Care False Claim Act, § 48.80.010, et seq.; The District of Columbia False

 Claims Act, § 2-381.01, et seq (hereinafter referred to as the “State False Claims Acts”), to recover

 all damages, civil penalties and all other recoveries provided for under the Federal False Claims

 Act and the State False Claims Acts.

        The relevant state and federal programs that paid for prescriptions of Prezista and Intelence

 based on Janssen’s fraudulent course of conduct are referred to herein as the Government Health

 Care Programs.

                                 SUMMARY OF THE ACTION

        1.      This case involves the illegal, off-label marketing of two Janssen drugs, Prezista

 (darunavir) and Intelence (etravirine), both antiretroviral (“ARV”) drugs used to treat patients

 infected with HIV (“human immunodeficiency virus”)/AIDS (“acquired immune deficiency

 syndrome”). Janssen and its parent company, Johnson & Johnson (“J & J”), are companies with a

 long history of prior misconduct involving off-label promotion of its drugs, including the

 blockbuster anti-psychotic drug, Risperdal, the epilepsy drug, Topamax, and the heart failure drug,

 Natrecor. Despite this history, Defendant continues to market and sell the ARV drugs Prezista and

 Intelence with misleading, off-label marketing and kickbacks, thereby knowingly causing

 physicians to prescribe the drugs, and the Government Plaintiffs to reimburse for these very




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 expensive drugs, in violation of the Federal and State False Claims Acts and the federal Anti-

 Kickback Statute.

        2.      As set forth herein, in selling and promoting Prezista, Janssen, through its sales

 representatives and managers, routinely delivered false and misleading messages to physicians by:

 1) promoting Prezista as “lipid-neutral” contrary to its FDA-approved label which indicates that a

 side effect of the drug is an increase in cholesterol and triglycerides; and 2) misstating Prezista’s

 superiority, efficacy and potency based on the uniqueness of its “binding affinity.”

        3.      With respect to promoting Prezista as “lipid-neutral,” Janssen falsely and

 misleadingly claimed that the drug would not affect or increase a patient’s cholesterol or

 triglyceride levels, which is directly contradicted by the FDA-approved label for Prezista.

 Prezista’s label shows that the drug has a significant negative effect on lipids, including cholesterol

 and triglycerides. The label specifically lists as serious adverse drug reactions the following: high

 cholesterol (hypercholesterolemia), high triglycerides (hypertriglyceridemia) and an increase in

 LDL (“bad” cholesterol).

        4.      This misleading promotion, which began in 2006 and continued through 2014, is

 significant because heart disease caused by high cholesterol and triglycerides is a real safety threat

 and concern for HIV/AIDS patients. Heart disease is one of the leading causes of death for

 HIV/AIDS patients. Janssen’s promotion of Prezista as “lipid-neutral” falsely minimizes this

 threat. Further, the two scientific studies on which Janssen relies to support its “lipid-neutral”

 promotion – the DART study and METABOLIK study – are not part of the FDA-approved label

 and are of questionable scientific value.

        5.      In addition to misleadingly promoting Prezista as lipid-neutral, beginning in and

 around February 2007 and continuing through the present, Defendant’s sales representatives and




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 managers have made unsupported claims regarding Prezista’s superiority, efficacy and potency

 based on its purported superior “binding affinity.” “Binding affinity” refers to the way in which

 Prezista works in a patient’s body. Prezista belongs to the Protease Inhibitor (“PI”) class of drugs.

 All PI drugs work the same way by binding to the active site of the HIV protease (an enzyme

 critical for viral replication) and inhibiting it from replicating.

        6.       Defendant misleadingly claimed that compared with other PI drugs, Prezista is a

 stronger, more potent and efficacious drug with superior binding affinity which would prevent the

 HIV virus from mutating, and thus prevent drug resistance. However, Janssen’s claims of superior

 binding affinity are misleading because they are based on a clinical study which is not included in

 the drug’s FDA-approved labeling and is of limited scientific value because it was done by Tibotec,

 (now known as Janssen), whose scientists conducted the study. Tibotec funded the study and the

 study was performed in a lab, and not on HIV-infected patients.

         7.      This misleading promotion was widely utilized despite the fact that in around 2007-

 2008, Janssen had been instructed by the FDA to remove information regarding superior binding

 affinity from early Prezista promotional materials because the claim was not adequately supported.

         8.      Further, as recently as September 2015 at a national sales meeting in Philadelphia

 (called a Plan of Action or POA meeting), Janssen continued to train its sales representatives on

 how to proactively promote Prezista based on its binding affinity.

         9.      With regard to Intelence, beginning in 2008 and continuing through September

 2014, Defendant engaged in the off-label promotion of Intelence in two ways: 1) as safe and

 effective for once-daily dosing; and 2) as safe and effective for “treatment-naïve” patients (patients

 who had never taken any ARV medications). These two promotions were directly contradicted by

 Intelence’s FDA-approved label stating that the drug must be taken twice a day and is indicated




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 for treatment of HIV-1 infection in treatment-experienced patients (those who had previously

 taken ARV medications). These off-label promotions are false and misleading because they

 promote the drug for a dosing regimen (e.g., once-daily) and patient population (e.g., treatment-

 experienced) not specified on the label nor approved by the FDA as safe and effective for treatment

 of patients.

         10.    With regard to promoting Intelence for once-daily dosing contrary to the label

 specifying twice-daily dosing, Defendant engaged in this promotion in order to increase sales and

 compete with other more convenient ARV drugs which only needed to be taken once a day. Once-

 daily dosing is easier for patients to follow and more appealing, but if a patient does not carefully

 follow the FDA-indicated dosing drug regimen, their HIV viral load can increase, potentially

 weakening the drug’s ability to fight the disease. Defendant’s sales representatives and managers

 made false and misleading statements to physicians and relied on small, not scientifically valid

 studies in promoting once-daily Intelence as safe and effective.

         11.    Additionally, Defendant fraudulently promoted Intelence as safe and effective for

 “treatment-naive patients” – HIV-positive patients who had not previously been treated with ARV

 medication – when in fact the drug is only indicated for treatment-experienced patients. By

 marketing Intelence for treatment of an additional class of treatment-naïve patients and not limiting

 its promotions to only treatment-experienced patients, Defendant sought to increase sales of its

 drug. Defendant’s sales representatives and managers made false and misleading statements and

 relied on a small, insignificant study to support the safety and efficacy of prescribing Intelence for

 treatment-naïve patients.

         12.    Prescribing Intelence to treatment-naive patients harmed these patients and

 decreased the chance that they could successfully treat HIV over the course of their lives.




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 Guidelines recommended by the Department of Health and Human Services and the International

 AIDS Society set forth recommendations concerning the sequencing of cocktails – i.e. the order

 of drug cocktails that should be administered to patients. This sequencing is designed to maximize

 treatment options for patients with HIV if their virus becomes resistant to the drugs that they are

 taking. Following the recommended sequencing of drugs enables physicians to save drugs that

 are more potent against resistant strains of HIV that emerge as a patient progresses through disease.

 Prematurely using Intelence could cause patients to run out of drug options as their disease

 progresses. Without a good drug treatment option, the patient’s virus will continue to replicate

 and potentially lead to the death of the patient.

           13.   Janssen delivered these misleading messages regarding Prezista and Intelence

 during sales calls, dinner programs and speaker programs nationwide. Furthermore, as alleged

 herein, Janssen’s payments to speakers at the dinner programs and speaker programs amounted to

 kickbacks in violation of the Anti-Kickback Statute. These speakers were paid an increasing

 honorarium based upon the level of prescriptions they wrote and their market share of the drugs.

 Janssen calculated market share as the percentage of Janssen drugs that a doctor prescribes in a

 class compared to non-Janssen drugs in that class (Prezista belongs to the PI class of drugs and

 Intelence belongs to the “NNRTI” class, non-nucleoside reverse-transcriptase inhibitors).

 Prescribing speakers with a high market share would be paid $2,500 per program (as opposed to

 $2,000) and a speaker with a low market share would ultimately be dismissed from the speaker

 bureau.

           14.   The amount of these kickbacks was material to doctors. For example, Dr. Donald

 Kaminsky, a physician who practices in Manhattan, stated to Relator Penelow that he wouldn’t be

 able to pay for his mortgage without the honorarium he receives for his talks from Janssen.




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 Moreover, Dr. Kaminsky told Relator Penelow that he was willing to say whatever Janssen and

 Nancy Bartnett (a Janssen Key Account Manager) told him to say, even if such messages were

 off-label.

         15.    By selling and promoting Prezista and Intelence off-label, Defendant knowingly

 and misleadingly influenced physicians’ medical judgments in deciding which drugs to prescribe.

 In treating HIV/AIDS patients, physicians typically prescribe a combination or “cocktail” of ARV

 drugs. Different factors such as the drug’s effect on a patient’s lipids or the dosing regimen

 required (twice-a-day vs. once-a-day) are important considerations. Defendant knowingly misled

 doctors to increase profits at the expense of the Government Plaintiffs by engaging in fraudulent

 and off-label marketing.

         16.    At all relevant times, Defendant was fully aware that the Government Plaintiffs

 reimbursed a substantial portion of Prezista and Intelence prescriptions. A significant percentage

 of HIV/AIDS patients are enrolled in Medicare/Medicaid. In sum, through the illegal conduct

 detailed herein, Defendant caused untold numbers of claims tainted by the off-label marketing,

 misbranding, and kickback schemes to be submitted to the Government Plaintiffs for

 reimbursement.

                                          THE PARTIES

         17.    Defendant Janssen Products, LP (“Janssen”) is a subsidiary of Johnson & Johnson

 and incorporated in New Jersey with its principal place of business in Titusville, NJ. At all relevant

 times herein, Janssen marketed and sold Prezista and Intelence through an illegal, off-label

 marketing campaign, which included kickbacks to doctors, in this District and nationwide.

         18.    The United States is a plaintiff to this action. The United States brings this action

 on behalf of the Department of Health and Human Services (“DHHS”) and the Centers for




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 Medicare and Medicaid Services (“CMS”) which administer the Medicare and Medicaid

 Programs.

        19.     The State of California (“California”) is a Plaintiff to this action. Throughout the

 relevant time periods specified herein, Prezista and Intelence were provided to Medicaid recipients

 in California and were covered Medicaid benefits under California’s Medi-Cal Program.

        20.     The State of Colorado (“Colorado”) is a Plaintiff to this action. Throughout the

 relevant time periods specified herein, Prezista and Intelence were provided to Medicaid recipients

 in Colorado and were covered Medicaid benefits under Colorado’s Medicaid Program.

        21.     The State of Connecticut (“Connecticut”) is a Plaintiff to this action. Throughout

 the relevant time periods specified herein, Prezista and Intelence were provided to Medicaid

 recipients in Connecticut and were covered Medicaid benefits under Connecticut’s Medicaid

 Program.

        22.     The State of Delaware (“Delaware”) is a Plaintiff to this action. Throughout the

 relevant time periods specified herein, Prezista and Intelence were provided to Medicaid recipients

 in Delaware and were covered Medicaid benefits under Delaware’s Medicaid Program.

        23.     The State of Florida (“Florida”) is a Plaintiff to this action. Throughout the relevant

 time periods specified herein, Prezista and Intelence were provided to Medicaid recipients in

 Florida and were covered Medicaid benefits under Florida’s Medicaid Program.

        24.     The State of Georgia (“Georgia”) is a Plaintiff to this action. Throughout the

 relevant time periods specified herein, Prezista and Intelence were provided to Medicaid recipients

 in Georgia and were covered Medicaid benefits under Georgia’s Medicaid Program.




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        25.     The State of Hawaii (“Hawaii”) is a Plaintiff to this action. Throughout the relevant

 time   periods specified herein, Prezista and Intelence were provided to Medicaid recipients in

 Hawaii and were covered Medicaid benefits under Hawaii’s Medicaid Program.

        26.     The State of Illinois (“Illinois”) is a Plaintiff to this action. Throughout the relevant

 time periods specified herein, Prezista and Intelence were provided to Medicaid recipients in

 Illinois and were covered Medicaid benefits under Illinois’ Medicaid Program.

        27.     The State of Indiana (“Indiana”) is a Plaintiff to this action. Throughout the

 relevant time periods specified herein, Prezista and Intelence were provided to Medicaid recipients

 in Indiana and were covered Medicaid benefits under Indiana’s Medicaid Program.

        28.     The State of Iowa (“Iowa”) is a Plaintiff to this action. Throughout the relevant

 time   periods specified herein, Prezista and Intelence were provided to Medicaid recipients in

 Iowa and were covered Medicaid benefits under Iowa’s Medicaid Program.

        29.     The State of Louisiana (“Louisiana”) is a Plaintiff to this action. Throughout the

 relevant time periods specified herein, Prezista and Intelence were provided to Medicaid recipients

 in Louisiana and were covered Medicaid benefits under Louisiana’s Medicaid Program.

        30.     The Commonwealth of Massachusetts (“Massachusetts”) is a Plaintiff to this

 action. Throughout the relevant time periods specified herein, Prezista and Intelence were

 provided to Medicaid recipients in Massachusetts and were covered Medicaid benefits under

 Massachusetts’ Medicaid Program.

        31.     The State of Michigan (“Michigan”) is a Plaintiff to this action. Throughout the

 relevant time periods specified herein, Prezista and Intelence were provided to Medicaid recipients

 in Michigan and were covered Medicaid benefits under Michigan’s Medicaid Program.




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        32.     The State of Minnesota (“Minnesota”) is a Plaintiff to this action. Throughout the

 relevant time periods specified herein, Prezista and Intelence were provided to Medicaid recipients

 in Minnesota and were covered Medicaid benefits under Minnesota’s Medicaid Program.

        33.     The State of Montana (“Montana”) is a Plaintiff to this action. Throughout the

 relevant time periods specified herein, Prezista and Intelence were provided to Medicaid

 recipients in Montana and were covered Medicaid benefits under Montana’s Medicaid Program.

        34.     The State of Nevada (“Nevada”) is a Plaintiff to this action. Throughout the

 relevant time periods specified herein, Prezista and Intelence were provided to Medicaid recipients

 in Nevada and were covered Medicaid benefits under Nevada’s Medicaid Program.

        35.     The State of New Jersey (“New Jersey”) is a Plaintiff to this action. Throughout

 the relevant time periods specified herein, Prezista and Intelence were provided to Medicaid

 recipients in New Jersey and were covered Medicaid benefits under New Jersey’s Medicaid

 Program.

        36.     The State of New Mexico (“New Mexico”) is a Plaintiff to this action. Throughout

 the relevant time periods specified herein, Prezista and Intelence were provided to Medicaid

 recipients in New Mexico and were covered Medicaid benefits under New Mexico’s Medicaid

 Program.

        37.     The State of New York (“New York”) is a Plaintiff to this action. Throughout the

 relevant time periods specified herein, Prezista and Intelence were provided to Medicaid

 recipients in New York and were covered Medicaid benefits under New York’s Medicaid Program.

        38.     The State of North Carolina (“North Carolina”) is a Plaintiff to this action.

 Throughout the relevant time periods specified herein, Prezista and Intelence were provided to




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 Medicaid recipients in North Carolina and were covered Medicaid benefits under North Carolina’s

 Medicaid Program.

        39.     The State of Oklahoma (“Oklahoma”) is a Plaintiff to this action. Throughout the

 relevant time periods specified herein, Prezista and Intelence were provided to Medicaid recipients

 in Oklahoma and were covered Medicaid benefits under Oklahoma’s Medicaid Program.

        40.     The State of Rhode Island (“Rhode Island”) is a Plaintiff to this action. Throughout

 the relevant time periods specified herein, Prezista and Intelence were provided to Medicaid

 recipients in Rhode Island and were covered Medicaid benefits under Rhode Island’s Medicaid

 Program.

        41.     The State of Tennessee (“Tennessee”) is a Plaintiff to this action. Throughout the

 relevant time periods specified herein, Prezista and Intelence were provided to Medicaid recipients

 in Tennessee and were covered Medicaid benefits under Tennessee’s Medicaid Program.

        42.     The State of Texas (“Texas”) is a Plaintiff to this action. Throughout the relevant

 time periods specified herein, Prezista and Intelence were provided to Medicaid recipients in Texas

 and were covered Medicaid benefits under Texas’ Medicaid Program.

        43.     The Commonwealth of Virginia (“Virginia”) is a Plaintiff to this action.

 Throughout the relevant time periods specified herein, Prezista and Intelence were provided to

 Medicaid recipients in Virginia and were covered Medicaid benefit under Virginia’s Medicaid

 Program.

        44.     The State of Washington (“Washington”) is a Plaintiff to this action. Throughout

 the relevant time periods specified herein, Prezista and Intelence were provided to Medicaid

 recipients in Washington and were covered Medicaid benefits under Washington’s Medicaid

 Program.




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        45.     The District of Columbia (“DC”) is a Plaintiff to this action. Throughout the

 relevant time periods specified herein, Prezista and Intelence were provided to Medicaid recipients

 in DC and were covered Medicaid benefits under DC’s Medicaid Program.

        46.     Relator, Jessica Penelow, is a citizen of the United States and resides at 30 Heron

 Road, Livingston, New Jersey 07039. Relator has standing to bring this action pursuant to 31

 U.S.C. § 3730(b)(1) and the relevant provisions of the State False Claims Acts. Relator brings this

 action on behalf of the United States for violations of the Federal False Claims Act and on behalf

 of each Relator State named herein for violations of its respective State False Claims Act.

        47.     Relator Penelow graduated from Florida Atlantic University in 1998 with a B.S. in

 health care administration and management and from St. Joseph’s College in 2012, with an MS in

 Health Care Management and in 2013, with an MBA. Relator started as a Senior Virology Sales

 Consultant at Tibotec Therapeutics (“Tibotec”) in 2006 and held that position until June 2013.

 Tibotec was a subsidiary of Johnson & Johnson and changed its name to Janssen in 2011. While

 at Tibotec, she marketed four HIV drugs, Edurant, Complera, Prezista and Intelence, to doctors on

 the Lower East Side of Manhattan. Through her employment at Janssen and her interactions with

 both doctors and Defendant’s sales representatives and managers that solicited the doctors, Relator

 has uncovered the False Claims Act violations against Janssen detailed herein.

        48.     Relator, Christine Brancaccio, is a citizen of the United States and resides at 14

 White Hall Court, Holbrook, New York 11741. Relator has standing to bring this action pursuant

 to 31 U.S.C. § 3730(b)(1) and the relevant provisions of the State False Claims Acts. Relator

 brings this action on behalf of the United States for violations of the Federal False Claims Act and

 on behalf of each Relator State named herein for violations of its respective State False Claims

 Act.




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         49.    Relator Brancaccio graduated from Dowling College in 1984 with a B.B.A. in

 Business Administration. Relator started as a Senior Virology Sales Representative with Ortho

 Biotec in 2003, which was a subsidiary of J & J, where she sold the HIV drug Procrit. Since 2006,

 she has worked for Janssen as a Senior Virology Sales Representative responsible for marketing

 Prezista, Intelence, Edurant, Complera, and Prezcobix to providers on Long Island and Queens.

 Through her continued employment at Janssen and her interactions with both doctors and the

 Defendant’s sales representatives and managers that solicited them, Relator has uncovered the

 False Claims Act violations against Janssen detailed herein.

         50.    Although Relators currently possess some documentary evidence of this off-label

 marketing scheme, many documents detailing Janssen’s illegal conduct previously on Relators’

 work laptop computers were destroyed by Janssen in November 2010 when Janssen IT personnel

 demanded that Relators give them their computers and later returned the computers scrubbed of

 all data.

                                JURISDICTION AND VENUE

         51.    Jurisdiction is founded upon the Federal False Claims Act (the “Act” or the “False

 Claims Act”), 31 U.S.C. § 3729 et seq., specifically 31 U.S.C. § 3732(a) and (b), and also 28

 U.S.C. §§ 1331, 1345, and is not barred by § 3730(e). The information upon which these

 allegations are based was voluntarily provided by Relators to the Federal Government prior to

 filing the Complaint pursuant to 31 U.S.C. §§ 3730(e)(4)(B) and 3730(b)(2).

        52.     Venue in the District of New Jersey is appropriate under 31 U.S.C. § 3732(a) and

 sufficient contacts exist for jurisdiction in that Defendant conducts business and sells its

 pharmaceuticals, including Intelence and Prezista, in the District of New Jersey. Such drugs, as

 Defendant knows, (1) have been and continue to be supplied to Government Health Care Program




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 recipients, including Medicare and Medicaid recipients and (2) have been and continue to be the

 subject of claims for reimbursement by drug providers to Government Health Care Programs.

       53.      A copy of the initial and Amended Complaints and written disclosures of

 substantially all material evidence and information in both Relators’ possession were served on

 the Government pursuant to Rule 4(d)(4) of the Federal Rules of Civil Procedure, prior to the filing

 of the initial and Amended Complaints in camera and under seal by delivering a copy of the initial

 and Amended Complaints, material evidence and information to the United States Attorney

 General, the United States Attorney for the District of New Jersey and by sending a copy of the

 Complaint, material evidence and information by certified mail to the Attorneys General for

 California, Colorado, Connecticut, Delaware, Florida, Georgia, Hawaii, Illinois, Indiana, Iowa,

 Louisiana, Maryland, Massachusetts, Michigan, Minnesota, Montana, Nevada, New Jersey, New

 Mexico, New York, North Carolina, Oklahoma, Rhode Island, Tennessee, Texas, Virginia,

 Washington, and the District of Columbia; and to the Chief Financial Officer of the Florida

 Department of Financial Services.

                                         BACKGROUND

 I.     THE APPLICABLE LAW

        A.      The Prohibition Against Misbranding and Marketing Drugs for Off-Label
                Uses

                1.      FDA Laws and Regulations

        54.     Under the Food, Drug, and Cosmetics Act (“FDCA”), 21 U.S.C. §§ 301-97, new

 pharmaceutical drugs cannot be marketed or sold in the United States unless the sponsor of the

 drug demonstrates to the satisfaction of the Food and Drug Administration (“FDA”) that the drug

 is safe and effective for each of its intended uses. 21 U.S.C. §§ 355(a) & (d).




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        55.     In order for FDA approval of a new drug, the drug manufacturer must present

 substantial evidence of efficacy through adequate and well-controlled studies. 21 C.F.R. §

 314.50(d). FDA regulations specify the characteristics of what constitutes an adequate and well-

 controlled study. Noting that these characteristics “have been developed over a period of years

 and are recognized by the scientific community as the essentials of an adequate and well-controlled

 clinical investigation[,]” the regulations detail the following requirements, inter alia: a clear

 statement of the objective of the investigation and a summary of the methods of analysis actually

 used; a study design “that permits a valid comparison with a control” group; and adequate

 measures to minimize bias on the part of the subjects, observers and analysts of the data. Id. §

 314.126(a), (b).

        56.     The FDA does not approve a drug for treatment of a disease in general. Instead, a

 drug is approved for treatment of a specific condition, for which the drug has been tested. The

 specific approved uses are called the “indications” for which the drug may be prescribed. For each

 approved indication, the FDA will specify particular dosages and dosage frequency determined to

 be safe and effective. In approving a drug for a given indication, the FDA also approves the

 language of the product’s label (the package insert or prescribing information).

        57.     The FDCA defines labeling very broadly, to include “all labels and other written,

 printed, or graphic matter (1) upon any article or any of its containers or wrappers, or (2)

 accompanying such article.” 21 U.S.C. § 321(m) (2006).

        58.     Promotional materials that do not qualify as labeling are regulated as advertising

 by the FDA. Although neither advertisement nor advertising is defined in the FDCA, section

 352(n) and the implementing regulations demonstrate the broad nature and scope of information

 regulated as “advertising.” Advertisements subject to section 352(n) include those “in published




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 journals, magazines, other periodicals, and newspapers, and advertisements broadcast through

 media such as radio, television, and telephone communication systems.” Thus, in combination

 with its authority over promotional labeling, the FDA’s regulatory oversight of prescription drug

 marketing extends to practically every type of material and media.

         59.     Use of an approved drug for any purpose other than those indications specifically

 approved by the FDA is referred to as an “off-label” use. Off-label uses include treating a

 condition not indicated on the label, treating the indicated condition at a different dosage or dosage

 frequency from the label’s recommended dose, or treating a different patient population than those

 approved by the FDA.

         60.     Once a drug is approved as safe and effective for one indication, the FDA does not

 prohibit doctors from prescribing the drug for off-label uses. This is consistent with the FDA’s

 mission to regulate drugs without interfering with the practice of medicine and doctors’ discretion

 in treating their patients.

         61.     Although physicians may prescribe drugs for non-FDA-approved uses, the law

 prohibits drug manufacturers from selling a drug that is “misbranded.” 21 U.S.C. § 331.

         62.     A drug is considered “misbranded” if its labeling is “false or misleading in any

 particular.” 21 U.S.C. § 352(a). A manufacturer illegally “misbrands” a drug if the drug’s

 labeling, inter alia, describes intended uses for the drug that have not been approved by the FDA,

 or if there are unsubstantiated claims of efficacy or safety.

         63.     Further, an advertisement for a drug (as defined above) is “false, lacking in fair

 balance, or otherwise misleading… if it:”

                 (i) Contains a representation or suggestion, not approved or
                 permitted for use in the labeling, that a drug is better, more effective,
                 useful in a broader range of conditions or patients than has been




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                demonstrated by substantial evidence or substantial clinical
                experience;

                                                ***

                (ii) Contains a drug comparison that represents or suggests that a
                drug is safer or more effective than another drug in some particular
                when it has not been demonstrated to be safer or more effective in
                such particular by substantial evidence or substantial clinical
                experience;

                                                ***

                (iv) Presents information from a study in a way that implies that the
                study represents larger or more general experience with the drug
                than it actually does;

                                                ***

                (x) Uses literature, quotations, or references that purport to support
                an advertising claim but in fact do not support the claim or have
                relevance to the claim;

 21 C.F.R. § 202.1.

        64.     In sum, the FDCA prohibits drug companies from promoting approved drugs for

 unapproved uses or from making misleading claims as to the drug’s safety or effectiveness. See

 21 U.S.C. §§ 331, 352, 355(d). This regulatory scheme protects patients and consumers by

 ensuring that drug companies do not promote drugs for uses other than those found to be safe and

 effective by an independent, scientific governmental body: the FDA.

        65.     The Pharmaceutical Research and Manufacturers of America (“PhRMA”), the

 industry association of drug companies, has guidelines governing drug marketing, namely the

 PhRMA Code on Interactions with Healthcare Professionals (the “PhRMA Code”). In the section

 titled “Basis of Interactions:” the Code states that “[p]romotional materials provided to Healthcare

 professionals by or on behalf of a company should: (a) be accurate and not misleading; (b) make

 claims about a product only when properly substantiated; (c) reflect the balance between risks and




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 benefits; and (d) be consistent with all other Food and Drug Administration (FDA) requirements

 governing such communications.” PhRMA Code, Section 1.

                2.      FDA Guidance on Good Reprint Practices

        66.     As alleged below, Defendant relied on several unsubstantiated scientific studies in

 promoting Intelence and Prezista for each of the off-label marketing schemes described herein. In

 doing so, in addition to unlawful off-label promotion and misbranding, Defendant violated the

 tenants of the FDA’s “Guidance for Industry: Good Reprint Practices for the Distribution of

 Medical Journal Articles and Medical or Scientific Reference Publications on Unapproved New

 Uses of Approved Drugs and Approved or Cleared Medical Devices,” (“Reprint Guidance”).

        67.     The Reprint Guidance reflects the FDA’s “current views on the dissemination of

 medical journal articles and medical or scientific reference publication on unapproved uses of

 approved drugs.” Available at http://www.fda.gov/oc/op/goodreprint.html (Jan. 2009). The

 Guidance applies if a manufacturer is distributing scientific and medical information concerning

 safety and effectiveness of a non-FDA-approved use for a drug.

        68.     Among other criteria, the Guidance states that the information contained in the

 scientific or medical journal article “should address adequate and well-controlled clinical

 investigations that are considered scientifically sound by experts.” Further, the type of scientific

 or medical journal article distributed should be “peer-reviewed” and not “in the form of a special

 supplement or publication that has been funded in whole or in part by one or more of the

 manufacturers of the product that is the subject of the article.”

        69.     In addition, there are several requirements regarding the manner in which to

 disseminate the scientific and medical information. The scientific or medical journal article should

 be accompanied by the approved labeling for the drug, and should be distributed separately from




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 promotional material. If it is being distributed by a sales representative, it “should not be the

 subject of discussion between the sales representative and the physician during the sales visit.”

        70.     These same guidelines were reaffirmed in the February 2014 updated draft version

 of “Guidance for Industry: Good Reprint Practices for the Distribution of Medical Journal Articles

 and Medical or Scientific Reference Publications on Unapproved New Uses of Approved Drugs

 and    Approved      or     Cleared   Medical    Devices,”    available    at    http://www.fda.gov/

 downloads/drugs/guidancecomplianceregulatoryinformation/guidances/ucm387652.pdf.

        B.      The Prohibition Against Kickbacks

                1.         The Anti-Kickback Statute

        71.     As alleged below, Janssen’s payments to high-prescribing physicians to speak at

 dinner and speaker programs amounted to kickbacks in violation of the “Anti-Kickback” Statute

 (“AKS”), 42 U.S.C. § 1320a-7b(b)(2)(B) and relevant state Anti-Kickback Statutes. The AKS

 prohibits the payment of any remuneration to any person in order to induce that person to

 “purchase, lease, order, arrange for or recommend purchasing, leasing or ordering any good,

 facility, service or item” for which reimbursement may be made under a Federal health program.

 Anyone found guilty of offering or paying kickbacks in violation of the Anti-Kickback Statute

 shall be guilty of a felony.

        72.     Specific intent is not required to establish a violation of the AKS. That is, “a person

 need not have actual knowledge of [the AKS] or specific intent to commit a violation of [the

 AKS].” 42 U.S.C. § 1320(a)-7b(h)).

        73.     A “Federal health care program” is defined at 42 U.S.C. § 1320a-7b(f) as any plan

 or program providing health benefits funded, whether directly or indirectly, by the United States

 Government. The Anti-Kickback Statute applies to claims for reimbursement of Prezista and

 Intelence prescriptions submitted to the Government Health Care Programs, including Medicare


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 and Medicaid. Any violation of the AKS in connection with a claim for payment from a

 Government Health Care Program is a false claim. 42 U.S.C. § 1320(a)-7(b)(g).

                2.      Relevant Guidance

        74.     The OIG Compliance Program Guidance for Pharmaceutical Manufacturers, 68

 Fed. Reg. 23731 (May 5, 2003) (the OIG Guidance), also provides direction as to what constitutes

 a violation of AKS. The OIG Guidance states that “[a]ny time a pharmaceutical manufacturer

 provides anything of value to a physician who might prescribe the manufacturer’s product, the

 manufacturer should examine whether it is providing a valuable tangible benefit to the physician

 with the intent to induce or reward referrals.”

        75.     The government determines whether the arrangement between a pharmaceutical

 manufacturer and a physician violates the AKS “in light of the totality of all facts and

 circumstances, bearing in mind the following facts, among others:”

               Nature of the relationship between the parties. What degree of influence does the
                physician have, directly or indirectly, on the generation of business for the
                manufacturer?

               Manner in which the remuneration is determined. Does the remuneration take into
                account, directly or indirectly, the volume or value of business generated (e.g., is
                the remuneration only given to persons who have prescribed or agreed to prescribe
                the manufacturer’s product)?

               Value of the remuneration. Is the remuneration more than trivial in value?

               Potential federal program impact of the remuneration. Does the remuneration have
                the potential to affect costs to any of the federal health care programs or their
                beneficiaries or to lead to overutilization or inappropriate utilization?

               Potential conflicts of interest. . . . If the remuneration relates to the dissemination
                of information, is the information complete, accurate, and not misleading?

 68 Fed. Reg. at 23737 (emphasis added).

        76.     In light of those factors, payments and other inducements given to physicians

 described herein constitute unlawful kickbacks.


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                 3.     The PhRMA Code

           77.   Janssen’s parent company, J & J, is a member of PhRMA and a signatory to the

 PhRMA Code, PhRMA’s guidelines governing drug marketing.

           78.   As alleged below, Janssen delivered misleading and off-label messages to health

 care professionals at, inter alia, dinner and speaker programs nationwide. The PhRMA Code,

 revised July 2008, includes the following applicable section prohibiting this conduct (emphasis

 added):

                Section 7 – “Speaker Programs and Speaker Training Meetings”: When a
                 pharmaceutical company hires a healthcare professional to help educate other
                 healthcare professionals about the company’s products, the company is responsible
                 and accountable for the content of the speech. Speakers should “clearly identify
                 the company that is sponsoring the presentation… and that the speaker is presenting
                 information that is consistent with FDA guidelines.” “Company decisions
                 regarding the selection or retention of healthcare professionals as speakers should
                 be made based on defined criteria such as general medical expertise and reputation,
                 knowledge and experience regarding a particular therapeutic area, and
                 communication skills. Companies should continue to ensure that speaking
                 arrangements are neither inducements nor rewards for prescribing a
                 particular medicine or course of treatment.”

 II.       THE RELEVANT GOVERNMENT HEALTH CARE PROGRAMS

           79.   The Government Health Care Programs referenced herein include Medicaid and

 Medicare, discussed more fully in Sections A and B below, and encompass any health care plan

 or program that provides health benefits, whether funded directly, in whole or in part, by the United

 States or the Relator States such as, for example, ADAP (AIDS Drug Assistance Program), the

 Ryan White CARE Act and HDAP (HIV Drug Assistance Program in Massachusetts).

           A.    The Medicaid Program

           80.   The United States Government partially funds state sponsored medical assistance

 programs for the poor pursuant to the Medicaid Program, Title XIX of the Social Security Act, 42

 U.S.C. § 1396 et seq. (the “Medicaid Program”). Enacted in 1965, the Medicaid Program functions



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 as a jointly-funded cooperative undertaking between the Federal and State Governments. Each

 State administers its own Medicaid program, but the State’s programs are governed by Federal

 statutes, regulations and guidelines.

        81.     Many individuals with HIV/AIDS become indigent as a result of not being able to

 work due to illness. There are more than 230,000 AIDS patients on Medicaid, as of March 2013.

 See The Henry J. Kaiser Family Foundation, Medicaid and HIV/AIDS, Mar. 2013. Medicaid is

 the “single largest source of coverage for people with HIV in the U.S.” Id.

        82.     The federal portion of States’ Medicaid payments, the Federal Medical Assistance

 Percentage, is based on a State’s per capita income compared to the national average. The federal

 portion consisted of a minimum of 50% up to a maximum of roughly 80%. However, for 2014

 through 2016, “the federal government will finance 100% of the costs for individuals newly

 eligible for Medicaid” under the Affordable Care Act. See The Henry J. Kaiser Family Foundation,

 Medicaid and HIV/AIDS, Mar. 2013. Previously, for 2012, for example, the federal portion of

 Medicaid spending on HIV/AIDS was estimated to be $5.3 billion and the total state spending to

 be $4.3 billion. Id.

        83.     The States (and the District of Columbia) are required to implement a State Health

 Plan containing certain specified minimum criteria for coverage and payment of claims in order to

 qualify for Federal funds for Medicaid expenditures. 42 U.S.C. § 1396a(a)(30)(A).

        84.     Benefits for drugs are optional, but all States, including those named herein, have

 opted to provide Medicaid drug reimbursement coverage.

        85.     Medicaid drug reimbursement coverage is limited to “covered outpatient drugs”

 which are drugs used for “a medically accepted indication.” A “medically accepted indication”

 means any use or indication which is approved by the FDA or which is supported by one or more




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 citations in certain drug compendia. See 42 U.S.C. § 1396r-8(k)(6) and (g)(1)(B)(i). The relevant

 drug compendia are: American Hospital Formulary Service (AHFS) Drug Information, United

 States Pharmacopeia-Drug Information (USP DI) (or its successor publications) and the

 DRUGDEX Information System. See 42 U.S.C. § 1396r-8(g)(1)(B)(i). At all relevant times, the

 cost of providing Intelence and Prezista for off-label uses to Medicaid recipients was not covered

 by Medicaid because the off-label uses were neither approved by the FDA nor supported by one

 or more citations included in any of the specified drug compendia.

        86.     Further, Medicaid (as well as Medicare and other Government Health Care

 Programs) only reimburses for “reasonable and necessary” medical services, including drugs. 42

 U.S.C. § 1395y(a)(1)(A); 42 C.F.R. § 411.15(k)(1). That is, Medicaid and other Government

 Health Care Programs only cover medical services that are “reasonable and necessary for the

 diagnosis or treatment of illness or injury.” Id. At all relevant times, prescriptions for Intelence

 and Prezista for off-label uses and/or as a result of Defendant’s false and misleading promotions

 were ineligible for Medicaid reimbursement as they were not “reasonable and necessary” for the

 treatment of patients.

        B.      The Medicare Program

        87.     The Medicare Program is the federally financed health insurance system for persons

 who are aged 65 and over, for those who are disabled and for those suffering from end-stage renal

 disease. On January 1, 2006, the Medicare Part D prescription drug benefit went into effect.

 Medicare Part D subsidizes the cost of prescription drugs for Medicare beneficiaries. See Title

 XVIII of the Social Security Act, 42 U.S.C. §§ 1395 et seq.

        88.     The Medicare Part D prescription drug benefit is offered by private prescription

 drug plans (“PDPs”) and Medicare Advantage prescription drug plans (“MA-PDs”). Medicare




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 beneficiaries have a choice among many different plans in each state. Medicare reimburses the

 private plans for its coverage of Medicare beneficiaries.

        89.     Medicare Part D covers the cost of FDA-approved prescription drugs used for “a

 medically accepted indication.” See 42 U.S.C. §§ 1395w-102(e)(1), 1395w-151(a)(2). Just as in

 the Medicaid Program, for Medicare reimbursement, a “medically accepted indication” means any

 use or indication which is approved by the FDA or which is supported by one or more citations in

 certain drug compendia: AHFS Drug Information, USP DI (or its successor publications) and the

 DRUGDEX Information System. See 42 U.S.C. § 1396r-8(k)(6) and (g)(1)(B)(i). In sum, Part D

 drug coverage excludes drugs not approved by the FDA, and those not for use for a medically

 accepted indication. At all relevant times herein, the costs of providing Prezista and Intelence

 were not covered Medicare drugs where they were misbranded and/or prescribed off-label.

        90.     Further, Medicare (as well as Medicaid and other Government Health Care

 Programs) only reimburses for “reasonable and necessary” medical services, including drugs. 42

 U.S.C. § 1395y(a)(1)(A); 42 C.F.R. § 411.15(k)(1). That is, Medicare and other Government

 Health Care Programs only cover medical services that are “reasonable and necessary for the

 diagnosis or treatment of illness or injury.” Id. At all relevant times, prescriptions for Intelence

 and Prezista for off-label uses and/or as a result of Defendant’s false and misleading promotions

 were ineligible for Medicare reimbursement as they were not “reasonable and necessary” for the

 treatment of patients.

        91.     Many AIDS patients who are under 65 nonetheless qualify for Medicare coverage

 because they are disabled. In addition, many low-income and disabled AIDS patients are dual

 eligibles – those who qualify for both Medicare and Medicaid. In the case of dual eligibles,

 Medicare is the primary source of drug coverage.




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         92.       Medicare spending for care of HIV/AIDS beneficiaries in fiscal year 2012

 amounted to $5.8 billion. See The Henry J. Kaiser Family Foundation, Medicaid and HIV/AIDS,

 Mar. 2013, Figure 2.

 III.    BACKGROUND REGARDING HIV/AIDS & TREATMENT

         93.       As explained by the National Institutes of Health, AIDS was first reported in the

 United States in 1981 and has since become a major worldwide epidemic. AIDS is caused by

 HIV. By killing or damaging the cells of the immune system, HIV progressively destroys the

 body’s immune system and ability to fight infections and cancer. The most obvious effect of HIV

 infection is a decline in the number of CD4 cells found in the blood, an integral part of the immune

 system’s key infection fighters. The virus slowly disables or destroys these cells. The term AIDS

 applies to the most advanced stages of HIV infection.

         94.       There are currently six different classes of ARV drugs that stop the HIV replication

 process      at   different   stages   of   development:    entry   inhibitors,   fusion   inhibitors,

 nucleoside/nucleotide reverse transcriptase inhibitors (“NRTIs”), non-nucleoside reverse-

 transcriptase inhibitors (“NNRTIs”), integrase inhibitors (“II”) and protease inhibitors (“PIs”).

 Prezista belongs to the PI class of drugs and Intelence is an NNRTI.

         95.       Guidelines for AIDS treatment are published by the Department of Health and

 Human Services (the “DHHS Guidelines”). At all relevant times herein, the DHHS Guidelines

 have recommended that patients take a combination of three or more medications in a regimen

 called Highly Active Antiretroviral Therapy (HAART). For people taking HIV antiretroviral

 drugs for the first time, a combination regimen generally consists of two NRTIs and one active

 drug from one of the following classes: NNRTI, PI (generally boosted with ritonavir), II, or entry

 inhibitor.




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         96.     HAART recommends taking three drugs at once because clinical studies show that

 HIV becomes resistant when only one drug is used. When a three drug cocktail is prescribed, if

 the HIV mutates to become resistant to one drug, the other two drugs may prevent that mutant HIV

 strain from replicating: this makes it more difficult for a resistant HIV strain to become dominant

 in the body. Furthermore, the chances are relatively low that HIV will develop three mutations that

 create resistance to three drugs and still maintain the ability to reproduce. By attacking HIV in

 different ways, the viral load is reduced and the chance of HIV developing resistance is decreased.

 Therefore, it is critical that patients take a cocktail of three drugs that are effective in slowing HIV

 replication in the body.

         97.     Adherence to a treatment regimen is very important. AIDS treatment regimens can

 be complicated in that they involve taking many pills at different times of the day with or without

 food. Correctly following a regimen can be difficult for many people, especially those who are

 sick or suffering side effects. Nonetheless, adherence is important because it impacts how well

 the drug works (if you miss a dose, HIV has an opportunity to replicate) and helps prevent drug

 resistance (if you miss a dose, you may develop strains of HIV that are resistant to ARV drugs).

 “Adherence to antiretroviral therapy (ART) has been correlated strongly with HIV viral

 suppression, reduced rates of resistance, an increase in survival, and improved quality of life.”

 Limitations to Treatment Safety and Efficacy: Adherence to Antiretroviral Therapy,

 http://www.aidsinfo.nih.gov/Guidelines/HTML/1/adult-and-adolescent-treatment-guidelines/30/

 (last visited Sept. 6, 2012).

         98.     Where an initial HIV drug regimen fails, HAART recommends changing the drug

 regimen as soon as possible with three new fully effective antiretroviral drugs. HAART states:

         Once virologic failure is confirmed, generally the regimen should be changed as
         soon as possible to avoid progressive accumulation of resistance mutations.



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        Ideally, a new ARV regimen should contain at least two, and preferably three,
        fully active drugs on the basis of drug treatment history, resistance testing, or new
        mechanistic class.

        99.     HAART notes that switching a patient who has experienced failure on one drug

 combination to different drugs may not be sufficient because a mutation may make HIV resistant

 to multiple drugs that have similar mechanisms of action. HAART states: “Because of the

 potential for drug-class cross resistance that reduces drug activity, using a ‘new’ drug that a patient

 has not yet taken may not mean that the drug is fully active.”

 IV.    JANSSEN’S PRIOR HISTORY OF ILLEGAL, OFF-LABEL MARKETING

        100.    Janssen and its parent company, J & J, created fraudulent, off-label marketing

 schemes that involved three of their largest drugs – Risperdal, Topamax, and Natrecor – at the

 same time that it orchestrated the off-label marketing of Prezista and Intelence.

        101.    In 1993, the FDA approved Risperdal to treat schizophrenia. The drug was not

 tested on the elderly. Nevertheless, Janssen engaged in a fraudulent, off-label marketing campaign

 promoting the use of the drug to treat dementia in elderly patients. The illegal marketing campaign

 generated billions of dollars in sales for Janssen and continued despite numerous FDA warning

 letters concerning the illegal marketing of Risperdal. The illegal marketing campaign only ceased

 after investigations by the U.S. Attorney’s Office in Philadelphia, the New York State Attorney

 General, the Texas State Attorney General, the California State Attorney General, and the

 Louisiana State Attorney General resulted in over $4 billion in penalties and settlements.

        102.    Topamax, a Janssen drug, was approved in 1996 to treat epilepsy and migraine

 headaches. Janssen developed an extensive program dedicated to the aggressive promotion of

 Topamax for a laundry list of ailments and diseases– including pediatric bipolar disorder and

 alcohol addiction – for which it was not indicated and for which it had not received FDA approval.

 Janssen trained its sales force to mislead physicians into prescribing the drug for off-label uses by


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 referring to non-existent “scientific evidence” or sometimes to evidence that was significantly

 scientifically flawed. In April 2010, Janssen pled guilty to violating the FDCA and paid a $6.14

 million criminal fine for the illegal promotion of Topamax for psychiatric uses. At the same time,

 Janssen resolved two whistleblower claims by agreeing to pay $75.37 million for its illegal

 promotion of Topamax for off-label uses.

        103.    In 2001, the FDA approved Natrecor for the limited and specific use of intravenous

 treatment of patients with acutely decompensated congestive heart failure who have dyspnea at

 rest or with minimal activity. By definition, this condition is an emergency situation that does not

 occur on a scheduled basis. Another J & J subsidiary, Scios, Inc., developed an unlawful marketing

 plan around promoting Natrecor for regularly scheduled outpatient infusions. The J & J subsidiary

 continued the illegal marketing campaign even after convening a panel of 10 cardiologists in 2005

 who found that Natrecor should be strictly limited to on-label uses.

        104.    In October of 2011, the U.S. Justice Department announced that Scios pled guilty

 to a misdemeanor and agreed to pay an $85 million criminal fine to settle criminal charges related

 to the marketing of Natrecor for off-label uses.

 V.     THE FALSE CLAIMS ACT SCHEME

        A.      Janssen’s False and Misleading Messaging in Promoting Prezista

        105.    In selling and promoting Prezista, Defendant routinely delivered false and

 misleading messages by:

               promoting Prezista as “lipid-neutral” contrary to its FDA-approved label; and

               overstating Prezista’s superiority, efficacy and potency based on the uniqueness of
                its “binding affinity.”

 Sections 1 and 2 below explain these two false and misleading messaging campaigns and also give

 specific examples of oral misrepresentations made to physicians about Prezista.



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                 1.     Janssen’s Promotion of Prezista as “Lipid-neutral” is a
                        Misrepresentation Which Misleadingly Conceals a Dangerous Side
                        Effect of the Drug

         106.    Beginning in 2006 and continuing through approximately 2014, Janssen sales

 representatives and managers have falsely and misleadingly promoted Prezista as “lipid-neutral,”

 meaning that the drug would not affect or increase a patient’s cholesterol or triglyceride levels,

 contrary to Prezista’s label. This is significant because heart disease caused by high cholesterol

 and triglycerides is a real threat for AIDS patients. Defendant’s promotion of Prezista as “lipid-

 neutral” is false, it falsely minimizes the threat to patients, and it directly contradicts Prezista’s

 label which in fact shows that Prezista increases lipids in patients. Further, the two scientific

 studies on which Janssen relied are not part of the FDA-approved label and are of questionable

 scientific value. Janssen was motivated to promote Prezista as lipid-friendly to boost sales and in

 order to compete with another PI drug, Reyataz, which in fact does not have an effect on a patient’s

 lipid levels.

                        a.      Serious Risk of Heart Disease for HIV/AIDS Patients

         107.    Defendant’s off-label promotion of Prezista as “lipid-neutral” misleadingly

 minimizes the very serious risk of cardiovascular disease for HIV/AIDS patients. With the number

 of available treatment options, many HIV/AIDS patients are living longer lives and not dying from

 the HIV/AIDS virus, but rather from cardiovascular events such as heart attack or stroke. In

 addition to the increased risk of heart problems as patients age, it is thought that HIV/AIDS itself

 may increase a patient’s lipid levels. Also, some HIV/AIDS drugs, in particular PI drugs, increase

 lipid levels which can lead to heart disease. Further, many PI drugs, including Prezista, are used

 in combination with the booster drug, Norvir (ritonavir), which is known to increase lipid levels

 in HIV/AIDS patients.




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        108.    The risk of heart disease caused by high cholesterol is further exacerbated by the

 fact that cholesterol-lowering drugs may not work for HIV/AIDS patients.              That is, high

 cholesterol caused by boosted PI drugs (such as Prezista boosted with Norvir) may “be refractory

 to diet, exercise and hypolipidemic drugs.” See http://hivmanagement.org/pi/html. In other words,

 patients with high cholesterol caused by their HIV/AIDS drug treatment regimen unfortunately

 may not be able to lower their cholesterol levels by eating healthier, exercising more or taking

 cholesterol-lowering drugs.

        109.    By way of background, cholesterol or lipid levels are measured by analyzing a

 patient’s blood for the following:

               high density lipoprotein (HDL or “good” cholesterol);

               low density lipoprotein (LDL or “bad” cholesterol);

               total cholesterol; and

               triglycerides

        110.    Cholesterol and triglycerides are two forms of lipids or fatty deposits that circulate

 in a patient’s blood stream. They are necessary for building healthy cells and providing energy

 for tissues to function. However, high cholesterol (hypercholesterolemia), in particular high LDL

 cholesterol, or high triglycerides (hypertriglyceridemia) cause heart disease when the fatty deposits

 clog the patient’s arteries. This makes it difficult for blood to flow through the arteries and may

 lead to a heart attack, stroke or other serious heart condition.

                        b.      Janssen’s Promotion of Prezista as “Lipid-neutral” is
                                Contradicted by Prezista’s Label

        111.    Defendant’s marketing of Prezista as “lipid-neutral” is directly contradicted by the

 FDA-approved label for Prezista. Prezista’s label shows that the drug has a significant negative

 effect on lipids, including cholesterol and triglycerides. The label specifically lists as serious



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 adverse drug reactions (“ADRs”) the following: high cholesterol (hypercholesterolemia), high

 triglycerides (hypertriglyceridemia) and an increase in LDL (“bad” cholesterol).

         112.    The label shows a significant percentage of patients on Prezista whose lipid levels

 increased beyond the safe or optimal levels which are as follows:

                Total Cholesterol – Below 200 mg/dL

                LDL Cholesterol – Below 100 mg/dL
         
                 Triglycerides – Below 150 mg/dL1

         113.    Prezista caused a significant percentage of patients’ lipid levels to increase to high

 or very high. Specifically, of the treatment naïve patients taking Prezista, 24% developed high

 total cholesterol, 23% developed high LDL cholesterol and 6% developed high triglycerides. See

 Prezista, Full Prescribing Information, Table 6, pg 6. For treatment-experienced patients taking

 Prezista, the cholesterol profile was worse - 35% of patients developed high total cholesterol, 22%

 developed high LDL cholesterol and 20% developed high triglycerides. See Prezista, Full

 Prescribing Information, Table 8, pg 7. These results were based on robust clinical studies detailed

 in the label and discussed more fully below.

         114.    By contrast, the label for Reyataz, Prezista’s chief competitor, does not list high

 cholesterol as a serious adverse drug reaction. To the contrary, Reyataz’s label contains studies

 that show that Reyataz does not significantly raise cholesterol:

                Study AI424-138 followed patients taking Reyataz 300 mg, ritonavir 100 mg,
                 tenofovir (an NRTI) 300 mg and emtricitabine (an NRTI) 200 mg. After 96 weeks,
                 patients’ mean LDL cholesterol increased only 14% from 92 mg/dL (optimal) to
                 105 mg/dL (near optimal).

                Study AI424-034 followed patients taking Reyataz 400 mg once daily with the
                 fixed-dose combination: lamivudine (NRTI) 150 mg, and zidovudine (an NRTI)


 1
   See Third Report of the National Cholesterol Education Program Detection, Evaluation, and Treatment of High
 Blood Cholesterol in Adults, available athttp://www.nhlbi.nih.gov/guidelines/cholesterol/index.htm.


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                  300 mg twice daily. After 46 weeks, the study found no increase in mean LDL
                  levels, which stayed constant at 98 mg/dL over the course of the study.

                 Study AI424-045 followed patients taking Reyataz 300 mg once daily with
                  ritonavir, tenofovir (an NRTI), and another NRTI. On average, patients
                  experienced a 10% decrease in cholesterol, from 108 to 98.

         115.     Because Prezista causes high cholesterol, it is at a competitive disadvantage to

 Reyataz. This in part motivated Defendant to compete by misleadingly claiming that Prezista is

 lipid-neutral.

                         c.      Janssen Misleadingly Relied on Unsubstantiated Scientific
                                 Studies to Claim Prezista is Lipid-neutral

         116.     Defendant’s so-called support for its “lipid-neutral” claims were two scientific

 studies regarding Prezista’s effect on lipids which are not included in, and directly contradicted

 by, Prezista’s label. The two off-label studies were:

                 The DART Study: From the beginning of the relevant time period through 2014,
                  sales representatives of Defendant have relied on a study entitled “Similar Changes
                  in Metabolic Parameters of Darunavir [Prezista] and Atazanavir [Reyataz], each
                  Co-Administered with Low- Dose Ritonavir [Norvir] in Healthy Volunteers
                  (TMC114-C159)” (the “DART Study”) in selling and promoting Prezista to
                  physicians.

                 The Metabolik Study: Starting in 2010 and continuing until 2014, sales
                  representatives have relied on a study entitled, “METABOLIK (Metabolic
                  Evaluation in Treatment-naives Assessing the Impact of Two Boosted Protease
                  Inhibitors on Lipids and Other Markers): Comparison of the Metabolic Effects of
                  Darunavir/ritonavir [Prezista/Norvir] versus Atazanavir/ritonavir [Reyataz] over
                  12 weeks” (the “Metabolik Study”) in selling and promoting Prezista to physicians.

         117.     The DART and Metabolik Studies (hereinafter “Lipid Studies”) purported to show

 that Prezista does not cause high cholesterol and/or high triglycerides and that Prezista is

 comparable to Reyataz in terms of its neutral or minimal effect on lipids.

         118.     Defendant engaged in off-label marketing of Prezista by downplaying the drug’s

 dangerous effects on total cholesterol and LDL cholesterol, misrepresenting that Prezista was lipid

 neutral like Reyataz and using the FDA unapproved Lipid Studies to support those contentions.


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         119.     Sales representatives presented and distributed the Metabolik study to physicians.

 The Metabolik study followed only 65 HIV-infected people over a 12-week period and found

 similar changes in cholesterol for persons taking Prezista and Norvir on the one hand and Reyataz

 and Norvir on the other. The study concluded:

         Given its favorable metabolic profile and efficacy in HIV-1-infected subjects
         DRV/r (Prezista and Retonovir) is a valuable therapeutic option for treatment-naïve
         subjects and may minimize the risk of metabolic complications.

         Changes in metabolic parameters and biomarkers form baseline to Week 12 were
         comparable for DRV/r and ATV/r-based therapy; longer-term follow-up of these
         parameters is planned.

         120.     Janssen sales representatives used this study to market Prezista as a lipid neutral PI.

 This marketing message was false and misleading because it was contradicted by the phase III

 clinical trials contained on Prezista’s label. Further, the study was of short duration and two of the

 authors were Tibotec employees at the time the study was released. Further, Tibotec funded the

 Metabolik Study.

         121.     A subsequent article discussing 48-week results of the Metabolik Study2

 acknowledged the limited value of even the 48-week results. Referring to the Metabolik Study as

 a “pilot study” intended to be “an exploratory analysis,” it states that “the small sample size and

 short duration of this trial limit clinical interpretation of these data.” Id. at 9.

         122.     Further, sales representatives used the DART Study in selling and promoting

 Prezista to physicians. The DART study involved only 49 patients – all of whom were healthy

 and not infected with HIV. Seven of the eight authors of the study were associated with Tibotec

 (now known as Janssen, a J&J subsidiary) at the time of the study.




 2
  Aberg, Judith A. et al., “Metabolic Effects of Darunavir/Ritonavir Versus Atazanavir/Ritonavir in Treatment-Naïve,
 HIV Type 1-Infected Subjects over 48 Weeks”, AIDS Research and Human Retroviruses, Vol. 28, No. 00, 2012.


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        123.    Both of these studies are directly contradicted by Prezista’s label. Marketing

 Prezista as “lipid-neutral” is false and misleading because it is contradicted by the more robust,

 longer term, phase III clinical trials on HIV-infected patients contained in Prezista’s label, as

 opposed to, for example, the DART study conducted on healthy individuals. The label contains

 evidence of efficacy based on two randomized, controlled studies comparing the safety and

 effectiveness of a Prezista-ritonavir combination with another PI drug combination (Kaletra-

 ritonavir). The one study in the label involved 192-week data from 689 patients infected with HIV

 and the other study involved 96-week data from 595 HIV- infected patients. In both of these

 studies, a clear majority of patients experienced virologic success on the Prezista-ritonavir

 combination, however, as noted above, a significant percentage of patients’ lipid levels increased

 to high or very high.

                         d.    Janssen Made Misleading Statements About the Results of the
                               Lipid Studies

        124.    Despite the limited value of the scientific studies, Defendant’s sales representatives

 and managers relied on them and made false and exaggerated statements about the results of these

 Lipid Studies. Relators personally heard or learned of the following misrepresentations being

 made to physicians by Defendant’s sales representatives on sales calls:

               Prezista is lipid neutral just like Reyataz. You will not get increase of cholesterol
                levels.

               Using Prezista does not affect lipids just like Reyataz.

               Patients will not see an increase in cholesterol with the use of Prezista. It is lipid
                neutral so it will not have an effect on cholesterol in the patient. You can expect to
                see the same cholesterol levels the patient had before treatment while on treatment
                with Prezista.

               Patients should not see any cholesterol issues whatsoever.

               Your patients all eat like crap anyway so I’m sure they already have high
                cholesterol so why not choose a drug that won’t make matters worse?


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               Older PIs are known for increasing lipids and contributing to cardiovascular
                disease, with Prezista you don’t have to worry about that.

               Patients have many risk factors that contribute to heart disease; you don’t need a
                drug to add to the complications. By using Prezista, as shown in the DART Study,
                you don’t have to add high cholesterol to that risk list for patients.

               HIV itself causes high cholesterol, no reason to choose a drug that also does so.

               If healthy patients saw no change you can expect to see the same results in HIV
                infected patients. If the drug is the culprit it would have occurred regardless of HIV
                status.

               Patients can expect to see only minimal increases in cholesterol levels based on this
                [DART] study.

               Pharmacokinetics (“PK”) of the drugs prove that Reyataz increases [the effects of]
                Ritonavir (Norvir) [which increases lipids] and Prezista lowers it.

        125.    Some of the sales calls at which Relators heard or learned of these

 misrepresentations are detailed below in Section VI. B. 1.

                2.      Janssen’s Overstated Claims of Superiority, Efficacy and Potency of
                        Prezista Based on Binding Affinity

        126.    In addition to misleadingly promoting Prezista as lipid-neutral, beginning in and

 around February 2007 and continuing through the present, Defendant’s sales representatives and

 managers have made unsupported claims regarding Prezista’s superiority, efficacy and potency

 based on its purported superior “binding affinity.” All drugs in the PI class of drugs work by

 binding to the active site of the HIV protease (an enzyme critical for viral replication) and

 inhibiting it, thus preventing HIV from replicating. However, Defendant’s claims of superior

 binding affinity are misleadingly based on a clinical study of limited scientific value which is not

 included in the drug’s FDA-approved labeling. Further, Defendant’s employees falsely and

 misleadingly characterized the results of the study during sales calls, dinner programs and speaker

 programs. This binding affinity data was provided to promotional speakers in order to encourage

 the differentiation of Prezista and Reyataz.


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         127.   Janssen misleadingly relied on an unsubstantiated study to claim superiority,

 efficacy and potency of Prezista. The study is entitled “Binding Kinetics of Protease Inhibitors to

 Wild-Type and Multi-Drug Resistant HIV-1 Proteases: A mechanistic study of the genetic barrier

 to resistance of Darunavir” (hereinafter the “Binding Study”) and it was first presented (in poster

 format) at the 14th Conference on Retrovirus and Opportunistic Infections in Los Angeles,

 California on February 25-28, 2007. The Binding Study purported to compare Prezista to other PI

 drugs (Aptivus, Agenerase, Reyataz and Kaletra) and claimed to prove that Prezista’s superior

 “binding affinity,” or ability of the drug to bind to the active site of the HIV protease, prevented

 the virus from mutating. Thus, the drug supposedly was more efficacious and potent than the other

 PI drugs.

         128.   The study is not included in the FDA-approved labeling for the drug. Its scientific

 value is questionable, as Tibotec (now Janssen) not only funded the study, but also provided the

 scientists who conducted it. Further, the study was performed in the lab, and not on HIV-infected

 patients.

         129.   In and around 2007-2008, Nancy Bartnett, a Key Account Manager, and Tony

 Dolisi, a Manager of New York District 1, had told the Defendant’s sales force that the FDA had

 instructed Janssen to remove any binding affinity claims from early promotional material. To get

 around this and promote Prezista’s binding affinity, Janssen devised a scheme involving medical

 information requests (“MIRs”), knowing that in certain circumstances, pharmaceutical companies

 may distribute off-label information to doctors in response to unsolicited MIRs. Thus, during

 national sales meetings, Donna Graham, Sales Training Manager, and the Sales Training

 Department including Ron Martin, Head of Training, and Mike Iacobellis, National Sales Training




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 Director, instructed the sales force to proactively request that doctors submit MIRs and make it

 appear such submissions were unsolicited.

        130.    To ensure that the off-label binding affinity and other off-label messages were

 widely disseminated, Janssen developed metrics to measure the volume of MIRs that were

 forwarded by the sales force to Janssen’s clinical medical department, the Janssen department

 responsible for responding to MIRs. Sales persons, such as Relator Penelow, were reprimanded if

 their doctors did not submit a sufficient number of MIRs. Because of this fear tactic by Janssen,

 many sales representatives forged MIRs to avoid a poor performance review.

        131.    These “fake” MIRs were not limited to requesting off-label information on

 Prezista’s binding affinity. They included requests for other off-label information alleged herein

 such as once-daily Intelence and Prezista’s effect on lipids.

        132.    In addition, Janssen has continued to emphasize binding affinity as a selling point

 in more recent years. For example, at a dinner program on March 11, 2014 in Syosset, NY,

 Janssen-paid speaker, Dr. David Rubin, delivered the latest promotional slide deck being used by

 Janssen speakers nationwide in promotion Prezista to health care providers. One of the slides

 specifically overstates Prezista’s efficacy by emphasizing how it “tightly binds to HIV-1 protease”

 and noting its “[e]nhanced binding affinity and its “high binding affinity.” These statements are

 misleading because the five clinical studies cited supposedly in support are of limited scientific

 value and not included in the drug’s FDA-approved labeling. The studies include the Binding

 Study, discussed above, and four other studies which are problematic in that they are

 funded/conducted by the Company, lacking in robust clinical significance, flawed trial design

 and/or their results do not support the statements.




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        133.    Further, in September 2015, at a national Plan of Action meeting held in

 Philadelphia, Janssen upper management instructed the sales representatives to continue to

 promote Prezista based on its superior binding affinity.           In attendance were the sales

 representatives from approximately six districts from the Eastern region for Janssen’s HIV

 Division. The POA meeting for the Western region was held simultaneously in Atlanta, GA with

 the same content and direction. The upper management presenting the materials included: James

 Cofoni, Product Manager and Meg Anderson, Director of Marketing. While the focus of the

 meeting was on Janssen’s new ARV drug, Prezcobix, this drug is merely a combination of Prezista

 and a booster drug called Cobicistat. Prezista is still being promoted as a single drug and it was

 understood that any selling points for Prezcobix which also applied to Prezista, should be used for

 Prezista. Thus, part of Mr. Cofoni’s presentation included a PowerPoint on Prezcobix’s binding

 affinity which was understood to apply to promoting Prezista alone. The information presented

 misleadingly touted Prezcobix’s binding affinity by relying on many of the same problematic,

 scientifically questionable studies cited in the promotional slide deck discussed above.

                        a.      The Significance of Janssen’s Misleading Promotion of Prezista

        134.    To understand the significance of this off-label promotion, a brief explanation of

 HIV/AIDS treatment is helpful. For many conditions or diseases, the patient takes one drug to

 adequately treat or manage the condition. For HIV/AIDS, the recommended treatment regimen is

 a combination of drugs because the virus is capable of changing or mutating. Fortunately, there

 are a whole host of ARV drugs in various classes to choose from as treatment options. A “cocktail”

 of three or more ARV drugs at once can suppress the virus. However, if a patient’s disease is not

 controlled by ARV drugs, the virus may mutate and the patient may develop drug resistance. Drug

 resistance is when a drug no longer works to fight the virus because the virus has mutated. In

 addition, the patient may be resistant to other drugs (even those which the patient has not yet taken


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 may be knocked out as potential treatment options) if the virus mutates. When a patient develops

 resistance to one or more drugs (or an entire class of drugs), the physician must determine which

 drugs are still available and will still work for the patient. There are various drug-resistance tests

 the physician can use to help determine the patient’s remaining treatment options. The real risk

 involved in drug resistance is treatment failure; that is, when a patient runs out of available drugs

 that will work to fight the virus. See http://www.aids.org/topics/hiv-resistance-testing/

        135.    Thus, claims that Prezista is a stronger drug with superior binding affinity that

 would prevent the virus from mutating is very important to physicians deciding which drugs to

 prescribe. This promotion instilled a false sense of protection that the patient would not become

 resistant to Prezista and the drug would continue to be effective in fighting the AIDS virus. By

 claiming that high binding affinity reduced the likelihood that HIV mutations would cause the drug

 to fail, doctors and patients were given the false illusion that Prezista would minimize chances for

 drug failure. This induced doctors to (1) prescribe Prezista over other PIs for treatment naive

 patients (patients who had not yet taken any ARV drugs) and (2) prescribe Prezista to experienced

 patients (patients who had already taken ARV drugs) where other PIs failed instead of switching

 these patients to another class of HIV drugs. In both cases, physicians’ medical judgments were

 influenced by Janssen’s false statements.

        136.    If a patient has an HIV strain that is resistant to one drug in a three drug cocktail, it

 is more likely that a patient will become resistant to the other two drugs. HIV is more capable of

 mutating to develop resistance to two active drugs than three active drugs. By providing false

 assurances that HIV would not mutate to become resistant to Prezista, Janssen increased the

 likelihood that doctors would prescribe Prezista when it did not work, thereby increasing the

 likelihood that a patient’s HIV would become resistant to multiple HIV drugs.




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                        b.      Janssen Made Misleading Statements About Prezista’s Binding
                                Affinity

        137.    Janssen routinely overstated the results of the scientifically questionable Binding

 Study such as Prezista’s superiority to other PI drugs, its efficacy, strength, potency and durability.

 In promoting Prezista to physicians, Janssen sales representatives and mangers made unsupported

 representations to physicians such as the following:

               Prezista is more effective than other PIs.

               On Prezista, the patient is less likely to fail due to HIV mutations.

               Prezista can be used when patient has failed on other PIs.

               Patients won’t fail on Prezista because of its binding affinity.

               Prezista’s binding affinity makes it the best PI on the market.

               Prezista is the most efficacious and durable PI because of its binding affinity.

               The binding affinity puts Prezista in a class by itself. It’s different from every other
                PI.

               Prezista stays “in the pocket” (of the HIV protease active site) leading one to
                believe it’s a stronger, tighter binding to the receptor and therefore better for the
                patient so they would be less likely to fail. (Sales representatives used a visual
                representation to demonstrate this point by taking a fist and closing the other hand
                around the fist.)

        Relators heard Janssen representatives make the above statements to doctors and attended

 internal sales meetings where they were told to make such statements and give the visual

 representation set forth above.

                3.      Janssen’s Sales of Prezista Increased Significantly as a Result of the
                        Off-Label Marketing Campaign

        138.    Prezista sales increased significantly as a result of Defendant’s off-label marketing

 campaign. As shown in the chart below, according to J & J’s Annual Reports, Prezista’s

 worldwide sales increased significantly from $592 million in 2009 to over $1.8 billion in 2014:




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        Prezista Sales:

                               Year                     Approximate Sales
                               2009                       $592,000,000
                               2010                       $857,000,000
                               2011                      $1,211,000,000
                               2012                      $1,414,000,000
                               2013                      $1,673,000,000
                               2014                      $1,831,000,000

        B.      Off-label Marketing of Intelence

                1.        Intelence’s Limited FDA-Approved Label Placed It at a Competitive
                          Disadvantage

        139.    Intelence is an NNRTI drug that was approved in 2008 for twice a day use in

 treatment-experienced patients. Specifically, with respect to indications and usage, the label states

 Intelence is “indicated for treatment of HIV-1 infection in treatment-experienced patients 6 years

 of age and older with viral strains resistant to an NNRTI and other antiretroviral agents.”

 (Emphasis added). And with respect to dosing, the label states: “Adult patients: 200 mg (one 200

 mg tablet or two 100 mg tablets) taken twice daily following a meal.” (Emphasis added). Contrary

 to the label, Defendant, starting at launch in 2008 and continuing through 2014, promoted and

 marketed the drug to be used once-daily and also for treatment-naïve patients.

        140.    If Intelence were to be lawfully promoted and marketed in accordance with its

 FDA-approved label, it would only be promoted to be prescribed to a limited group of patients –

 those willing and able to comply with a twice-daily drug regimen and those who were treatment-

 experienced in that they had “viral strains resistant to an NNRTI and other antiretroviral agents.”

 In order to increase sales and compete with other NNRTI drugs with more expansive FDA-

 approved indications, Janssen engaged in an off-label marketing scheme.

        141.    The fact that Intelence is approved for twice daily use places it at a competitive

 disadvantage with ARV drugs that have been approved for once a day use. For example, Bristol-



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 Myers Squibb’s NNRTI, Sustiva (efavirenz), is approved to be used once a day when taken with

 other antiretrovirals. Doctors recognize that patients are more likely to comply with a simplified

 medication regime that must be taken only once a day.

        142.    In fact, the label for Intelence specifically warns against doubling the dose of

 Intelence if a patient misses a pill by more than 6 hours. The label states:
                                                 ®
        If you miss a dose of INTELENCE by more than 6 hours of the time you
                                                                                    ®
        usually take it, wait and then take the next dose of INTELENCE at the
        regularly scheduled time.

        Do not take more than your prescribed dose to make up for a missed dose.

 (Emphasis added). Despite this specific warning, Janssen’s off-label promotion recommended

 doubling the dose and taking at one time each day.

        143.    Moreover, the fact that Intelence is only approved for treatment-naive patients

 limits the drugs’ potential market share, reducing its potential profitability.

                2.      Janssen Fraudulently Marketed Intelence for Once a Day Use

        144.    Beginning in 2008 and continuing through 2014, Janssen made false and

 misleading statements about the safety and efficacy of using Intelence once a day.

        145.    Janssen sales representatives and managers often used anecdotal evidence from

 individual doctors and small studies in making claims that Intelence was safe and effective for

 once-daily use.

        146.    For example, sales representatives touted a small study, funded by Tibotec (now

 Janssen), to support their off-label promotion of once-daily dosing of Intelence. See DeJesus et

 al., Pharmacokinetics of Once-Daily Etravirine (ETR) Without and With Once-Daily

 Darunavir/Ritonavir (DRV/r) in Antiretroviral-Naïve HIV-1 Infected Adults, Antiviral Therapy,

 2010 15:711-720 (the “DeJesus Study”). The DeJesus Study involved only 23 patients with HIV



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 who switched from taking Intelence twice-daily to taking Intelence once-daily. After only six

 weeks, the study reported no significant increase in HIV viral load. According to its conclusion,

 the small, short study merely provided support for further investigation of once-daily Intelence.

 However, contrary to the approved Intelence label providing for twice-daily dosing, the results of

 the DeJesus Study were used and promoted on sales calls by representatives and managers in

 support of Intelence once a day. Further, the Study was conducted by DeJesus, a National

 Promotional Speaker for Tibotec and two Tibotec scientists, among others.

        147.    Further, Janssen instructed sales representatives to emphasize that due to

 Intelence’s long half-life (the time the drug remains in a patient’s body), Intelence would still be

 effective in fighting the virus even if taken only once daily instead of twice.

        148.    This once-daily promotion was contrary to the FDA-approved dosing instructions

 on the label and not supported by the clinical trials supporting the label. According to the FDA

 Office Director memo, dose selection of Intelence in Phase III clinical trials was based on two

 Phase II clinical trials, TMC-125-C203 and TMC-125-C223. Both of these Phase II trials studied

 different doses of Intelence taken twice daily, but did not study the efficacy and safety of Intelence

 when taken once daily.

        149.    Despite the lack of evidence demonstrating that Intelence was safe and effective

 when used once a day, Janssen marketed doctors to prescribe 400mg of Intelence once a day.

        150.    With respect to sales calls with doctors, Relator witnessed Ms. Bartnett and Tim

 McSherry (Sales Trainer) make the following statement regarding Intelence:

               Intelence can be used QD due to its long half-life [the rate that Intelence leaves the
                body].

               Intelence has been tested with QD use and patients did great! …but Janssen doesn't
                want to put the money behind going for a QD indication because they are launching
                another QD NNRTI - Edurant.



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               Intelence QD can be used for dosing symmetry with the fixed dose NRTIs.

               You can start a patient on BID Intelence and once you feel comfortable they are
                stable, switch the patient to QD to make it easier, there are studies that have been
                done that are not in our package insert showing these patients did fine.

         151.   Doctors and physician assistants responded positively to the message:

               John Weber PA at Beth Israel Medical Center stated: Great to know, I would love
                to use it QD for ease of use.

               Dr. Christopher Busillo at NYU Downtown - HIV Clinic (170 William St.,
                Manhattan) stated: I will [prescribe QD] if you think the patients will stay
                undetectable.

               Dr. Donald Kaminsky stated: Intelence is the best drug you guys have, thanks for
                the half-life info I now will use it QD.

                3.      Janssen Fraudulently Marketed Intelence for Use In Treatment-Naïve
                        Patients Contradicting the FDA-Approved Label for Use in Only
                        Treatment-Experienced Patients

         152.   Janssen made false and misleading statements about the safety and efficacy of

 prescribing Intelence to treatment- naïve patients. Janssen sales representatives and managers used

 a number of different approaches in promoting Intelence for use in treatment-naives contrary to

 the label.

         153.   For example, Defendant used the DeJesus Study, discussed above, a small, not

 scientifically valid study to support their off-label promotion. This Study only involved 23 patients

 over 6 weeks and was not clinically significant. Further, it was funded by and conducted in part

 by Tibotec. Nevertheless, Janssen’s sales force used this study to support prescribing Intelence to

 treatment-naive patients.

        154.    Further, with respect to sales calls with doctors, Relators both witnessed, on

 multiple occasions, Nancy Bartnett (Key Account Manager), Tony Dolisi (Manager of New York

 District 1), Tim McSherry and Jimmy Kwok (Senior Virology Sales Representative) make the

 following false statements regarding Intelence to doctors:


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               It was safe and effective to prescribe once-a-day Intelence in combination with a
                three or four drug cocktail that included Prezista to treatment-naive patients.
                (Typically, patients are prescribed a three-drug cocktail that mix and match
                different classes of HIV medication. Prezista is a PI and is often prescribed with
                two NRTIs to treat HIV. Contrary to its label, Defendant marketed Intelence for
                treatment-naive patients to be used in a four drug cocktail that included Prezista
                and two NRTIs. These sales persons falsely told doctors prescribing Intelence in
                such a four drug cocktail could only help and would not hurt treatment-naive
                patients.)

               It was safe and effective to prescribe Intelence to treatment-naive patients who
                tested positive for HIV with a k103M mutation. Defendant claimed that Intelence
                was effective against this mutated strain of HIV while other NNRTIs were not. In
                reality, there were superior once-a-day treatment options for patients with the
                k103M mutations that were approved and recommended for treatment naïve
                patients.

        155.    In reality, as discussed above, it was not safe and effective to prescribe Intelence in

 this manner and potentially harmful.

        156.    Janssen’s off-label promotion of Intelence for use in treatment-naïve patients

 potentially harmed these patients. One of the goals in selecting antiviral medications for treatment-

 naive HIV patients is to maximize future treatment options if their medication fails. A virus that

 develops resistance to a powerful HIV drug may also likely be resistant to less powerful HIV

 drugs. Thus, HIV cocktails are administered in a sequence to give a patient the maximum number

 of future options if their current medication fails.

        157.    Consequently, the DHHS Guidelines recommend only certain antiviral drugs for

 treatment-naive patients. The DHHS Guidelines do not recommend Intelence for treatment-naive

 patients. According to Intelence’s label, if a patient develops resistance to Intelence, they will also

 likely develop resistance to the following antivirals: delavirdine, efavirenz, and/or nevirapine.

        158.    Moreover, another factor when choosing which HIV medication for treatment-

 naive patients is the likelihood that a patient will comply with a doctor’s dosing instructions. As

 discussed above, patients are more likely to adhere to a once-a-day dosing regimen than a twice a



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 day dosing regimen. If patients to do not take antiviral medication as prescribed and miss doses,

 they are more likely to develop resistant strains of HIV. Consequently, by promoting Intelence to

 treatment-naive patients, Janssen was advocating a more complicated drug regiment than a once-

 a-day cocktail that is often prescribed to treatment-naive patients – thereby increasing the

 likelihood of non-compliance and drug failure.

        159.    Defendant promoted Intelence for off-label uses from the time of its launch in 2008,

 continuing through September 2014. As shown in the chart below, and based on J & J’s Annual

 Reports, Janssen’s Intelence worldwide sales have been driven upward by Defendant’s

 fraudulently marketing the drug for off-label uses:

 Intelence Sales:

                              Year                     Approximate Sales
                              2010                       $243,000,000
                              2011                       $314,000,000
                              2012                       $349,000,000
                              2013                       $379,000,000

 VI.    JANSSEN’S MISLEADING AND OFF-LABEL MESSAGING WAS DELIVERED
        NATIONWIDE

        A.      Janssen’s Nationwide Sales Force was Instructed to Market Off-Label

        160.    The off-label marketing of Prezista and Intelence was widespread. Janssen has

 approximately seventy-nine sales representatives in twelve districts across the United States (New

 York 1, New York 2, New England, Mid-Atlantic, Chesapeake, Midwest, Florida, Mid-South,

 Pacific South, Pacific North, Southeast and Southwest) who market Prezista and Intelence.

        161.    The nationwide sales force was instructed on how to market off-label by Janssen

 during “pod calls,” “district calls,” “district meetings,” “triad meetings,” and “Plan of Action”

 meetings (“POAs”).




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                                              Pod Calls

         162.    On pod calls, two Key Account Managers (“KAMs”) from different districts would

 conduct a talk with approximately 10-15 sales representatives from across the country. These calls

 were held once a month. Off-label marketing was encouraged on these calls and sales persons in

 different districts shared tips on how to off-label market Intelence and Prezista, including the off-

 label marketing schemes detailed above.

         163.    Relators participated in many monthly pod calls on which off-label marketing of

 Prezista and Intelence was discussed. On the calls, many individuals relayed off-label sales tactics,

 including promoting Prezista as lipid-neutral. Further, Relator Penelow’s notes mention that she

 should contact KAM Nancy Bartnett to get the off-label Binding Study and Lipid Studies to use

 in the field.

         164.    Relators and their respective “pod” groups each attended a special meeting at

 Janssen headquarters in New Jersey with upper-level management. Relator Brancaccio’s pod

 group attended in the Fall of 2010 and Relator Penelow’s group in August of 2011. At both

 meetings, Janssen (formerly Tibotec) upper management, including the President, was in

 attendance and participated in the discussion. The purpose of the meeting was to discuss with the

 high-level management what sales strategies were working in the field and how customers were

 responding.     At Relator Penelow’s meeting, off-label marketing strategies were discussed.

 Included at the meeting, among others, was the President, VP of Marketing, VP of Sales, VP of

 Key Account Managers, VP of Human Resources, VP of Communications and the VP of Clinical.

                                            District Calls

         165.    District calls, which took place on average 2-4 times a month, were led by district

 managers and included all the salespeople in a district. Manager of New York District 1, Tony




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 Dolisi, led these calls in Relator Penelow’s district and encouraged the sales force to promote the

 off-label marketing messages detailed herein.

                                           District Meetings

         166.    District meetings, which took place approximately 8-10 times a year, were in-

 person meetings led by district managers and included all the sales representatives in the district.

 Off-label promotion of Prezista and Intelence was often discussed, including the use of off-label

 studies. After these district meetings, sales representatives would receive the off-label study and

 use it on sales calls with providers. Some sales persons were given many copies by Defendant.

 Sales representatives all comprehended that the studies should be disseminated like a sales

 promotion piece. In order to disguise the off-label marketing, binders were provided with “For

 educational purposes only” stamped across the posters that were in the binders.

         167.    Relators recall that to encourage off-label marketing of Intelence, the sales force

 was told that Janssen did try to get QD (once a day) approval of Intelence from the FDA, but they

 didn't have enough data to support approval. Upper management told sales representatives that

 they would ultimately receive QD approval for Intelence as the trials continued. They assured sales

 persons that they need not worry about the indication, that they should promote QD dosing, that

 the long half-life of Intelence supported QD dosing, and the sales representatives could share this

 information with physicians. Marketing slides were shown to sales representatives that discussed

 the long half-life of Intelence. Janssen made it clear at all district meetings that it wanted the sales

 representatives to share this data with health care professionals, including physicians, physician

 assistants, and nurse practitioners. The message was that Intelence could be prescribed once-a-

 day because of its long half-life.

         168.    Manager Dolisi presented at multiple district meetings throughout the relevant time

 period and stated that Janssen’s intention with Intelence was to promote off‐label once-a-day


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 Intelence immediately because Janssen needed to increase Intelence sales in the short-term because

 many new QD regimens were soon coming to market. Dolisi is no longer employed at Janssen.

 He left their employ in approximately August 2015 and currently works for Turing

 Pharmaceuticals.

        169.    The sales force was pressured to push hard when selling Intelence. Janssen hoped

 to cause health care professionals to issue as many Intelence prescriptions as possible in whatever

 manner necessary. Using this direction from upper management, Dolisi (and other district

 managers) pressured and intimidated the sales force to use off label studies to increase sales

 revenue from 2008 through 2014.

                                           POA Meetings

        170.    Each year, the virology sales force would be presented with a Plan of Action, which

 was a marketing plan distributed to the national sales force. The Plan of Action would be discussed

 in meetings called “POAs”, in which the entire virology sales force, the national sales director, the

 marketing team, the medical science liaison and community liaisons all attended. Upper level

 executives at Janssen continued to instruct the Janssen sales force to market off-label at POAs.

        171.    Janssen announced in or around 2009 at a Nationwide POA meeting that it had

 attempted to obtain approval for once-daily Intelence a second time and that the FDA had

 requested long, expensive, time consuming clinical trials. Janssen stated they would not be

 pursuing these trials both because of the cost, and because Janssen was on the verge of launching

 Complera, another QD HIV regimen option. Janssen did not want Intelence to compete with

 Complera, which was eventually approved by the FDA in 2011. These comments were stated by

 upper management to the entire national sales team.

        172.    At that point, most sale representatives had already been successfully promoting

 QD Intelence off-label. Janssen had already made ample profits from its illegal conduct and


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 exceeded sales goals. The business plan for Intelence, presented by Dolisi, had been for Janssen

 to “get in,” make their millions, and get out. Janssen executed that plan by using the illegal

 marketing campaign described herein through September 2014, when Janssen stopped marketing

 Intelence.

        173.    At the 2015 POA, the sales force was provided with slides that instructed the sales

 force on how to promote Prezista’s superior binding affinity. These slides were presented by a

 Janssen executive at the POA, see discussion above in Section V.A.2.

        174.    Additionally, at POAs, Relators were provided off-label studies and posters in-

 between formal talks and presentations. These materials were usually provided during breakout

 sessions at the POA meetings. These studies included the ones described herein to promote

 Prezista and Intelence off label.

                                            Trial Meetings

        175.    Triad meetings were more informal gatherings of members of the sales force within

 a district that frequently took place in restaurants. Relator Penelow was repeatedly urged to market

 off-label at these triad meetings by Dolisi and Bartnett.

        176.    Through these calls and meetings, Janssen instructed its nationwide sales force to

 market Prezista and Intelence off-label.

        177.    Relator Penelow has talked to ten current employees who have been pressured to

 market off-label and have in fact marketed Prezista and Intelence off-label. These sales persons

 marketed in New Jersey, New York, Florida, Washington DC, Maine, and California. Relator has

 also talked to four former employees who left Janssen because they were pressured to market

 Prezista and Intelence off-label and were threatened to be placed on a performance plan, requiring

 them to meet certain metrics or else be dismissed. These persons - Russ Moyer, Lisa Cruz, Joe

 Holshoe and Donna Graham - were top sellers at Janssen. Joe Holshoe worked as a Senior


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 Virology Sales Representative for Janssen covering New Hampshire, but left the company when

 he was pressured to market off-label. He now lives in Rhode Island and works for the Navy.

        178.    Only sales representatives who engaged in off-label marketing were more likely to

 meet aggressive sales targets set by Janssen. These employees, who met or exceeded their sales

 targets, were rewarded with promotions, bonuses and other prizes that included fully-paid

 vacations. One such Janssen sales representative, Yvonne Wind-Vasquez, who also worked as a

 prescribing Physician’s Assistant in Florida, has received numerous sales bonuses, extravagant

 trips and gifts for producing high sales figures, all while continuing to work in an HIV practice

 prescribing HIV medication. Janssen ignored this conflict of interest. Ms. Wind-Vasquez and her

 prescribing partners have maintained the highest market share in the country. Her Janssen

 manager, Scott Libby, has been promoted to a director’s position, and has arranged to have Janssen

 geographically realign sales districts in order to maximize bonus dollars. In accordance with his

 demands, Florida is now considered part of the Western region. Conversely, when Relator

 Penelow failed to meet her sales targets because, inter alia, she refused to engage in off-label

 marketing, she was denied promotions and bonuses.

        B.      Janssen Delivered the Misleading Messaging During Sales Calls, Dinner
                Programs and Speaker Programs

                1.     Sales Calls on Physicians

        179.    Janssen pressured its sale representatives to engage in off-label marketing in face

 to face meetings with doctors. Janssen gave sales representatives multiple copies of study

 summaries to distribute to doctors that contained off-label claims. As set forth in detail below,

 sales representatives were instructed by their supervisors to use these studies to make false and

 misleading claims about Intelence and Prezista. To cover their tracks, the sales representatives




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 were told not to leave these summaries with doctors, but to retrieve them after they showed them

 to doctors. As sales representatives, Relators have firsthand knowledge of these facts.

        180.    For example, Relator Penelow was given a binder by Sales Trainer, McSherry, with

 studies that purportedly supported the use of Prezista and Intelence for off-label use. Bartnett and

 McSherry encouraged Relator Penelow to use this binder, insisting that sales persons all around

 the county were using a similar binder.

        181.    Relators Penelow and Brancaccio both experienced off-label promotion in sales

 calls with Bartnett, McSherry and Dolisi. Each would explain very clearly to the provider that

 Intelence is approved for only twice-a-day use because Janssen did not want to spend money to

 obtain approval for once daily dosing. These sales persons and managers told doctors that

 Intelence was safe and effective for once a day use and, if it were not for the cost of further clinical

 studies, Janssen would have sought and received such approval. Moreover, these sales persons

 and managers told doctors that Intelence was safe and effective for once-a-day use as well as for

 treatment-naïve patients.

        182.    In one instance, Bartnett made Relator Penelow repeat Janssen’s standard off-label

 marketing pitch to a doctor, despite Penelow’s stated reluctance to do so. Bartnett listened

 approvingly as Relator Penelow told a doctor that Intelence had a long half-life, was safe and

 effective for once-daily use, and that if Janssen decided to spend the money, they could receive

 approval for once-daily Intelence.

        183.    Janssen’s misleading messages regarding Prezista were delivered on in person sales

 calls, including those involving the following Janssen sales representatives/ managers and

 physicians:

               Key Account Manager (“KAM”) Bartnett called on Drs. Sanjana Koshy MD, Tessa
                Gomez MD, John Weber PA, Nadim Salomon MD at Beth Israel Medical Center -



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             Peter Kruger HIV Clinic (317 E. 17th St., Manhattan) whose patients are 100%
             Medicaid and NY State ADAP.

            KAM Bartnett called on Iris Nagin PA at the Lower East Side Treatment Center
             (46 E. Broadway, Manhattan) whose patients are 100% Medicaid and NY State
             ADAP.

            KAM Bartnett called on Larry Landphair PA at Astor Medical Group (67 Irving
             Place, Manhattan) whose patients have all types of insurance, including Medicaid
             and NY State ADAP.

            KAM Bartnett and McSherry called on Drs. Lawrence Hitzeman MD, Jean-Louis
             Salinas MD, Richard Gold MD at Village Care - HIV Clinic & Community Based
             Organization (121 W. 20th St., Manhattan) whose patients are 100% Medicaid and
             NY State ADAP.

            KAM Bartnett and McSherry called on Dr. Ricky Hsu MD at his office (154 W
             14th St., Manhattan). His patients include those with all types of insurance,
             including Medicaid and NY State ADAP.

            KAM Bartnett and McSherry called on Drs. Rona Vail MD, Gal Mayer MD, Ward
             Carpenter MD, and Susan Weiss NP at Callen Lorde Community Health Center -
             Lesbian/Gay/Bi-Sexual/Transgender HIV Clinic (356 W. 18th St., Manhattan)
             whose patients are100% Medicaid and NY State ADAP.

            Manager of New York District 1 Dolisi and Jimmy Kwok called on Dr. Andre
             Brutus MD at Brookdale Hospital (1 Brookdale Plaza, Brooklyn). His patients
             include those with all types of insurance, including about 80% Medicaid.

            Manager Dolisi called on Dr. Joseph Exilhomme MD of Kings County Hospital
             (451 Clarkson Ave, Brooklyn). His patients include those with all types of
             insurance, but mainly Medicaid.

            Manager Dolisi and Jimmy Kwok called on Drs. Samuel Uter MD and Joseph Paul
             MD at Pierre Toussaint Family Health Center (1110 Eastern Parkway, Brooklyn)
             whose patients include all types, including Medicare, Medicaid and NY State
             ADAP.

            KAM Bartnett and Manager Dolisi called on Drs. David Rubin MD and Sorana
             Segal-Maurer MD at New York Hospital Queens - HIV Clinic (138-47 Horace
             Harding Expwy, 2nd Fl, Queens) whose patients are 100% Medicaid and NY State
             ADAP.

            Manager Dolisi and Jimmy Kwok called on Dr. Sangam Jhaveri MD at Queens
             Long Island Medical Group (18005 Hillside Ave, Queens) whose patients included
             all types, including Medicare, Medicaid, and NY State ADAP.



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              Manager Dolisi and Jimmy Kwok called on Alla Shkolnik NP (42 Hausman St,
               Brooklyn) whose patients include all types, including Medicare, Medicaid, and NY
               State ADAP.

              Manager Dolisi and Jimmy Kwok called on Kathleen Aratoon NP (8268 164th St,
               Queens) whose patients include all types, including Medicare, Medicaid, and NY
               State ADAP.

              KAM Bartnett called on Dr. Alexander McMeeking MD and Abbe Friedberg NP
               (110 E. 40th St., Manhattan) whose patients include all types, including Medicare,
               Medicaid, and NY State ADAP.

              KAM Bartnett called on Dr. Michael Mullen MD, Chief Medical Director at Mt.
               Sinai - Jack Martin HIV Clinic (5 E. 98th St., Manhattan) whose patients
               include100% Medicaid and NY State ADAP.

              KAM Bartnett called on Dr. Christopher Busillo at NYU Downtown - HIV Clinic
               (170 William St., Manhattan) whose patients include about 80% Medicaid and NY
               State ADAP.

              KAM Bartnett and Manager Dolisi called on Dr. Donald Kaminsky at his office (10
               Union Sq. East, Manhattan). His patients include some Medicaid patients.

        184.   Janssen’s misleading messages regarding Intelence were delivered in sales calls,

 including those involving the following Janssen sales representatives/ managers and physicians:

              KAM Bartnett and McSherry called on Dr. Ricky Hsu at his office (154 W 14th St.,
               Manhattan). His patients include Medicaid and NY State ADAP patient.

              KAM Bartnett and McSherry called on Dr. Rona Vail and Dr. Gal Mayer at the
               Lorde Community Health Center – Lesbian/Gay/Bi-Sexual/Transgender HIV
               Clinic (356 W. 18th St., Manhattan). Their patients are all Medicaid and NY State
               ADAP patients.

              KAM Bartnett called on Dr. Sanjana Koshy, Dr. Tessa Gomez, and Dr. Nadim
               Salomon at Beth Israel Medical Center - Peter Kruger HIV Clinic (317 E. 17th St.,
               Manhattan). Their patients are Medicaid and NY State ADAP patients.

              Manager Dolisi and Jimmy Kwok called on Dr. Andre Brutus at Brookdale Hospital
               (1 Brookdale Plaza, Brooklyn). His patients include Medicaid patients.

              Manager Dolisi called on Dr. Joseph Exilhomme at Kings County Hospital (451
               Clarkson Ave, Brooklyn). His patients include Medicaid patients.




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               Manager Dolisi and Jimmy Kwok called on Drs. Samuel Uter MD and Joseph Paul
                MD at Pierre Toussaint Family Health Center (1110 Eastern Parkway, Brooklyn).
                Their patients include Medicare, Medicaid, and NY State ADAP patients.

               KAM Bartnett and manager Dolisi called on Dr. David Rubin and Sorana Segal-
                Maurer at New York Hospital Queens - HIV Clinic (138-47 Horace Harding
                Expwy, 2nd Fl, Queens). Their patients are Medicaid and NY State ADAP patients.

               Manager Dolisi and Jimmy Kwok called on Sangam Jhaveri MD at Queens Long
                Island Medical Group (18005 Hillside Ave, Queens). His patients include
                Medicare, Medicaid, and NY State ADAP.

               KAM Bartnett called on Donald Kaminsky MD at his private practice (10 Union
                Sq. East, Manhattan). His patients include Medicaid patients.

               KAM Bartnett, Jimmy Kwok, and Christine Brancaccio called on Dr. Carlos
                Salama at Elmhurst Hospital (79-01 Broadway, Elmhurst). His patients are
                predominantly Medicare, Medicaid and NYS ADAP.

        185.    For physician sales calls, Janssen gave its sales representatives copies of the studies

 to rely on when calling on physicians, even though the studies are not included in the drug’s

 package insert, approved by the FDA and are of questionable scientific value. Managers and

 supervisors pressured the sales force to show these studies to doctors to promote Intelence and

 Prezista off-label. The sales force, including Relators, was specifically instructed not to follow

 official company policy that disallowed the distribution of these studies to doctors. For example,

 Dolisi (manager) and Bartnett (KAM), Relators’ direct supervisors, provided Relators the studies

 referenced herein and encouraged Relators to discuss these studies with doctors.

        186.    Furthermore, in around March 2012, Dolisi told his sales force to “be creative

 outside the label” when marketing Prezista and Intelence.

        187.    In fact, when doctors had scientific and medical questions about Prezista and

 Intelence, the sales force, including Relators, were instructed by Bartnett not to route calls to

 Janssen’s scientific liaison, but rather to Bartnett herself, who would falsely claim that she was the

 scientific liaison and repeat the false and misleading marketing messages.



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         188.   Within Relators’ district (NY 1), Bartnett and Dolisi freely used the studies during

 sales calls to physicians. They frequently showed the studies to physicians, sometimes leaving the

 studies at the physicians’ offices, and sometimes sending them electronically.

         189.   KAM Bartnett bragged to Relator Penelow about her off-label sales calls in an

 attempt to convince Relator to do the same. When Relator Penelow voiced her discomfort, she

 was in turn demoted and taken off key initiatives. KAM Bartnett bragged to Relator Brancaccio

 that the off-label marketing was making a great impact with and resonating with physicians. To

 demonstrate, she referenced a physician she routinely called on, Dr. Segal-Maurer, who had a 54%

 market share of Prezista prescriptions within all ARV drugs, and a 57.5% market share within the

 PI class.

         190.   On November 13, 2012, on a sales call on Dr. Glenn Turrett, a physician at New

 York Hospital Queens, Bartnett falsely minimized the risk of Prezista increasing a patient’s lipids.

 She stated, “from a lipid standpoint, they [Reyataz and Prezista] are both the same” when in fact,

 as discussed above, this is untrue as Reyataz does not raise cholesterol, as Prezista does.

                2.      The Kickback Scheme

                        a.     Dinner Programs

         191.   In addition to sales calls, Janssen fraudulently promoted Prezista off-label at dinner

 programs by overstating their superiority to other drugs based on their so-called binding affinity

 and their alleged favorable lipid profile and fraudulently promoted Intelence off-label for once a

 day use and for treatment naives. These dinner programs initially started as a mere thank you for

 high volume sellers, but eventually morphed into well-attended educational dinners. Often at

 expensive and luxurious restaurants, these dinners were fully paid for by Defendant. KAM

 Bartnett distributed a slide deck for speakers to use at dinner programs that included a slide




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 reprinting Figure 2 from the Binding Study. Figure 2 purportedly demonstrates in graph form the

 much stronger binding affinity of Prezista than the other PI drugs included in the study.

        192.    Oftentimes, Janssen would plant questioners in the audience of these dinner

 presentations in order to ensure that off-label use of the drugs was a topic of discussion. Some

 health care provider attendees who asked off-label questions included the following: Dr. Michael

 Mullen, Dr. Nadim Salomon, Dr. Donald Kaminsky, Dr. Gal Mayer, Larry Higgins and John

 Weber PA and Mark Miller RN. This tactic disguised that Janssen organized the speaker events

 for the purpose of engaging in off-label marketing.

        193.    For example, Sorona Segal‐Maurer MD, New York Hospital of Queens, became a

 national speaker for Intelence (as well as Prezista). She was flown all over the country to do

 numerous speaking programs on behalf of Tibotec. Before a program began in NY, KAM Bartnett,

 would ask one of her providers in the audience to ask Dr. Segal‐Maurer during the lecture, “Can

 Intelence be used once a day because of its long half life?” This “plant” opened the conversation

 for off label discussion. Segal-Maurer is well known for her willingness to “go off the reservation”

 to get off label information disseminated to her audience.

        194.    Some of the dinner programs did not even include a formal, promotional speech or

 presentation given by the paid speaker, but rather the entire program merely amounted to a casual

 conversation at which dinner was provided for free.

        195.    Dinner programs were always held at high-end restaurants, such as Morton’s,

 Capital Grille, and Fleming’s Steak House, and Relators, throughout their employment, had

 unlimited expense accounts to fund these programs.

        196.    Janssen’s misleading promotion regarding Prezista concerning the favorable lipid

 profile and the binding affinity were delivered during the following dinner programs:




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            January 27th, 2010 – A dinner program at Bond Street Restaurant in New York, NY
             featured a promotional speech by Dr. Sorana Segal-Maurer, who was instructed by
             Key Account Manager Bartnett to sell Prezista on the uniqueness and favorable
             binding ability of Prezista. Bartnett placed Mark Miller in the audience to bring up
             questions regarding the off-label uses of the drug during the question and answer
             session that followed. Attendees included: Bina Berkovich, PA, Dr. Daniel
             Bowers, Dr. Krisczar Bungay, Key Account Manager Reggie Cadet, Edwin
             Calderon, PA, District Manager Dolisi, Mohammed Eritonui, Dr. Avisheh
             Forouzesh, Dr. Stuart Haber, Vanessa Haney, Dr. Joanna Kopacz, Eric Leach, NP,
             Dr. Paul Mathieu, Dr. Gal Mayer, Sales Trainer McSherry, Mark Miller, RN, Erik
             Mortensen, NP, Iris Nagin, NP, Dr. Anita Radix, Dr. Joseph Rahimian, Dr. Sireesha
             Reddy, Access and Reimbursement Director Eric Sherr, Dr. Rashmi Singh, Senior
             Virology Sales Specialist Steve Smacchia, Dr. Celestine Tchikounzi, Carl Urban,
             Ph.D., Dr. Rona Vail, Dr. Wehbeh, and Mulubrhan Zewde, NP.

            February 23rd, 2010 – A dinner program at Fleming’s Steak House in Raleigh, NC
             featured a promotional speech by Dr. Segal-Maurer.

            March 30th, 2010 – A dinner program at Joe’s Stone Crab in Miami Beach, FL
             featured a promotional speech by Dr. Segal-Maurer, who promoted information
             off-label concerning Prezista’s binding affinity and effect on lipid levels.

            April 13th, 2010 – A dinner program at Acquarello in San Francisco, CA featured a
             promotional speech by Dr. Segal-Maurer, who promoted information off-label
             concerning Prezista’s effect on lipid levels.

            April 14th, 2010 – A dinner program at BLD Restaurant in Los Angeles, CA
             featured a promotional speech by Dr. Segal-Maurer.

            April 14th, 2010 – A dinner program at Cecconi’s in West Hollywood, CA featured
             a promotional speech by Dr. Segal-Maurer.

            May 12th, 2010 – A dinner program at Serenade in Chatham, NJ featured a
             promotional speech by Dr. Segal-Maurer.

            June 28th, 2010 – A dinner program at Capital Grille in Chicago, IL featured a
             promotional speech by Dr. Segal-Maurer who promoted information off-label
             concerning Prezista’s effect on lipid levels.

            August 10th, 2010 – A dinner program at Steinhilber’s Restaurant in Virginia
             Beach, VA featured a promotional speech by Dr. Segal-Maurer.

            October 7th, 2010 – A dinner program at Porter House in New York, NY featured
             a promotional speech by Dr. Segal-Maurer who promoted information off-label
             concerning Prezista’s binding affinity. Attendees included: Sherly Altidor, PA, Dr.
             Lloyd Bailey, Dr. Ronald Grossman, Peter Harz, Thomas Hayden, Geraldine
             Joseph, PA, Sales Trainer McSherry, Dr. Michael Morelli, Senior Virology Sales


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             Representative Dennis O’Keeffe, Brad Rothenbuhler, Dr. Antonio Urbina, Keith
             Wills, PA, Barbara Zagelbaum, Mulubrhan Zewde, NP, and Stuart Zuckerman,
             RPH.

            November 30th, 2010 – A dinner program at Citrone in Redlands, CA featured a
             promotional speech by Dr. Segal-Maurer.

            February 1st, 2011 – A dinner program at Aldea Restaurant in New York, NY
             featured a promotional speech by Dr. Seagl-Maurer who promoted information off-
             label concerning Prezista’s effect on lipid levels. Attendees included: KAM Ms.
             Bartnett, Dr. Robert Chavez, District Manager Dolisi, Dr. Michael Gaisa, Dr.
             Jeffrey Greene, Dr. Lawrence Hitzeman, Dr. Donald Kaminsky, Dr. Martin
             Markowitz, Dr. Alexander McMeeking, Sales Trainer McSherry, Dr. Michael
             Mullen, Relator Jessica Penelow, Dr. Jean-Louis Salinas, and Senior Virology
             Sales Specialist Steve Smacchia.

            May 4th, 2011 – A dinner program at Carltun on the Park in East Meadow, NY
             featured a promotional speech by Dr. Segal-Maurer who promoted information off-
             label concerning Prezista’s binding affinity, stating that it staying in the pocket
             longer than any other PI drug, and effect on lipid levels, favorably comparing it to
             Reyataz. Attendees included: KAM Bartnett, Relator Christine Brancaccio, John
             Civitello, RN, Dr. Karl Deshrage, Al Dossantos, RPH, Dr. Steven Golinowski, Dr.
             Sabiha Haque, and Debbie Tirelli.

            October 24th, 2011 – A dinner program at TreDici in New York, NY featured a
             promotional speech by Dr. Segal-Maurer who promoted information off-label
             concerning Prezista’s binding affinity and effect on lipid levels. Attendees
             included: Jocquain Arcena, KAM Bartnett, Dr. Rita Chow, Dr.Gaisa, Dr. Livette
             Johnson, Dr. Barbara Johnston, Dr. Oscar Klein, Dr. Luz Amarilis Lugo, Sales
             Trainer McSherry, Mark Miller, RN, Janet Parker, Dr. John Steever, and Dr. Glenn
             Turett.

            November 2nd, 2011 – A dinner program at Alpha Fusion in New York, NY
             featured a promotional speech by Dr. Segal-Maurer. Attendees included: KAM
             Bartnett, Dr. Adrian Demidont, Dr. Orin Douglas, Erin Mazza, PA, Ronica
             Mukerjee, NP, Steve Rodgers, NP, Dr. Urbina, and Susan Weiss, NP.

            November 2nd 2011 – A dinner program at Tamarind in New York, NY featured a
             promotional speech by Dr. Segal-Maurer who promoted information off-label
             concerning Prezista’s binding affinity and effect on lipid levels. Attendees
             included: Joaquin Arcena, KAM Bartnett, Monique Carasso, NP, Molly Cronin,
             PA, Reyna Cruz, Dr. Tessa Gomez, Dr. Haber, Vanessa Haney, Sales Trainer
             McSherry, Mark Miller, RN, Dr. Mullen, Dr. Salinas, and Senior Virology Sales
             Specialist Steve Smacchia.

            January 17, 2012 – A dinner program at Aldea Restaurant in New York, NY
             featured a promotional speech by Dr. Segal-Maurer who promoted information off-


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               label concerning Prezista’s effect on lipid levels. Attendees included: KAM
               Bartnett, Dr. Bungay, Dr. Ward Carpenter, Dr. Chavez, Dr. Stephen Dillon, Dr.
               Kaminsky, Dr. McMeeking, Dr. Mullen, Realtor Jessica Penelow, Susanne
               Rendeiro, NP, Dr. Nadim Salomon, and Senior Virology Sales Specialist Steve
               Smacchia.

              January 25th, 2012 – A dinner program at TreDici in New York, NY featured a
               promotional speech by Dr. Segal-Maurer. Attendees included: KAM Bartnett,
               Jocquain Aracena, Reyna Cruz, Dr. Johnson, Dr. Klein, Sales Trainer McSherry,
               Mark Miller, RN, Janet Parker, Access and Reimbursement Director Eric Sherr,
               Maria Sires, Senior Virology Sales Specialist Steve Smacchia, Elizabeth Smith,
               PA, and Dr. Turett.

              February 23rd, 2012 – A dinner program at Morton’s Steakhouse in Bethesda, MD
               featured a promotional speech by Dr. Segal-Maurer. Attendees included: Dr. Jose
               Chavez and Dr. Veronica Jenkins.

              February 29th, 2012 – A dinner program at Capital Grille in Tampa, FL featured a
               promotional speech by Dr. Segal-Maurer.

              March 1st, 2012 – A dinner program at Ristorante Claretta in Palm City, FL featured
               a promotional speech by Dr. Segal-Maurer.

              March 12th, 2012 – A dinner program at Le Vallauris in Palm Springs, CA featured
               a promotional speech by Dr. Segal-Maurer.

              April 5th, 2012 – A dinner program at Estia Restaurant in Philadelphia, PA featured
               a promotional speech by Dr. Segal-Maurer. Attendees included: Susan Daniluk,
               Rob Mascaro, Key Account Manager Robert Mumford, David Agosto, NP, David
               Downie, Sales Representative Ed Duca, Sheila Henry, Bertha Jackson, NP, Angela
               Kapalko, PA, Mable Lyons, and Christine Randazzo, RN.

              June 13th, 2012 – A dinner program at Rathbun’s in Atlanta, GA featured a
               promotional speech by Dr. Segal-Maurer.

              March 11, 2014 – A dinner program in Syosset, NY featured a promotional speech
               by Dr. David Rubin.

        197.   Janssen’s misleading messages regarding Intelence were delivered during the

 following dinner programs:

              April 22nd, 2010 – A dinner program at Novita in New York, NY featured a
               promotional speech by Dr. Segal-Maurer. Attendees included: KAM Ms. Bartnett,
               Dr. Gaisa, Dr. Hitzeman, Lawrence Landphair, NP, Dr. Todd McNiff, Sales Trainer
               McSherry, Mark Miller, RN, Dr. Mullen, Dr. Salinas, Dr. William Shay, and Dr.
               Wehbeh.


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            September 22nd, 2010 – A dinner program at Blue Water Grill in New York, NY
             featured a promotional speech by Dr. Kaminsky who promoted using Intelence
             once a day, and stated that it was the only NNRTI he was currently administering.
             Attendees included KAM Bartnett, Dr. Chavez, Dr. Bowers, Michelle Patton,
             Relator Jessica Penelow, and Susan Santoro.

            November 11th, 2010 – a dinner program at Philip Marie in New York, NY featured
             a promotional speech by Dr. Kaminsky who promoted the once a day use of
             Intelence, and discussed its off-label uses. Attendees included: KAM Ms. Bartnett,
             Dr. Leonidez De Guzman, Dr. Gweneth Francis, Dr. Robert Goldstein, Dr. Gomez,
             Dr. Sanjana Koshy, Sondra Middleton, PA, Dr. Akshay Manohar, Relator Jessica
             Penelow, Dr. Salomon, Dr. Usha Mathur-Wagh, and John Weber, RPA.

            November 11th, 2010 – A dinner program at Philip Marie in New York, NY featured
             a promotional speech by Dr. Kaminsky who promoted information off-label
             concerning the half-life of Intelence. Attendees included: KAM Ms. Bartnett, Dr.
             De Guzman, Dr. Francis, Dr. Goldstein, Dr. Gomez, Dr. Koshy, Sondra Middleton,
             PA, Dr. Monohar, Relator Jessica Penelow, Dr. Salomon, Dr. Mathur-Wagh, and
             John Weber, RPA.

            December 7th, 2010 – A dinner program at Spice Market in New York, NY featured
             a promotional speech by Dr. Segal-Maurer. Attendees included: KAM Ms.
             Bartnett, Dr. Bungay, Dr. Carpenter, Dr. Dillon, Lawrence Landphair, NP, Dr.
             Mayer, Sales Trainer McSherry, Dr. Radix, and Susan Weiss, NP.

            December 8th, 2010 – A dinner program at Morton’s Steakhouse in Great Neck, NY
             featured a promotional speech by Dr. Kaminsky who discussed information off-
             label including using Intelence once a day. Attendees included: KAM Bartnett,
             Relator Christine Brancaccio, Dr. Patricia Cole, Dr. Deshrage, Dr. Rachel Franck,
             Lulette Infante, RN, Jean Jacques, Regina Mengual, Martine Michel-Toure, David
             Natal, Joseph Navarra, RPH, Steven Orandello, Jack Pierro, Dr. Christine Sethna,
             Access and Reimbursement Director Eric Sherr, Marvin Siegel, Daniel Velazquez,
             and Suzanne Vento, RN.

            December 14th, 2010 – A dinner program at Spice Market in New York, NY
             featured a promotional speech by Dr. Kaminsky who promoted information off-
             label concerning using Intelence once a day. Attendees included: Dr. Leonard
             Berkowitz, Key Account Manager Reggie Cadet, Gregory Celestin, PA, Agnes
             Cha, and Senior Virology Sales Specialist Angelica Edwards.

            February 10th, 2011 – A dinner program at Morton’s Steakhouse in Brooklyn, NY
             featured a promotional speech by Dr. Kaminsky. Senior Virology Sales
             Representative Jimmy Kwok also spoke and promoted off-label uses. Attendees
             included: Dr. Jamsheed Abadi, Dr. Lubin Augustin, Dr. Andre Brutus, Key
             Account Manager Reggie Cadet, District Manager Dolisi, Senior Virology Sales
             Specialist Angelica Edwards, Rebecca Fry, NP, Dr. Jesi Ramone, and Alla
             Shkolnik, NP.


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               April 26th, 2011 – A dinner program at Pera in New York, NY featured a
                promotional speech by Dr. Kaminsky. Attendees included: Dr. Yusuf Afacan, Key
                Account Manager Reggie Cadet, Senior Virology Sales Representative Jimmy
                Kwok, Dr. Tevfik Mentes, Valerie Santangelo, NP, Alla Shkolnik, NP, and Dr.
                Mathur-Wagh.

               July 27th, 2011 – A dinner program at Spanish Tavern in Newark, NJ featured a
                promotional speech by Dr. Segal-Maurer who stated that Intelence could be used
                successfully once a day, and that she used it successfully this way in her own
                practice. Attendees included: Dr. Muhammad Afridi, Dr. Spartaco Bellomo,
                Sophie Ciszewski, RN, Rickey Danszey, Susan Garcia, Lillie Jones, Sandy Lenflin,
                Maria Lorenzo, Dr. Lewis Marton, Vieshia Morales, Veronica Naranso, Executive
                Virology Sales Representative Bryan O’Dea, Senior Virology Sales Representative
                Dennis O’Keeffe, Veronica Osero, Ms. Peterson, Dr. Lauro Rocha, Dominick
                Varsalone, RN, Keith Williams, and Kim Worrell.

               August 11th, 2011 – A dinner program at Novita in New York, NY featured a
                promotional speech by Dr. Segal-Maurer who discussed using Intelence once a day.
                Attendees included: KAM Bartnett, Lara Comotoa, Dr. Mayer, Sales Trainer Tim
                McSherry, Dr. Mullen, Dr. Radix, Dr. Jilan Shah, Dr. Belinda Velazquez, and
                Susan Weiss, NP.

               March 26th, 2012 – A dinner program at Tre Dici in New York, NY featured a
                promotional speech by Dr. Kaminsky. Attendees included: Joquain Arcena, KAM
                Ms. Bartnett, Reyna Cruz, Dr. Gaisa, Dr. Johnson, Dr. Klein, Dr. Lugo, Mark
                Miller, RN, Janet Parker, Relator Jessica Penelow, Senior Virology Sales Specialist
                Steve Smacchia, Eliyahith Smith, and Dr. Glenn Turrett.

                        b.      Speaker Programs

        198.    Janssen also paid high-prescribing physicians to give speeches fraudulently

 marketing Prezista and Intelence to a crowd of physicians in other settings. These speaker

 programs provide opportunities for Janssen to hire individuals to speak on the off-label uses of

 their drugs. The speakers are generally paid $2,500 per talk, and are shuttled on all-expenses-paid

 trips across the country. They are often sent to other states not only to promote off-label, but also

 to accommodate their personal travel destinations: Dr. Sorana Segal-Maurer frequently asks to be

 sent to Chicago to watch baseball with her son or to California to shop with her daughter, Dr.

 Nadim Solomon prefers to be sent to Florida to visit family. Some other highly-compensated

 physician speakers included Dr. Don Kaminsky, Dr. Ridey Hsu and Dr. Andre Brutus.


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        199.    Bartnett, Executive Key Account Manager at Janssen, organized these speaker

 programs. She would recruit doctors that she knew were willing to market Prezista and Intelence

 off-label. She would then prepare slide decks for these speakers with off-label marketing messages

 and send these doctors around the country to promote Prezista and Intelence off-label. KAM

 Bartnett would then prepare the speakers by telling them what to expect, who would be in

 attendance, and inform the speaker to share their anecdotal experience with the drug. These

 speakers earned significant fees from Janssen. If an individual was considered a high volume

 prescriber, they would be added to the list of speakers. Conversely, if they failed to reach a certain

 percentage, they were removed under the guise that they did not have enough patient experience.

 Dr. Juan Bailey from Beth Israel Medical Center was removed from the list because of his low

 market share and his unwillingness to promote the off-label studies. Other speakers removed from

 the list for low prescribing included: Dr. Stanley Yankovitz, Dr. Alex McMeeking, Dr. Jeffrey

 Green, Abby Freedberg NP, Karen Weisz NP, Rita Kelly NP, Linda Ording-Bauer NP and Kathy

 Aratoon NP.     MedForce, an outside medical communications company, manages Janssen’s

 speaker fund and maintains records of who attends the programs, who are the speakers, and how

 much money is paid.

        200.    As with dinner programs, Janssen would plant questioners in the audience during

 the question and answer session which would usually follow the one-hour presentation, to ask

 questions about the off-label use of the drug. This tactic disguised that Janssen organized the

 speaker events for the purpose of engaging in off-label marketing.

        201.    Moreover, Janssen paid speakers, including Drs. Segal-Maurer, Hsu, Kaminsky,

 Brutus, Salomon and Rashbaum to give speeches across the United States which included off-label




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 messages regarding Prezista. Ms. Bartnett provided these speakers with the same slide deck

 including the Binding Study slide, as the one used by the dinner program speakers.

        202.    For example, Janssen paid Dr. Ricky Hsu approximately $50,000 – $70,000 a year

 for speeches occurring all over the country (with a per speech payment of approximately $2,000-

 $2,500). Further, Dr. Segal-Maurer most likely received at least $50,000 per year for the last eight

 years of speeches on behalf of Janssen. In 2015, she gave 34 speeches paid for by Janssen.

 Moreover, Dr. Elizabeth Race gave 39 speeches on behalf of Janssen in 2015.

        203.    The prescribing habits of the paid speakers as well as the attendees were tracked

 and monitored by Janssen. For example, in 2012, Relator Penelow prepared an Excel spreadsheet

 for a district meeting with Manager Dolisi tracking the impact of the once-daily Intelence

 promotion. The spreadsheet was organized by paid speaker including, Drs. Kaminsky and Segal-

 Maurer, and showed the volume of the physicians’ Intelence prescription writing as compared to

 the competitor drugs as well as their percentage growth in Intelence prescriptions.

        204.    Janssen’s misleading messages regarding Prezista were delivered during the

 following speaker programs:

               February 23rd, 2010 – A speaker program at East Carolina University in Greenville,
                NC featured a promotional speech by Dr. Segal-Maurer who focused on
                differentiating Prezista from other PIs with regard to its binding affinity and effect
                on lipid levels.

               June 30th, 2010 – A speaker program at Provient Hospital in Chicago, IL featured
                a promotional speech by Dr. Segal-Maurer.

               November 30th, 2010 – A speaker program at Orion Health Group in Palm Springs,
                CA featured a promotional speech by Dr. Segal-Maurer who discussed Prezista’s
                effect on lipid levels.

               December 9th, 2010 – A speaker program at Liberty Health Center in Jersey City,
                NJ featured a promotional speech by Dr. Segal-Maurer.

               December 10th, 2010 – A speaker program at Special Care Clinic in Flushing, NY
                featured a promotional speech by Dr. Segal-Maurer who discussed how lipid


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               friendly Prezista is for aging patients, and how it stays in the pocket longer and is
               more forgiving if a patient misses a dose. Attendees included: Relator Christine
               Brancaccio, Victor Cruz, Dr. Nyabilondi Ebama, Susan Kiernan, Dr. Kopacz,
               Noriel Mariano, Dr. David Rubin, Thema Tierney, and Dr. Wehbeh.

              March 16th, 2011 – A speaker program at SouthWest CARE Center in Santa Fe,
               NM featured a promotional speech by Dr. Segal-Maurer who discussed Prezista’s
               favorable lipid profile. Attendees included: Dr. Betsy Brown, Dr. Warren
               Goldenberg, Dr. Trevor Hawkins, Cyatha Lujan, LPN, Peter Mengazo, Anthony
               Mueller, Luc Poppe, Senior Virology Sales Representative Brendan Snyder, Jeff
               Thomas, Larry Turner, and Wenoah Veikley, RN.

              February 14th, 2012 – A speaker program at Sunset Terrace Family Health Center
               in Brooklyn, NY featured a promotional speech by Dr. Segal-Maurer. Attendees
               included: KAM Reggie Cadet, Misty Chiu, NP, Dr. Deeptha Nedunchezian,
               Graciele Phlatts, LPN, and Jonathan Reynolds.

              February 23rd, 2012 – A speaker program at Montgomery County Health
               Department in Silver Springs, MD featured a promotional speech by Dr. Segal-
               Maurer. Attendees included Dr. Anthony Fernandez.

              February 29th, 2012 – A speaker program at Consultative Medicine at Daytona
               Beach, FL featured a promotional speech by Dr. Segal-Maurer.

              March 12th, 2012 – A speaker program at Desert AIDS Project in Palm Springs, CA
               and featured a promotional speech by Dr. Segal-Maurer.

              March 23rd, 2012 – A speaker program at Special Care Clinic in Flushing, NY
               featured a promotional speech by Dr. Segal-Maurer who discussed Prezista’s effect
               on lipid levels. Attendees included: Lilia Albaneze, Relator Christine Brancaccio,
               Karen Lau, PA, Susan Kiernan, Dr. Nauman Piracha, Javeria Shakil, Dr. Peter
               Wasserman, and Dr. Sadia Zahid.

              April 5th, 2012 – A speaker program at Atlantic City Outpatient Clinic in Atlantic
               City, NJ featured a promotional speech by Dr. Segal-Maurer. Attendees included:
               Dr. Ricardo Barzaga, Terrence Crowley, Deb Downey, Jean Freeman, Anaris
               Gonzalez, Jean Haspel, NP, Dr. Dana Jones, Mike Khan, Christine McGloin, KAM
               Robert Mumford, Nana Noal, Cathy Stapleton, LPN, and Kay Wilsbach.

              April 12th, 2012 – A speaker program at Avia in Savannah, GA featured a
               promotional speech by Dr. Segal-Maurer.

        205.   Janssen’s misleading messages regarding Intelence were delivered during the

 following speaker programs:




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            March 18th, 2010 – A speaker program at Queens HIV Care Network in Jamaica,
             NY featured a promotional speech by Dr. Kaminsky. Attendees included: Dr.
             Sandra Alvarez, KAM Bartnett, Stephen Cerny, Dr. Jennifer Chung, Brenda
             Collins, Janice Daste Sinkler, Francisco Diaz, NP, Andres Garcia, Dr. Deborah
             Greene, Michael Hadley, Delores Henley, Myung Hunt, Sonia Kaikai, Rosemary
             Lopez, Virginia Morales, Judy Pedraza, Gustavo Pedroza, Carin Pinney, Hector
             Resto, Melissa Robertson, RN, Nataly Rubio Torres, Janice Sickler, Robert
             Steptoe, and Michael Valentin.

            May 12th, 2010 – A speaker program at Village Center New York in New York,
             NY featured a promotional speech by Dr. Segal-Maurer. Attendees were all social
             workers and included: KAM Bartnett, Daniel Calderon, PA, Steven Deitch, Karen
             Ford, Lois Gonzalez, Michael Hickey, RPH, Dr. Tiffany Le, Denise Mahon, RN,
             Ken Moberg, NP, Patricia Motus, OTR, Kelly Nicely, Bernice Noriega, Juan
             Olmedo, Maria Palanachud, Carmen Rodriguez, Danielle Sullivan, Joanne Tehrani,
             RD, Lisa Torres, and Dr. Janice Zimmerman.

            June 3rd, 2010 – A speaker program at West Midtown Medical Group in New York,
             NY featured a promotional speech by Dr. Kaminsky. Attendees included: KAM
             Bartnett, Dr. Philip Gianelli, Kathryn Godly, PA, Daniel Painagua, PA, Dr. Steven
             Rappaport, Marianne Sciberras, Linda Soo, RN, and Blair Wiggins, PA.

            October 7th, 2010 – A speaker program at Town Total in New York, NY featured a
             promotional speech by Dr. Kaminsky who discussed using Intelence once a day.
             Attendees included: Heather Baek, KAM Ms. Bartnett, Lisa Boodram, Bernice
             Chen, PHAR, Fernando De Los Santos, PHAR, Michael Escuder, RPH, Aisha
             Heslop, Tasmiya Khan, PHAR, Hening Kwan, PHAR, Sam Merrill, Joseph
             Navaro, Michael Navaro, John Navarra, RPH, Joseph Navarra, RPH, Lynn
             Navarra, Mariya Rockman, Dr. Marvin Siegal, Usha Tejueaney, Dr. Cindy Wang,
             Lingyee Wong, Allison Yee, PHAR, and Irina Yusim, PHAR.

            October 15th, 2010 – A speaker program at NYHQ Special Care Clinic in Flushing,
             NY featured a promotional speech by Dr. Trevor Hawkins. Attendees included:
             KAM Ms. Bartnett, Relator Christine Brancaccio, Victor Cruz, Dr. Ebama, Lydia
             Gonzalez, Karen Hall, Susan Kiernan, Dr. Kopacz, Noriel Mariano, Dr. Rubin, Dr.
             Segal-Maurer, Dr. Tchikounzi, Theme Tierney, Dr. Wasserman, and Dr. Wehbeh.

            October 28th, 2010 – A speaker program at West Midtown Medical Center in New
             York, NY featured a promotional speech by Dr. Kaminsky. Attendees included:
             Katherine Godly, PA, Dr. Patricia Grosvenor, Yasmine Hubbard, Daniel Paniagua,
             PA, Dr. Rappaport, Marianne Riberras, Senior Virology Sales Specialist Steve
             Smacchia, and Blair Wiggins, P.A.

            October 29th, 2010 –A speaker program at Lutheran Medical Center in Brooklyn,
             NY featured a promotional speech by Dr. Kaminsky. Attendees included: Gabriel
             Bananeo, Dr. Laura Beauchamps Bonnet, KAM Reggie Cadet, Dalila Dieppa, Dr.



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                David John, Katherine O’Neil, Alan Orfel, Dr. Marcelo Venegas-Pizarro, and
                Tielei Wong.

               November 11th, 2010 – A speaker program at Greenwich House in New York, NY
                featured a promotional speech by Dr. Kaminsky. Attendees included: KAM Ms.
                Bartnett, Gloria Diaz, Judy Goris, Tracy Henry, PT, Veronica Martinez, R Membo
                Mcanell, Melissa Nordstrom, Judy Pedroza, Dr. Punyadech Photangtham, Louis
                Rayas, Susanne Rendeiro, NP, Angelica Rolon, and Alexandra Schaumber, MSW.

               December 7th, 2010 – A speaker program at Greewich House in New York, NY
                featured a promotional speech by Dr. Segal-Maurer. Attendees included: Madeline
                Bellamy, Nicholas Calabrese, Gloria Davey, Judy Goris, Michael Hickey, RPH,
                George Jagatic, MS, Lee La Shore, Dr. Le, Denise Mahon, RN, Veronica Martinez,
                Ken Moberg, NP, Melissa Nordstrom, Susanne Rendeiro, NP, Carmen Rodriguez,
                Annette Scantebury, Senior Virology Sales Specialist Steve Smacchia, and Ilsa
                Torres.

               March 10th, 2011 – A speaker program at Lutheran Sunset Park Health Center in
                Brooklyn, NY featured a promotional speech from Dr. Kaminsky. Attendees
                included: Dr. Beauchamps Bonnet, Senior Virology Sales Specialist Angelica
                Edwards, Rebecca Fry, NP, Gloria Ivonne Moreno, Katherine O’Neil, Jason Siegel,
                ArronTorrel, and Dr. Marcelo Venegas Pizarro.

               July 27th, 2011 – A speaker program at Village Day Treatment in New York, NY
                featured a promotional speech by Dr. Kaminsky. Attendees included: KAM Ms.
                Bartnett, Jay Dismukes, Veronica Gernett, MS, Michael Hickey, RPH, Kevin
                Hook, Denise Mahon, RN, Ken Moberg, NP, Kelly Nicely, CRNA, Bernice
                Noriega, Juan Olmeda, MSW, Amy Panichi, Carmen Rodriguez, Joanne Tehrani,
                RD, Lisa Torres, and Dr. Zimmerman.

               October 6th, 2011 – A speaker program at Newark Community Health Center in
                East Orange, NJ featured a promotional speech by Dr. Kaminsky who promoted
                using Intelence once a day. Attendees included: Latifah Abdus-solaen, Dr.
                Sebastian Kabiawu, Executive Virology Sales Representative Bryan O’Dea, O
                Ogunno, Ms. Peterson, and Sheila Roymono.

        C.      Janssen Fails to Meaningfully Investigate Complaints of Salespeople
                Pressured to Engage In Off-Label Marketing

        206.    In and around 2010, a New Jersey sales representative, Joanne Cesario, complained

 to upper management about Frank Murphy, her supervisor, pressuring her to use off-label

 marketing materials provided by Janssen to market Prezista and Intelence to doctors. As discussed

 above, Janssen had provided sales representatives with studies that would assist them in marketing



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 Prezista and Intelence off-label, but Janssen’s official policy – which sales persons were expected

 to deviate from – prevented distribution of these materials.

         207.     In response, Janssen conducted a perfunctory investigation. Upon information and

 belief, each sales representative for the New Jersey office was called in to a meeting with attorneys

 and asked if they illegally marketed drugs off-label or were pressured to do so. The representatives

 met with one another and decided to protect Mr. Murphy by denying the allegations. In doing so,

 they ended the investigation.

         208.     Currently, neither Ms. Cesario nor Mr. Murphy is working for Janssen.

         209.     Janssen continues its practice of providing sales representatives with materials to

 assist in the off-label marketing of Prezista and Intelence.

 VII.    FALSE CLAIMS

         A.       Defendant Caused the Submission of False Claims for Misbranded and Off-
                  Label Prezista and Intelence Prescriptions

         210.     Throughout the relevant time period, Defendant knowingly caused the submission

 of false claims for reimbursement of Prezista and Intelence. As alleged in detail above, during

 sales calls with physicians, dinner program and speaker programs nationwide, Defendant marketed

 Prezista and Intelence in a false and misleading way by misrepresenting a serious side effect

 associated with Prezista (that it increases lipids), overstating Prezista’s efficacy (the Binding

 Study) and falsely claiming that Intelence is safe and effective taken once-a-day and by treatment-

 naïve patients. This conduct illegally misbranded the drug3 and constituted off-label promotion.

         211.     As a result of Defendant’s misleading messages regarding Prezista and Intelence,

 Defendant caused false claims to be submitted to the Government Health Care Programs for



 3
  Again, a drug is “misbranded” if its labeling (defined very broadly) and advertising is false and misleading in any
 way.


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 reimbursement. Each of the claims for Prezista and Intelence included an express and/or implied

 certification of compliance with federal and state law and regulations. Those certifications were

 false because the drugs were misbranded in violation of the FDCA and/or off-label. Further, those

 certifications were false or fraudulent because they falsely represented that Prezista and Intelence

 were “reasonable and necessary” for the treatment of the patients and, therefore, the associated

 claims are ineligible for reimbursement.

        212.    While the cost of providing Prezista and Intelence for on-label and non-misbranded

 uses to Government Health Care Program recipients is covered by the Government Health Care

 Programs, including Medicare and Medicaid, the cost of off-label and misbranded prescriptions is

 not. Since Prezista and Intelence were promoted off-label, were not “reasonable and necessary”

 for the treatment of some patients and misbranded, claims for prescriptions caused by this

 misconduct are not reimburseable.

        213.    Knowingly submitting or causing the submission of claims for prescription drugs

 which are not reimburseable creates liability under the FCA. Thus, these claims to the government

 for reimbursement caused to be submitted by Defendant’s unlawful conduct constitute violations

 of section 3729 of the FCA and relevant State FCAs.

        B.      Defendant Caused the Submission of False Claims in Violation of the Anti-
                Kickback Statute

        214.    Defendant’s payments to physicians for dinner and speaker programs which

 included misleading and off-label messages regarding Prezista and Intelence as well as other

 remuneration provided the means for Defendant to pay kickbacks to physicians to induce

 prescriptions of Prezista and Intelence. Any prescriptions for Prezista and Intelence written by

 said physicians during the relevant time period were tainted by these kickbacks.




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          215.     Additionally, Defendant caused claims to be submitted to the Government Health

 Care Programs for reimbursement. Each of the claims for Prezista and Intelence included an

 express and/or implied certification of compliance with federal and state law and regulations.

 Those certifications were false because they were in violation of the AKS. Further, since 2010,

 the AKS now expressly states that a violation of the AKS constitutes a “false or fraudulent” claim

 under the False Claims Act. (42 U.S.C. § 1320(a)-7b(g)).

          216.     Further, compliance with the AKS is a material condition of payment under

 Medicare and Medicaid.4 Falsely certifying compliance with a condition of payment, or causing

 another to falsely certify compliance with a condition of payment, incurs liability under the FCA.5

          217.     Thus, the claims to the Government Health Care Programs that the Defendant’s

 unlawful conduct caused constitute violations of Section 3729 of the FCA and relevant State FCAs.

 VIII. COUNTS

                                                     COUNT I

                            FEDERAL FALSE CLAIMS ACT,
                             31 U.S.C.A. §§ 3729(a)(1)(A), (B)
                   FOR MISBRANDED AND OFF-LABEL PRESCRIPTIONS
                            OF PREZISTA AND INTELENCE

          218.     Relators reallege and incorporate by reference the preceding paragraphs as if fully

 set forth herein.




 4
  See United States et al. ex rel. Westmoreland v. Amgen Inc., 2011 U.S. App. LEXIS 15036 (1st Cir. July 22, 2011);
 United States ex rel. Hutcheson v. Blackstone Medical, Inc., 2011 U.S. App. LEXIS 10972 (1st Cir. June 1, 2011);
 United States ex rel. Schmidt v. Zimmer, Inc., 386 F.3d 235, 243 (3d Cir. 2004); United States ex rel. Conner v. Salina
 Regional Health Ctr., 543 F.3d 1211, 1223 n.8 (10th Cir. 2008); United States ex rel. McNutt v. Haleyville Medical
 Supplies, 423 F.3d 1256, 1259-1260 (11th Cir. 2005); United States v. Rogan, 459 F. Supp. 2d 692, 717 (N.D. Ill.
 2006), aff’d, 517 F.3d 449 (7th Cir. 2008).
 5
   United States ex rel. Hutcheson v. Blackstone Medical, Inc., 2011 U.S. App. LEXIS 10972, *36 (1st Cir. June 1,
 2011) (“unlawful acts by non-submitting entities may give rise to a false or fraudulent claim even if the claim is
 submitted by an innocent party); see also United States v. Rivera, 55 F.3d 703, 710-712 (1st Cir. 1995) (stating that a
 “false claim may be presented through an innocent third party” (citations omitted).


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         219.    Throughout the relevant time period, Defendant caused the submission of false

 claims for reimbursement for Prezista and Intelence. These claims were false because claims for

 misbranded drugs, for drugs that are not “reasonable and necessary” for the treatment of patients

 and/or claims submitted due to off-label promotion are not eligible for reimbursement by the

 Government Health Care Programs. Through this conduct, Defendant knowingly caused false or

 fraudulent claims for payment to the United States in violation of Section 3729(a)(1)(A) of the

 Act.

         220.    Further, throughout the relevant time period, Defendant, through its off-label

 marketing and misbranding of Prezista and Intelence, has knowingly made or used false records

 or statements material to false or fraudulent claims to the United States, in violation of Section

 3729(a)(1)(B) of the Act. Defendant has knowingly made numerous misleading statements, false

 statements, and omissions regarding Prezista and Intelence, including but not limited to the claim

 that Prezista is “lipid-neutral,” Prezista has superior “binding affinity” over other PI drugs, and

 Intelence is safe and effective for once a day use and for treatment-naïve patients.

         221.    As a result of Defendant’s knowing violations of the Act, the United States has

 sustained actual damages.

                                            COUNT II

                               FEDERAL FALSE CLAIMS ACT,
                                  31 U.S.C. § 3729(a)(1)(A)
                               FOR UNLAWFUL KICKBACKS

         222.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

 set forth herein.

         223.    Throughout the relevant time period, Defendant has knowingly and willfully made

 unlawful payments to physicians and other health care professionals in connection with dinner and

 speaker programs and provided other things of value, such as free trips, for the purpose of, among


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 other things, inducing them to prescribe Prezista and Intelence, payment for which may be made

 in whole or in part under the Government Health Care Programs. Each claim tainted by these

 unlawful kickbacks which was subsequently presented to the Government Health Care Programs

 constituted a false or fraudulent claim for payment.

         224.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

 payment to the United States in violation of Section 3729(a)(1)(A) of the Act.

         225.    As a result of Defendant’s knowing violations of the Act, the United States has

 sustained actual damages.

                                            COUNT III

                         CALIFORNIA FALSE CLAIMS ACT
                        CAL. GOV’T CODE §§ 12651(A)(1), (2)
                 FOR MISBRANDED AND OFF-LABEL PRESCRIPTIONS
                          OF PREZISTA AND INTELENCE

         226.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

 set forth herein.

         227.    Throughout the relevant time period, Defendant caused the submission of false

 claims for reimbursement for Prezista and Intelence. These claims were false because claims for

 misbranded drugs, for drugs that are not “reasonable and necessary” for the treatment of patients

 and/or claims submitted due to off-label promotion are not eligible for reimbursement by

 California. Through this conduct, Defendant knowingly caused false or fraudulent claims for

 payment to California in violation of Section 12651(a)(1) of the Act.

         228.    Further, throughout the relevant time period, Defendant, through its off-label

 marketing and misbranding of Prezista and Intelence, has knowingly made or used false records

 or statements material to false or fraudulent claims to California, in violation of Section

 12651(a)(2) of the Act. Defendant has knowingly made numerous misleading statements, false



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 statements, and omissions regarding Prezista and Intelence, including but not limited to the claim

 that Prezista is “lipid-neutral,” Prezista has superior “binding affinity” over other PI drugs, and

 Intelence is safe and effective for once a day use and for treatment-naïve patients.

         229.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

 payment to California in violation of 12651(a)(1) and (2) of the Act.

         230.    As a result of Defendant’s knowing violations of the Act, the United States has

 sustained actual damages.

                                            COUNT IV

                              CALIFORNIA FALSE CLAIMS ACT
                                 Cal. Gov’t Code § 12651(a)(1)
                               FOR UNLAWFUL KICKBACKS

         231.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

 set forth herein.

         232.    Throughout the relevant time period, Defendant has knowingly and willfully made

 unlawful payments to physicians and other health care professionals in connection with dinner and

 speaker programs and provided other things of value for the purpose of, among other things,

 inducing them to prescribe Prezista and Intelence, payment for which may be made in whole or in

 part under the Government Health Care Programs. Each claim tainted by these unlawful kickbacks

 which was subsequently presented to California constituted a false or fraudulent claim for

 payment.

         233.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

 payment to California in violation of Section 12651(a)(1) of the Act.

         234.    As a result of Defendant’s knowing violations of the Act, California has sustained

 actual damages.




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                                             COUNT V

                     COLORADO MEDICAID FALSE CLAIMS ACT
                           C.R.S.A. §§ 25.5-4-305(1)(A), (B)
                 FOR MISBRANDED AND OFF-LABEL PRESCRIPTIONS
                          OF PREZISTA AND INTELENCE

         235.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

 set forth herein.

         236.    Throughout the relevant time period, Defendant caused the submission of false

 claims for reimbursement for Prezista and Intelence. These claims were false because claims for

 misbranded drugs, for drugs that are not “reasonable and necessary” for the treatment of patients

 and/or claims submitted due to off-label promotion are not eligible for reimbursement by

 Colorado. Through this conduct, Defendant knowingly caused false or fraudulent claims for

 payment to Colorado in violation of Section 25.5-4-305(1)(a) of the Act.

         237.    Further, throughout the relevant time period, Defendant, through its off-label

 marketing and misbranding of Prezista and Intelence, has knowingly made or used false records

 or statements material to false or fraudulent claims to Colorado, in violation of Section 25.5-4-

 305(1)(b) of the Act. Defendant has knowingly made numerous misleading statements, false

 statements, and omissions regarding Prezista and Intelence, including but not limited to the claim

 that Prezista is “lipid-neutral,” Prezista has superior “binding affinity” over other PI drugs, and

 Intelence is safe and effective for once a day use and for treatment-naïve patients.

         238.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

 payment to Colorado in violation of Section 25.5-4-305(1)(a) and (1)(b) of the Act.

         239.    As a result of Defendant’s knowing violations of the Act, the United States has

 sustained actual damages.




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                                            COUNT VI

                       COLORADO MEDICAID FALSE CLAIMS ACT
                               C.R.S. § 25.5-4-305(1)(a)
                            FOR UNLAWFUL KICKBACKS

         240.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

 set forth herein.

         241.    Throughout the relevant time period, Defendant has knowingly and willfully made

 unlawful payments to physicians and other health care professionals in connection with dinner and

 speaker programs and provided other things of value for the purpose of, among other things,

 inducing them to prescribe Prezista and Intelence, payment for which may be made in whole or in

 part under the Government Health Care Programs. Each claim tainted by these unlawful kickbacks

 which was subsequently presented to Colorado constituted a false or fraudulent claim for payment.

         242.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

 payment to Colorado in violation of Section 25.5-4-305(1)(a) of the Act.

         243.    As a result of Defendant’s knowing violations of the Act, Colorado has sustained

 actual damages.

                                           COUNT VII

                        CONNECTICUT FALSE CLAIMS ACT
                      CONN. GEN. STAT. ANN. §§ 4-275(a)(1), (2)
                 FOR MISBRANDED AND OFF-LABEL PRESCRIPTIONS
                          OF PREZISTA AND INTELENCE

         244.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

 set forth herein.

         245.    Throughout the relevant time period, Defendant caused the submission of false

 claims for reimbursement for Prezista and Intelence. These claims were false because claims for

 misbranded drugs, for drugs that are not “reasonable and necessary” for the treatment of patients



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 and/or claims submitted due to off-label promotion are not eligible for reimbursement by

 Connecticut. Through this conduct, Defendant knowingly caused false or fraudulent claims for

 payment to Connecticut in violation of Section 4-275(a)(1) of the Act.

         246.    Further, throughout the relevant time period, Defendant, through its off-label

 marketing and misbranding of Prezista and Intelence, has knowingly made or used false records

 or statements material to false or fraudulent claims to Connecticut, in violation of Section 4-

 275(a)(2) of the Act. Defendant has knowingly made numerous misleading statements, false

 statements, and omissions regarding Prezista and Intelence, including but not limited to the claim

 that Prezista is “lipid-neutral,” Prezista has superior “binding affinity” over other PI drugs, and

 Intelence is safe and effective for once a day use and for treatment-naïve patients.

         247.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

 payment to Connecticut in violation of Section 17b-301b(a)(1) and (a)(2) of the Act.

         248.    As a result of Defendant’s knowing violations of the Act, the United States has

 sustained actual damages.

                                           COUNT VIII

                             CONNECTICUT FALSE CLAIMS ACT
                             CONN. GEN. STAT. ANN.§ 4-275(a)(1)
                               FOR UNLAWFUL KICKBACKS

         249.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

 set forth herein.

         250.    Throughout the relevant time period, Defendant has knowingly and willfully made

 unlawful payments to physicians and other health care professionals in connection with dinner and

 speaker programs and provided other things of value for the purpose of, among other things,

 inducing them to prescribe Prezista and Intelence, payment for which may be made in whole or in

 part under the Government Health Care Programs. Each claim tainted by these unlawful kickbacks


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 which was subsequently presented to Connecticut constituted a false or fraudulent claim for

 payment.

         251.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

 payment to Connecticut in violation of Section 4-275(a)(1) of the Act.

         252.    As a result of Defendant’s knowing violations of the Act, Connecticut has sustained

 actual damages.

                                            COUNT XL

                  DELAWARE FALSE CLAIMS AND REPORTING ACT
                      DEL CODE ANN. TIT. 6, §§ 1201(A)(1), (2)
                 FOR MISBRANDED AND OFF-LABEL PRESCRIPTIONS
                          OF PREZISTA AND INTELENCE

         253.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

 set forth herein.

         254.    Throughout the relevant time period, Defendant caused the submission of false

 claims for reimbursement for Prezista and Intelence. These claims were false because claims for

 misbranded drugs, for drugs that are not “reasonable and necessary” for the treatment of patients

 and/or claims submitted due to off-label promotion are not eligible for reimbursement by

 Delaware. Through this conduct, Defendant knowingly caused false or fraudulent claims for

 payment to Delaware in violation of Section 1201(a)(1) of the Act.

         255.    Further, throughout the relevant time period, Defendant through its off-label

 marketing and misbranding of Prezista and Intelence, has knowingly made or used false records

 or statements material to false or fraudulent claims to Delaware, in violation of Section 1201(a)(2)

 of the Act. Defendant has knowingly made numerous misleading statements, false statements, and

 omissions regarding Prezista and Intelence, including but not limited to the claim that Prezista is




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 “lipid-neutral,” Prezista has superior “binding affinity” over other PI drugs, and Intelence is safe

 and effective for once a day use and for treatment-naïve patients.

         256.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

 payment to Delaware in violation of Section 1201(a)(1) and (a)(2) of the Act.

         257.    As a result of Defendant’s knowing violations of the Act, the United States has

 sustained actual damages.

                                             COUNT X

                     DELAWARE FALSE CLAIMS AND REPORTING ACT
                            Del Code Ann. Tit. 6, §§1201(a)(1)
                            FOR UNLAWFUL KICKBACKS

         258.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

 set forth herein.

         259.    Throughout the relevant time period, Defendant has knowingly and willfully made

 unlawful payments to physicians and other health care professionals in connection with dinner and

 speaker programs and provided other things of value for the purpose of, among other things,

 inducing them to prescribe Prezista and Intelence, payment for which may be made in whole or in

 part under the Government Health Care Programs. Each claim tainted by these unlawful kickbacks

 which was subsequently presented to Delaware constituted a false or fraudulent claim for payment.

         260.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

 payment to Delaware in violation of Section 1201(a)(1) of the Act.

         261.    As a result of Defendant’s knowing violations of the Act, Delaware has sustained

 actual damages.




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                                            COUNT XI

                          FLORIDA FALSE CLAIMS ACT
                        FLA. STAT. ANN. §§ 68.082(2)(A), (B)
                 FOR MISBRANDED AND OFF-LABEL PRESCRIPTIONS
                          OF PREZISTA AND INTELENCE

         262.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

 set forth herein.

         263.    Throughout the relevant time period, Defendant caused submission of false claims

 for reimbursement for Prezista and Intelence. These claims were false because claims for

 misbranded drugs, for drugs that are not “reasonable and necessary” for the treatment of patients

 and/or claims submitted due to off-label promotion are not eligible for reimbursement by Florida.

 Through this conduct, Defendant knowingly caused false or fraudulent claims for payment to

 Florida in violation of Section 68.082(2)(a) of the Act.

         264.    Further, throughout the relevant time period, Defendant, through its off-label

 marketing and misbranding of Prezista and Intelence, has knowingly made or used false records

 or statements material to false or fraudulent claims to Florida, in violation of Section 68.082(2)(b)

 of the Act. Defendant has knowingly made numerous misleading statements, false statements, and

 omissions regarding Prezista and Intelence, including but not limited to the claim that Prezista is

 “lipid-neutral,” Prezista has superior “binding affinity” over other PI drugs, and Intelence is safe

 and effective for once a day use and for treatment-naïve patients.

         265.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

 payment to Florida in violation of Section 68.082(2)(a) and (2)(b) of the Act.

         266.    As a result of Defendant’s knowing violations of the Act, the United States has

 sustained actual damages.




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                                            COUNT XII

                                FLORIDA FALSE CLAIMS ACT
                                  Fla. Stat. Ann. §§68.082(2)(a)
                                FOR UNLAWFUL KICKBACKS

         267.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

 set forth herein.

         268.    Throughout the relevant time period, Defendant has knowingly and willfully made

 unlawful payments to physicians and other health care professionals in connection with dinner and

 speaker programs and provided other things of value for the purpose of, among other things,

 inducing them to prescribe Prezista and Intelence, payment for which may be made in whole or in

 part under the Government Health Care Programs. Each claim tainted by these unlawful kickbacks

 which was subsequently presented to Florida constituted a false or fraudulent claim for payment.

         269.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

 payment to Florida in violation of Section 68.082(2)(a) of the Act.

         270.    As a result of Defendant’s knowing violations of the Act, Florida has sustained

 actual damages.

                                           COUNT XIII

                     GEORGIA FALSE MEDICAID CLAIMS ACT
                        GA. CODE ANN. §§ 49-4-168.1(A)(1), (2)
                 FOR MISBRANDED AND OFF-LABEL PRESCRIPTIONS
                          OF PREZISTA AND INTELENCE

         271.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

 set forth herein.

         272.    Throughout the relevant time period, Defendant caused the submission of false

 claims for reimbursement for Prezista and Intelence. These claims were false because claims for

 misbranded drugs, for drugs that are not “reasonable and necessary” for the treatment of patients



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 and/or claims submitted due to off-label promotion are not eligible for reimbursement by Georgia.

 Through this conduct, Defendant knowingly caused false or fraudulent claims for payment to

 Georgia in violation of Section 49-4-168.1(a)(1) of the Act.

         273.    Further, throughout the relevant time period, Defendant, through its off-label

 marketing and misbranding of Prezista and Intelence, has knowingly made or used false records

 or statements material to false or fraudulent claims to Georgia, in violation of Section 49-4-

 168.1(a)(2) of the Act. Defendant has knowingly made numerous misleading statements, false

 statements, and omissions regarding Prezista and Intelence, including but not limited to the claim

 that Prezista is “lipid-neutral,” Prezista has superior “binding affinity” over other PI drugs, and

 Intelence is safe and effective for once a day use and for treatment-naïve patients.

         274.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

 payment to Florida in violation of Section 49-4-168.1(a)(1) and (a)(2) of the Act.

         275.    As a result of Defendant’s knowing violations of the Act, the United States has

 sustained actual damages.

                                           COUNT XIV

                         GEORGIA FALSE MEDICAID CLAIMS ACT
                             Ga. Code Ann. §§ 49-4-168.1(a)(1)
                             FOR UNLAWFUL KICKBACKS

         276.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

 set forth herein.

         277.    Throughout the relevant time period, Defendant has knowingly and willfully made

 unlawful payments to physicians and other health care professionals in connection with dinner and

 speaker programs and provided other things of value for the purpose of, among other things,

 inducing them to prescribe Prezista and Intelence, payment for which may be made in whole or in




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 part under the Government Health Care Programs. Each claim tainted by these unlawful kickbacks

 which was subsequently presented to Georgia constituted a false or fraudulent claim for payment.

         278.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

 payment to Georgia in violation of Section 49-4-168(a)(1) of the Act.

         279.    As a result of Defendant’s knowing violations of the Act, Georgia has sustained

 actual damages.

                                            COUNT XV

                           HAWAII FALSE CLAIMS ACT
                        HAW. REV. STAT. §§ 661-21(A)(1), (2)
                 FOR MISBRANDED AND OFF-LABEL PRESCRIPTIONS
                          OF PREZISTA AND INTELENCE

         280.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

 set forth herein.

         281.    Throughout the relevant time period, Defendant caused the submission of false

 claims for reimbursement for Prezista and Intelence. These claims were false because claims for

 misbranded drugs, for drugs that are not “reasonable and necessary” for the treatment of patients

 and/or claims submitted due to off-label promotion are not eligible for reimbursement by Hawaii.

 Through this conduct, Defendant knowingly caused false or fraudulent claims for payment to

 Hawaii in violation of Section 661-21(a)(1) of the Act.

         282.    Further, throughout the relevant time period, Defendant, through its off-label

 marketing and misbranding of Prezista and Intelence, has knowingly made or used false records

 or statements material to false or fraudulent claims to Hawaii, in violation of Section 661-21(a)(2)

 of the Act. Defendant has knowingly made numerous misleading statements, false statements, and

 omissions regarding Prezista and Intelence, including but not limited to the claim that Prezista is




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 “lipid-neutral,” Prezista has superior “binding affinity” over other PI drugs, and Intelence is safe

 and effective for once a day use and for treatment-naïve patients.

         283.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

 payment to Hawaii in violation of Section 661-21(a)(1) of the Act.

         284.    As a result of Defendant’s knowing violations of the Act, the United States has

 sustained actual damages.

                                           COUNT XVI

                                HAWAII FALSE CLAIMS ACT
                                  Haw. Rev. Stat. §661-21(a)(1)
                                FOR UNLAWFUL KICKBACKS

         285.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

 set forth herein.

         286.    Throughout the relevant time period, Defendant has knowingly and willfully made

 unlawful payments to physicians and other health care professionals in connection with dinner and

 speaker programs and provided other things of value for the purpose of, among other things,

 inducing them to prescribe Prezista and Intelence, payment for which may be made in whole or in

 part under the Government Health Care Programs. Each claim tainted by these unlawful kickbacks

 which was subsequently presented to Hawaii constituted a false or fraudulent claim for payment.

         287.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

 payment to Hawaii in violation of Section 661-21(a)(1) of the Act.

         288.    As a result of Defendant’s knowing violations of the Act, Hawaii has sustained

 actual damages.




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                                           COUNT XVII

                          ILLINOIS FALSE CLAIMS ACT
                          740 IL.C.S. §§ 175/3(A)(1)(A), (B)
                 FOR MISBRANDED AND OFF-LABEL PRESCRIPTIONS
                          OF PREZISTA AND INTELENCE

         289.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

 set forth herein.

         290.    Throughout the relevant time period, Defendant caused the submission of false

 claims for reimbursement for Prezista and Intelence. These claims were false because claims for

 misbranded drugs, for drugs that are not “reasonable and necessary” for the treatment of patients

 and/or claims submitted due to off-label promotion are not eligible for reimbursement by Illinois.

 Through this conduct, Defendant knowingly caused false or fraudulent claims for payment to

 Illinois in violation of Section 175/3(a)(1)(A) of the Act.

         291.    Further, throughout the relevant time period, Defendant, through its off-label

 marketing and misbranding of Prezista and Intelence, has knowingly made or used false records

 or statements material to false or fraudulent claims to Illinois, in violation of Section

 175/3(a)(1)(B) of the Act. Defendant has knowingly made numerous misleading statements, false

 statements, and omissions regarding Prezista and Intelence, including but not limited to the claim

 that Prezista is “lipid-neutral,” Prezista has superior “binding affinity” over other PI drugs, and

 Intelence is safe and effective for once a day use and for treatment-naïve patients.

         292.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

 payment to payment to Illinois in violation of Section 175/3(a)(1)(A) and (B) of the Act.

         293.    As a result of Defendant’s knowing violations of the Act, the United States has

 sustained actual damages.




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                                          COUNT XVIII

            ILLINOIS WHISTLEBLOWER REWARD AND PROTECTION ACT
                         740 Ill. Comp. Stat. §§175/3(a)(1)(A)
                          FOR UNLAWFUL KICKBACKS

         294.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

 set forth herein.

         295.    Throughout the relevant time period, Defendant has knowingly and willfully made

 unlawful payments to physicians and other health care professionals in connection with dinner and

 speaker programs and provided other things of value for the purpose of, among other things,

 inducing them to prescribe Prezista and Intelence, payment for which may be made in whole or in

 part under the Government Health Care Programs. Each claim tainted by these unlawful kickbacks

 which was subsequently presented to Illinois constituted a false or fraudulent claim for payment.

         296.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

 payment to Illinois in violation of Section 175/3(a)(1)(A) of the Act.

         297.    As a result of Defendant’s knowing violations of the Act, Illinois has sustained

 actual damages.

                                          COUNTY XIX

       INDIANA FALSE CLAIMS AND WHISTLEBLOWER PROTECTION ACT
                    IND. CODE ANN. §§ 5-11-5.5-2(B)(1), (2)
             FOR MISBRANDED AND OFF-LABEL PRESCRIPTIONS
                      OF PREZISTA AND INTELENCE

         298.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

 set forth herein.

         299.    Throughout the relevant time period, Defendant caused the submission of false

 claims for reimbursement for Prezista and Intelence. These claims were false because claims for

 misbranded drugs, for drugs that are not “reasonable and necessary” for the treatment of patients



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 and/or claims submitted due to off-label promotion are not eligible for reimbursement by Indiana.

 Through this conduct, Defendant knowingly caused false or fraudulent claims for payment to

 Indiana in violation of Section 5-11-5.5-2(b)(1) of the Act.

         300.    Further, throughout the relevant time period, Defendant, through its off-label

 marketing and misbranding of Prezista and Intelence, has knowingly made or used false records

 or statements material to false or fraudulent claims to Indiana, in violation of Section 5-11-5.5-

 2(b)(2) of the Act. Defendant has knowingly made numerous misleading statements, false

 statements, and omissions regarding Prezista and Intelence, including but not limited to the claim

 that Prezista is “lipid-neutral,” Prezista has superior “binding affinity” over other PI drugs, and

 Intelence is safe and effective for once a day use and for treatment-naïve patients.

         301.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

 payment to Indiana in violation of Section 5-11-5.5-2(b)(1) and (2) of the Act.

         302.    As a result of Defendant’s knowing violations of the Act, the United States has

 sustained actual damages.

                                            COUNT XX

        INDIANA FALSE CLAIMS AND WHISTLEBLOWER PROTECTION ACT
                        Ind. Code Ann. §§5-11-5.5-2(b)(1)
                        FOR UNLAWFUL KICKBACKS

         303.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

 set forth herein.

         304.    Throughout the relevant time period, Defendant has knowingly and willfully made

 unlawful payments to physicians and other health care professionals in connection with dinner and

 speaker programs and provided other things of value for the purpose of, among other things,

 inducing them to prescribe Prezista and Intelence, payment for which may be made in whole or in




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 part under the Government Health Care Programs. Each claim tainted by these unlawful kickbacks

 which was subsequently presented to Indiana constituted a false or fraudulent claim for payment.

         305.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

 payment to Indiana in violation of Section 5-11-5.5-2(b)(1) of the Act.

         306.    As a result of Defendant’s knowing violations of the Act, Indiana has sustained

 actual damages.

                                          COUNTY XXI

                            IOWA FALSE CLAIMS ACT
                         IOWA CODE ANN. § 685.2(1)(A), (B)
                 FOR MISBRANDED AND OFF-LABEL PRESCRIPTIONS
                          OF PREZISTA AND INTELENCE

         307.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

 set forth herein.

         308.    Throughout the relevant time period, Defendant caused the submission of false

 claims for reimbursement for Prezista and Intelence. These claims were false because claims for

 misbranded drugs and/or claims submitted due to off-label promotion are not eligible for

 reimbursement by Iowa. Through this conduct, Defendant knowingly caused false or fraudulent

 claims for payment to Iowa in violation of Section 685.2(1)(a) of the Act.

         309.    Further, throughout the relevant time period, Defendant, through its off-label

 marketing, for drugs that are not “reasonable and necessary” for the treatment of patients and

 misbranding of Prezista and Intelence, has knowingly made or used false records or statements

 material to false or fraudulent claims to Iowa, in violation of Section 685.2(1)(b) of the Act.

 Defendant has knowingly made numerous misleading statements, false statements, and omissions

 regarding Prezista and Intelence, including but not limited to the claim that Prezista is “lipid-




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 neutral,” Prezista has superior “binding affinity” over other PI drugs, and Intelence is safe and

 effective for once a day use and for treatment-naïve patients.

         310.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

 payment to Iowa in violation of Section 685.2(1)(a) of the Act.

         311.    As a result of Defendant’s knowing violations of the Act, the United States has

 sustained actual damages.

                                           COUNT XXII

                                  IOWA FALSE CLAIMS ACT
                                 IOWA Code ANN. § 685.2(1)(a)
                                FOR UNLAWFUL KICKBACKS

         312.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

 set forth herein.

         313.    Throughout the relevant time period, Defendant has knowingly and willfully made

 unlawful payments to physicians and other health care professionals in connection with dinner and

 speaker programs and provided other things of value for the purpose of, among other things,

 inducing them to prescribe Prezista and Intelence, payment for which may be made in whole or in

 part under the Government Health Care Programs. Each claim tainted by these unlawful kickbacks

 which was subsequently presented to Iowa constituted a false or fraudulent claim for payment.

         314.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

 payment to Iowa in violation of Section 685.2(1)(A) of the Act.

         315.    As a result of Defendants’ knowing violations of the Act, Iowa has sustained actual

 damages.




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                                           COUNT XIII

         LOUISIANA MEDICAL ASSISTANCE PROGRAMS INTEGRITY LAW
                    LA. REV. STAT. ANN. §§ 46:438.3(A), (B)
              FOR MISBRANDED AND OFF-LABEL PRESCRIPTIONS
                       OF PREZISTA AND INTELENCE

         316.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

 set forth herein.

         317.    Throughout the relevant time period, Defendant caused the submission of false

 claims for reimbursement for Prezista and Intelence. These claims were false because claims for

 misbranded drugs, for drugs that are not “reasonable and necessary” for the treatment of patients

 and/or claims submitted due to off-label promotion are not eligible for reimbursement by

 Louisiana. Through this conduct, Defendant knowingly caused false or fraudulent claims for

 payment to Louisiana in violation of Section 46:438.3(A) of the Act.

         318.    Further, throughout the relevant time period, Defendant, through its off-label

 marketing and misbranding of Prezista and Intelence, has knowingly made or used false records

 or statements material to false or fraudulent claims to Louisiana, in violation of Section

 46:438.3(B) of the Act. Defendant has knowingly made numerous misleading statements, false

 statements, and omissions regarding Prezista and Intelence, including but not limited to the claim

 that Prezista is “lipid-neutral,” Prezista has superior “binding affinity” over other PI drugs, and

 Intelence is safe and effective for once a day use and for treatment-naïve patients.

         319.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

 payment to Louisiana in violation of Section 46:438.3(A) of the Act.

         320.    As a result of Defendant’s knowing violations of the Act, the United States has

 sustained actual damages.




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                                          COUNT XXIV

         LOUISIANA MEDICAL ASSISTANCE PROGRAMS INTEGRITY LAW
                        LA. REV. STAT. §46:438.3(A)
                       FOR UNLAWFUL KICKBACKS

         321.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

 set forth herein.

         322.    Throughout the relevant time period, Defendant has knowingly and willfully made

 unlawful payments to physicians and other health care professionals in connection with dinner and

 speaker programs and provided other things of value for the purpose of, among other things,

 inducing them to prescribe Prezista and Intelence, payment for which may be made in whole or in

 part under the Government Health Care Programs. Each claim tainted by these unlawful kickbacks

 which was subsequently presented to Louisiana constituted a false or fraudulent claim for payment.

         323.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

 payment to Louisiana in violation of Section 46:438.3(A) of the Act.

         324.    As a result of Defendant’s knowing violations of the Act, Louisiana has sustained

 actual damages.

                                           COUNT XXV

                      MASSACHUSETTS FALSE CLAIMS LAW
                     MASS. GEN. LAWS ANN. CH. 12 §§ 5B(1), (2)
                 FOR MISBRANDED AND OFF-LABEL PRESCRIPTIONS
                          OF PREZISTA AND INTELENCE

         325.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

 set forth herein.

         326.    Throughout the relevant time period, Defendant caused the submission of false

 claims for reimbursement for Prezista and Intelence. These claims were false because claims for

 misbranded drugs, for drugs that are not “reasonable and necessary” for the treatment of patients



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 and/or claims submitted due to off-label promotion are not eligible for reimbursement by

 Massachusetts. Through this conduct, Defendant knowingly caused false or fraudulent claims for

 payment to Massachusetts in violation of Section 5B(1) of the Act.

         327.    Further, throughout the relevant time period, Defendant, through its off-label

 marketing and misbranding of Prezista and Intelence, has knowingly made or used false records

 or statements material to false or fraudulent claims to Massachusetts, in violation of Section 5B(2)

 of the Act. Defendant has knowingly made numerous misleading statements, false statements, and

 omissions regarding Prezista and Intelence, including but not limited to the claim that Prezista is

 “lipid-neutral,” Prezista has superior “binding affinity” over other PI drugs, and Intelence is safe

 and effective for once a day use and for treatment-naïve patients.

         328.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

 payment to Massachusetts in violation of Section 5B(1) and (2) of the Act.

         329.    As a result of Defendant’s knowing violations of the Act, the United States has

 sustained actual damages.

                                          COUNT XXVI

                          MASSACHUSETTS FALSE CLAIMS LAW
                            MASS. GEN. LAWS CH. 12 §§5B(1)
                             FOR UNLAWFUL KICKBACKS

         330.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

 set forth herein.

         331.    Throughout the relevant time period, Defendant has knowingly and willfully made

 unlawful payments to physicians and other health care professionals in connection with dinner and

 speaker programs and provided other things of value for the purpose of, among other things,

 inducing them to prescribe Prezista and Intelence, payment for which may be made in whole or in

 part under the Government Health Care Programs. Each claim tainted by these unlawful kickbacks


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 which was subsequently presented to Massachusetts constituted a false or fraudulent claim for

 payment.

         332.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

 payment to Massachusetts in violation of Section 5B(1) of the Act.

         333.    As a result of Defendant’s knowing violations of the Act, Massachusetts has

 sustained actual damages.

                                          COUNT XXVII

                     MICHIGAN MEDICAID FALSE CLAIMS ACT
                        MICH. COMP. LAWS. §§ 400.607(2), (3)
                 FOR MISBRANDED AND OFF-LABEL PRESCRIPTIONS
                          OF PREZISTA AND INTELENCE

         334.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

 set forth herein.

         335.    Throughout the relevant time period, Defendant caused the submission of false

 claims for reimbursement for Prezista and Intelence. These claims were false because claims for

 misbranded drugs, for drugs that are not “reasonable and necessary” for the treatment of patients

 and/or claims submitted due to off-label promotion are not eligible for reimbursement by

 Michigan. Through this conduct, Defendant knowingly caused false or fraudulent claims for

 payment to Michigan in violation of Section 400.607(2) of the Act.

         336.    Further, throughout the relevant time period, Defendant, through its off-label

 marketing and misbranding of Prezista and Intelence, has knowingly made or used false records

 or statements material to false or fraudulent claims to Michigan, in violation of Section 400.607(3)

 of the Act. Defendant has knowingly made numerous misleading statements, false statements, and

 omissions regarding Prezista and Intelence, including but not limited to the claim that Prezista is




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 “lipid-neutral,” Prezista has superior “binding affinity” over other PI drugs, and Intelence is safe

 and effective for once a day use and for treatment-naïve patients.

         337.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

 payment to Michigan in violation of Section 400.607(2) of the Act.

         338.    As a result of Defendant’s knowing violations of the Act, the United States has

 sustained actual damages.

                                         COUNT XXVIII

                       MICHIGAN MEDICAID FALSE CLAIMS ACT
                           MICH. COMP. LAWS. §§400.607(1)
                            FOR UNLAWFUL KICKBACKS

         339.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

 set forth herein.

         340.    Throughout the relevant time period, Defendant has knowingly and willfully made

 unlawful payments to physicians and other health care professionals in connection with dinner and

 speaker programs and provided other things of value for the purpose of, among other things,

 inducing them to prescribe Prezista and Intelence, payment for which may be made in whole or in

 part under the Government Health Care Programs. Each claim tainted by these unlawful kickbacks

 which was subsequently presented to Michigan constituted a false or fraudulent claim for payment.

         341.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

 payment to Michigan in violation of Section 400.607(1) of the Act.

         342.    As a result of Defendant’s knowing violations of the Act, Michigan has sustained

 actual damages.




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                                          COUNT XXIX

                       THE MINNESOTA FALSE CLAIMS ACT
                        MINN. STAT. ANN. §§ 15C.02(A)(1), (2)
                 FOR MISBRANDED AND OFF-LABEL PRESCRIPTIONS
                          OF PREZISTA AND INTELENCE

         343.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

 set forth herein.

         344.    Throughout the relevant time period, Defendant caused the submission of false

 claims for reimbursement for Prezista and Intelence. These claims were false because claims for

 misbranded drugs, for drugs that are not “reasonable and necessary” for the treatment of patients

 and/or claims submitted due to off-label promotion are not eligible for reimbursement by

 Minnesota. Through this conduct, Defendant knowingly caused false or fraudulent claims for

 payment to Minnesota in violation of Section 15C.02(a)(1) of the Act.

         345.    Further, throughout the relevant time period, Defendant, through its off-label

 marketing and misbranding of Prezista and Intelence, has knowingly made or used false records

 or statements material to false or fraudulent claims to Minnesota, in violation of Section

 15C.02(a)(2) of the Act. Defendant has knowingly made numerous misleading statements, false

 statements, and omissions regarding Prezista and Intelence, including but not limited to the claim

 that Prezista is “lipid-neutral,” Prezista has superior “binding affinity” over other PI drugs, and

 Intelence is safe and effective for once a day use and for treatment-naïve patients.

         346.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

 payment to Minnesota in violation of Section 15C.02(a)(1) and (a)(2) of the Act.

         347.    As a result of Defendant’s knowing violations of the Act, the United States has

 sustained actual damages.




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                                           COUNT XXX

                          THE MINNESOTA FALSE CLAIMS ACT
                              MINN. STAT. §§15C.02(A)(1)
                             FOR UNLAWFUL KICKBACKS

         348.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

 set forth herein.

         349.    Throughout the relevant time period, Defendant has knowingly and willfully made

 unlawful payments to physicians and other health care professionals in connection with dinner and

 speaker programs and provided other things of value for the purpose of, among other things,

 inducing them to prescribe Prezista and Intelence, payment for which may be made in whole or in

 part under the Government Health Care Programs. Each claim tainted by these unlawful kickbacks

 which was subsequently presented to Minnesota constituted a false or fraudulent claim for

 payment.

         350.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

 payment to Minnesota in violation of Section 15C.02(a)(1) of the Act.

         351.    As a result of Defendant’s knowing violations of the Act, Minnesota has sustained

 actual damages.

                                          COUNT XXXI

                          MONTANA FALSE CLAIMS ACT
                       MONT. CODE ANN. §§ 17-8-403(1)(A), (B)
                 FOR MISBRANDED AND OFF-LABEL PRESCRIPTIONS
                          OF PREZISTA AND INTELENCE

         352.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

 set forth herein.

         353.    Throughout the relevant time period, Defendant caused the submission of false

 claims for reimbursement for Prezista and Intelence. These claims were false because claims for



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 misbranded drugs, for drugs that are not “reasonable and necessary” for the treatment of patients

 and/or claims submitted due to off-label promotion are not eligible for reimbursement by Montana.

 Through this conduct, Defendant knowingly caused false or fraudulent claims for payment to

 Montana in violation of Section 17-8-403(1)(a) of the Act.

         354.    Further, throughout the relevant time period, Defendant, through its off-label

 marketing and misbranding of Prezista and Intelence, has knowingly made or used false records

 or statements material to false or fraudulent claims to Montana, in violation of Section 17-8-

 403(1)(b) of the Act. Defendant has knowingly made numerous misleading statements, false

 statements, and omissions regarding Prezista and Intelence, including but not limited to the claim

 that Prezista is “lipid-neutral,” Prezista has superior “binding affinity” over other PI drugs, and

 Intelence is safe and effective for once a day use and for treatment-naïve patients.

         355.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

 payment to Montana in violation of Section 17-8-403(1)(a) of the Act.

         356.    As a result of Defendant’ knowing violations of the Act, the United States has

 sustained actual damages.

                                          COUNT XXXII

                              MONTANA FALSE CLAIMS ACT
                             MONT. CODE ANN. § 17-8-403(1)(A)
                              FOR UNLAWFUL KICKBACKS

         357.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

 set forth herein.

         358.    Throughout the relevant time period, Defendant has knowingly and willfully made

 unlawful payments to physicians and other health care professionals in connection with dinner and

 speaker programs and provided other things of value for the purpose of, among other things,

 inducing them to prescribe Prezista and Intelence, payment for which may be made in whole or in


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  part under the Government Health Care Programs. Each claim tainted by these unlawful kickbacks

  which was subsequently presented to Montana constituted a false or fraudulent claim for payment.

          359.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

  payment to Montana in violation of Section 17-8-403(1)(a) of the Act.

          360.    As a result of Defendants’ knowing violations of the Act, Montana has sustained

  actual damages.

                                          COUNT XXXIII

         THE NEVADA SUBMISSION OF FALSE CLAIMS TO STATE OR LOCAL
                              GOVERNMENT ACT
                      Nev. Rev. Stat. Ann. §§ 357.040(1)(a), (b)
               FOR MISBRANDED AND OFF-LABEL PRESCRIPTIONS
                        OF PREZISTA AND INTELENCE

          361.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

  set forth herein.

          362.    Throughout the relevant time period, Defendant caused the submission of false

  claims for reimbursement for Prezista and Intelence. These claims were false because claims for

  misbranded drugs, for drugs that are not “reasonable and necessary” for the treatment of patients

  and/or claims submitted due to off-label promotion are not eligible for reimbursement by Nevada.

  Through this conduct, Defendant knowingly caused false or fraudulent claims for payment to

  Nevada in violation of Section 357.040(1)(a) of the Act.

          363.    Further, throughout the relevant time period, Defendant, through its off-label

  marketing and misbranding of Prezista and Intelence, has knowingly made or used false records

  or statements material to false or fraudulent claims to Nevada, in violation of Section

  357.040(1)(b) of the Act. Defendant has

          364.    knowingly made numerous misleading statements, false statements, and omissions

  regarding Prezista and Intelence, including but not limited to the claim that Prezista is “lipid-


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  neutral,” Prezista has superior “binding affinity” over other PI drugs, and Intelence is safe and

  effective for once a day use and for treatment-naïve patients.

          365.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

  payment to Nevada in violation of Section 357.040(1)(a) of the Act.

          366.    As a result of Defendant’s knowing violations of the Act, the United States has

  sustained actual damages.

                                          COUNT XXXIV

         THE NEVADA SUBMISSION OF FALSE CLAIMS TO STATE OR LOCAL
                             GOVERNMENT ACT
                      NEV. REV. STAT. ANN. §§357.040(1)(a)
                        FOR UNLAWFUL KICKBACKS

          367.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

  set forth herein.

          368.    Throughout the relevant time period, Defendant has knowingly and willfully made

  unlawful payments to physicians and other health care professionals in connection with dinner and

  speaker programs and provided other things of value for the purpose of, among other things,

  inducing them to prescribe Prezista and Intelence, payment for which may be made in whole or in

  part under the Government Health Care Programs. Each claim tainted by these unlawful kickbacks

  which was subsequently presented to Nevada constituted a false or fraudulent claim for payment.

          369.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

  payment to Nevada in violation of Section 357.040(1)(a) of the Act.

          370.    As a result of Defendant’s knowing violations of the Act, Nevada has sustained

  actual damages.




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                                           COUNT XXXV

                          NEW JERSEY FALSE CLAIMS ACT
                          N.J. STAT. ANN. §§ 2A:32C-3(A), (B)
                  FOR MISBRANDED AND OFF-LABEL PRESCRIPTIONS
                           OF PREZISTA AND INTELENCE

          371.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

  set forth herein.

          372.    Throughout the relevant time period, Defendant caused the submission of false

  claims for reimbursement for Prezista and Intelence. These claims were false because claims for

  misbranded drugs, for drugs that are not “reasonable and necessary” for the treatment of patients

  and/or claims submitted due to off-label promotion are not eligible for reimbursement by New

  Jersey. Through this conduct, Defendant knowingly caused false or fraudulent claims for payment

  to New Jersey in violation of Section 2A:32C-3(a) of the Act.

          373.    Further, throughout the relevant time period, Defendant, through its off-label

  marketing and misbranding of Prezista and Intelence, has knowingly made or used false records

  or statements material to false or fraudulent claims to New Jersey, in violation of Section 2A:32C-

  3(b) of the Act. Defendant has knowingly made numerous misleading statements, false statements,

  and omissions regarding Prezista and Intelence, including but not limited to the claim that Prezista

  is “lipid-neutral,” Prezista has superior “binding affinity” over other PI drugs, and Intelence is

  safe and effective for once a day use and for treatment-naïve patients.

          374.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

  payment to New Jersey in violation of Section 2A:32C-3(a) of the Act.

          375.    As a result of Defendant’s knowing violations of the Act, the United States has

  sustained actual damages.




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                                          COUNT XXXVI

                               NEW JERSEY FALSE CLAIMS ACT
                                   N.J. STAT. § 2A:32C-3(a)
                                FOR UNLAWFUL KICKBACKS

          376.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

  set forth herein.

          377.    Throughout the relevant time period, Defendant has knowingly and willfully made

  unlawful payments to physicians and other health care professionals in connection with dinner and

  speaker programs and provided other things of value for the purpose of, among other things,

  inducing them to prescribe Prezista and Intelence, payment for which may be made in whole or in

  part under the Government Health Care Programs. Each claim tainted by these unlawful kickbacks

  which was subsequently presented to New Jersey constituted a false or fraudulent claim for

  payment.

          378.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

  payment to New Jersey in violation of Section 2A:32C-3(a) of the Act.

          379.    As a result of Defendant’s knowing violations of the Act, New Jersey has sustained

  actual damages.

                                          COUNT XXXVII

                   NEW MEXICO FRAUD AGAINST TAXPAYERS ACT
                          N.M. STAT. ANN. §§ 27-14-4 (A), (C)
                  FOR MISBRANDED AND OFF-LABEL PRESCRIPTIONS
                           OF PREZISTA AND INTELENCE

          380.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

  set forth herein.

          381.    Throughout the relevant time period, Defendant caused the submission of false

  claims for reimbursement for Prezista and Intelence. These claims were false because claims for



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  misbranded drugs, for drugs that are not “reasonable and necessary” for the treatment of patients

  and/or claims submitted due to off-label promotion are not eligible for reimbursement by New

  Mexico. Through this conduct, Defendant knowingly caused false or fraudulent claims for

  payment to New Mexico in violation of Section 27-14-4(A) of the Act.

          382.    Further, throughout the relevant time period, Defendant, through its off-label

  marketing and misbranding of Prezista and Intelence, has knowingly made or used false records

  or statements material to false or fraudulent claims to New Mexico, in violation of Section 27-14-

  4(C) of the Act.      Defendant has knowingly made numerous misleading statements, false

  statements, and omissions regarding Prezista and Intelence, including but not limited to the claim

  that Prezista is “lipid-neutral,” Prezista has superior “binding affinity” over other PI drugs, and

  Intelence is safe and effective for once a day use and for treatment-naïve patients.

          383.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

  payment to New Mexico in violation of Section 27-14-4(A) and (C) of the Act.

          384.    As a result of Defendant’s knowing violations of the Act, the United States has

  sustained actual damages.

                                         COUNT XXXVIII

                      NEW MEXICO FRAUD AGAINST TAXPAYERS ACT
                             N.M. STAT. ANN. §§27-14-4 (A)
                             FOR UNLAWFUL KICKBACKS

          385.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

  set forth herein.

          386.    Throughout the relevant time period, Defendant has knowingly and willfully made

  unlawful payments to physicians and other health care professionals in connection with dinner and

  speaker programs and provided other things of value for the purpose of, among other things,

  inducing them to prescribe Prezista and Intelence, payment for which may be made in whole or in


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  part under the Government Health Care Programs. Each claim tainted by these unlawful kickbacks

  which was subsequently presented to New Mexico constituted a false or fraudulent claim for

  payment.

          387.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

  payment to New Mexico in violation of Section 27-14-4(A) of the Act.

          388.    As a result of Defendant’s knowing violations of the Act, New Mexico has

  sustained actual damages.

                                          COUNT XXXIX

                           NEW YORK FALSE CLAIMS ACT
                         N.Y. STATE FIN. LAW §§ 189(1)(A), (B)
                  FOR MISBRANDED AND OFF-LABEL PRESCRIPTIONS
                            OF PREZISTA AND INTELENCE

          389.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

  set forth herein.

          390.    Throughout the relevant time period, Defendant caused the submission of false

  claims for reimbursement for Prezista and Intelence. These claims were false because claims for

  misbranded drugs, for drugs that are not “reasonable and necessary” for the treatment of patients

  and/or claims submitted due to off-label promotion are not eligible for reimbursement by New

  York. Through this conduct, Defendant knowingly caused false or fraudulent claims for payment

  to New York in violation of Section 189(1)(a) of the Act.

          391.    Further, throughout the relevant time period, Defendant, through its off-label

  marketing and misbranding of Prezista and Intelence, has knowingly made or used false records

  or statements material to false or fraudulent claims to New York, in violation of Section 189(1)(b)

  of the Act. Defendant has knowingly made numerous misleading statements, false statements, and

  omissions regarding Prezista and Intelence, including but not limited to the claim that Prezista is



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  “lipid-neutral,” Prezista has superior “binding affinity” over other PI drugs, and Intelence is safe

  and effective for once a day use and for treatment-naïve patients.

          392.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

  payment to New York in violation of Section 189(1)(a) and (1)(b) of the Act.

          393.    As a result of Defendant’s knowing violations of the Act, the United States has

  sustained actual damages.

                                             COUNT XL

                                NEW YORK FALSE CLAIMS ACT
                                  N.Y. STATE FIN. §§189(1)(a)
                                 FOR UNLAWFUL KICKBACKS

          394.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

  set forth herein.

          395.    Throughout the relevant time period, Defendant has knowingly and willfully made

  unlawful payments to physicians and other health care professionals in connection with dinner and

  speaker programs and provided other things of value for the purpose of, among other things,

  inducing them to prescribe Prezista and Intelence, payment for which may be made in whole or in

  part under the Government Health Care Programs. Each claim tainted by these unlawful kickbacks

  which was subsequently presented to New York constituted a false or fraudulent claim for

  payment.

          396.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

  payment to New York in violation of Section 189(1)(a) of the Act.

          397.    As a result of Defendant’s knowing violations of the Act, New York has sustained

  actual damages.




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                                            COUNT XLI

                       NORTH CAROLINA FALSE CLAIMS ACT
                        N.C. GEN. STAT. ANN. §§ 1-607(A)(1), (2)
                  FOR MISBRANDED AND OFF-LABEL PRESCRIPTIONS
                           OF PREZISTA AND INTELENCE

          398.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

  set forth herein.

          399.    Throughout the relevant time period, Defendant caused the submission of false

  claims for reimbursement for Prezista and Intelence. These claims were false because claims for

  misbranded drugs, for drugs that are not “reasonable and necessary” for the treatment of patients

  and/or claims submitted due to off-label promotion are not eligible for reimbursement by North

  Carolina. Through this conduct, Defendant knowingly caused false or fraudulent claims for

  payment to North Carolina in violation of Section 1-607(a)(1) of the Act.

          400.    Further, throughout the relevant time period, Defendant, through its off-label

  marketing and misbranding of Prezista and Intelence, has knowingly made or used false records

  or statements material to false or fraudulent claims to North Carolina, in violation of Section 1-

  607(a)(2) of the Act. Defendant has knowingly made numerous misleading statements, false

  statements, and omissions regarding Prezista and Intelence, including but not limited to the claim

  that Prezista is “lipid-neutral,” Prezista has superior “binding affinity” over other PI drugs, and

  Intelence is safe and effective for once a day use and for treatment-naïve patients.

          401.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

  payment to North Carolina in violation of Section 1-607(a)(1) of the Act.

          402.    As a result of Defendant’s knowing violations of the Act, the United States has

  sustained actual damages.




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                                            COUNT XLII

                           NORTH CAROLINA FALSE CLAIMS ACT
                             2009-554 C. SESS. LAWS § 1-607(a)(1)
                               FOR UNLAWFUL KICKBACKS

          403.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

  set forth herein.

          404.    Throughout the relevant time period, Defendant has knowingly and willfully made

  unlawful payments to physicians and other health care professionals in connection with dinner and

  speaker programs and provided other things of value for the purpose of, among other things,

  inducing them to prescribe Prezista and Intelence, payment for which may be made in whole or in

  part under the Government Health Care Programs. Each claim tainted by these unlawful kickbacks

  which was subsequently presented to North Carolina constituted a false or fraudulent claim for

  payment.

          405.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

  payment to North Carolina in violation of Section 1-607(a)(1) of the Act.

          406.    As a result of Defendant’s knowing violations of the Act, North Carolina has

  sustained actual damages.

                                           COUNT XLIII

                     OKLAHOMA MEDICAID FALSE CLAIMS ACT
                      OKLA. STAT. ANN. TIT. 63 §§ 5053.1(B)(1), (2)
                  FOR MISBRANDED AND OFF-LABEL PRESCRIPTIONS
                           OF PREZISTA AND INTELENCE

          407.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

  set forth herein.

          408.    Throughout the relevant time period, Defendant caused the submission of false

  claims for reimbursement for Prezista and Intelence. These claims were false because claims for



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  misbranded drugs, for drugs that are not “reasonable and necessary” for the treatment of patients

  and/or claims submitted due to off-label promotion are not eligible for reimbursement by

  Oklahoma. Through this conduct, Defendant knowingly caused false or fraudulent claims for

  payment to Oklahoma in violation of Section 5053.1(B)(1) of the Act.

          409.    Further, throughout the relevant time period, Defendant, through its off-label

  marketing and misbranding of Prezista and Intelence, has knowingly made or used false records

  or statements material to false or fraudulent claims to Oklahoma, in violation of Section

  5053.1(B)(2) of the Act. Defendant has knowingly made numerous misleading statements, false

  statements, and omissions regarding Prezista and Intelence, including but not limited to the claim

  that Prezista is “lipid-neutral,” Prezista has superior “binding affinity” over other PI drugs, and

  Intelence is safe and effective for once a day use and for treatment-naïve patients.

          410.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

  payment to klahoma in violation of Section 5053.1(B)(1) and (B)(2) of the Act.

          411.    As a result of Defendant’s knowing violations of the Act, the United States has

  sustained actual damages.

                                           COUNT XLIV

                        OKLAHOMA MEDICAID FALSE CLAIMS ACT
                            OKLA. STAT. TIT. 63 §§5053.1(B)(1)
                             FOR UNLAWFUL KICKBACKS

          412.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

  set forth herein.

          413.    Throughout the relevant time period, Defendant has knowingly and willfully made

  unlawful payments to physicians and other health care professionals in connection with dinner and

  speaker programs and provided other things of value for the purpose of, among other things,




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  inducing them to prescribe Prezista and Intelence, payment for which may be made in whole or in

  part under the Government Health Care Programs. Each claim tainted by these unlawful kickbacks

  which was subsequently presented to Oklahoma constituted a false or fraudulent claim for

  payment.

          414.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

  payment to Oklahoma in violation of Section 5053.1(B)(1) of the Act.

          415.    As a result of Defendant’s knowing violations of the Act, Oklahoma has sustained

  actual damages.

                                            COUNT XLV

                         RHODE ISLAND FALSE CLAIMS ACT
                       R.I. GEN. LAWS ANN. §§ 9-1.1-3(A)(1), (2)
                  FOR MISBRANDED AND OFF-LABEL PRESCRIPTIONS
                            OF PREZISTA AND INTELENCE

          416.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

  set forth herein.

          417.    Throughout the relevant time period, Defendant caused the submission of false

  claims for reimbursement for Prezista and Intelence. These claims were false because claims for

  misbranded drugs, for drugs that are not “reasonable and necessary” for the treatment of patients

  and/or claims submitted due to off-label promotion are not eligible for reimbursement by Rhode

  Island. Through this conduct, Defendant knowingly caused false or fraudulent claims for payment

  to Rhode Island in violation of Section 9-1.1-3(a)(1) of the Act.

          418.    Further, throughout the relevant time period, Defendant, through its off-label

  marketing and misbranding of Prezista and Intelence, has knowingly made or used false records

  or statements material to false or fraudulent claims to Rhode Island, in violation of Section 9-1.1-

  3(a)(2) of the Act. Defendant has knowingly made numerous misleading statements, false



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  statements, and omissions regarding Prezista and Intelence, including but not limited to the claim

  that Prezista is “lipid-neutral,” Prezista has superior “binding affinity” over other PI drugs, and

  Intelence is safe and effective for once a day use and for treatment-naïve patients.

          419.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

  payment to Rhode Island in violation of Section 9-1.1-3(a)(1) and (a)(2) of the Act.

          420.    As a result of Defendant’s knowing violations of the Act, the United States has

  sustained actual damages.

                                           COUNT XLVI

                              RHODE ISLAND FALSE CLAIMS ACT
                                 R.I. GEN. LAWS § 9-1.1-3(a)(1)
                                FOR UNLAWFUL KICKBACKS

          421.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

  set forth herein.

          422.    Throughout the relevant time period, Defendant has knowingly and willfully made

  unlawful payments to physicians and other health care professionals in connection with dinner and

  speaker programs and provided other things of value for the purpose of, among other things,

  inducing them to prescribe Prezista and Intelence, payment for which may be made in whole or in

  part under the Government Health Care Programs. Each claim tainted by these unlawful kickbacks

  which was subsequently presented to Rhode Island constituted a false or fraudulent claim for

  payment.

          423.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

  payment to Rhode Island in violation of Section 9-1.1-3(a)(1) of the Act.

          424.    As a result of Defendant’s knowing violations of the Act, Rhode Island has

  sustained actual damages.




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                                           COUNT XLVII

                     TENNESSEE MEDICAID FALSE CLAIMS ACT
                       TENN. CODE ANN. §§ 71-5-182(A)(1)(A), (B)
                  FOR MISBRANDED AND OFF-LABEL PRESCRIPTIONS
                           OF PREZISTA AND INTELENCE

          425.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

  set forth herein.

          426.    Throughout the relevant time period, Defendant caused the submission of false

  claims for reimbursement for Prezista and Intelence. These claims were false because claims for

  misbranded drugs, for drugs that are not “reasonable and necessary” for the treatment of patients

  and/or claims submitted due to off-label promotion are not eligible for reimbursement by

  Tennessee. Through this conduct, Defendant knowingly caused false or fraudulent claims for

  payment to Tennessee in violation of Section 71-5-182(a)(1)(A) of the Act.

          427.    Further, throughout the relevant time period, Defendant, through its off-label

  marketing and misbranding of Prezista and Intelence, has knowingly made or used false records

  or statements material to false or fraudulent claims to Tennessee, in violation of Section 71-5-

  182(a)(1)(B) of the Act. Defendant has knowingly made numerous misleading statements, false

  statements, and omissions regarding Prezista and Intelence, including but not limited to the claim

  that Prezista is “lipid-neutral,” Prezista has superior “binding affinity” over other PI drugs, and

  Intelence is safe and effective for once a day use and for treatment-naïve patients.

          428.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

  payment to Tennessee in violation of Section 71-5-182(a)(1)(A) and (B) of the Act.

          429.    As a result of Defendant’s knowing violations of the Act, the United States has

  sustained actual damages.




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                                          COUNT XLVIII

                        TENNESSEE MEDICAID FALSE CLAIMS ACT
                            TENN. CODE ANN. §§71-5-182(1)(A)
                             FOR UNLAWFUL KICKBACKS

          430.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

  set forth herein.

          431.    Throughout the relevant time period, Defendant has knowingly and willfully made

  unlawful payments to physicians and other health care professionals in connection with dinner and

  speaker programs and provided other things of value for the purpose of, among other things,

  inducing them to prescribe Prezista and Intelence, payment for which may be made in whole or in

  part under the Government Health Care Programs. Each claim tainted by these unlawful kickbacks

  which was subsequently presented to Tennessee constituted a false or fraudulent claim for

  payment.

          432.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

  payment to Tennessee in violation of Section 71-5-182(1)(A) of the Act.

          433.    As a result of Defendant’s knowing violations of the Act, Tennessee has sustained

  actual damages.

                                           COUNT XLIX

                     TEXAS MEDICAID FRAUD PREVENTION LAW
                      TEX. HUM. RES. CODE ANN. §§ 36.002(1), (4)
                  FOR MISBRANDED AND OFF-LABEL PRESCRIPTIONS
                           OF PREZISTA AND INTELENCE

          434.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

  set forth herein.

          435.    Throughout the relevant time period, Defendant caused the submission of false

  claims for reimbursement for Prezista and Intelence. These claims were false because claims for



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  misbranded drugs, for drugs that are not “reasonable and necessary” for the treatment of patients

  and/or claims submitted due to off-label promotion are not eligible for reimbursement by Texas.

  Through this conduct, Defendant knowingly caused false or fraudulent claims for payment to

  Texas in violation of Section 36.002(1) of the Act.

          436.    Further, throughout the relevant time period, Defendant, through its off-label

  marketing and misbranding of Prezista and Intelence, has knowingly made or used false records

  or statements material to false or fraudulent claims to Texas, in violation of Section 36.002(4) of

  the Act. Defendant has knowingly made numerous misleading statements, false statements, and

  omissions regarding Prezista and Intelence, including but not limited to the claim that Prezista is

  “lipid-neutral,” Prezista has superior “binding affinity” over other PI drugs, and Intelence is safe

  and effective for once a day use and for treatment-naïve patients.

          437.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

  payment to Texas in violation of Section 36.002(1) of the Act.

          438.    As a result of Defendant’s knowing violations of the Act, the United States has

  sustained actual damages.

                                              COUNT L

                        TEXAS MEDICAID FRAUD PREVENTION LAW
                           TEX. HUM. RES. CODE ANN. §§36.002(1)
                              FOR UNLAWFUL KICKBACKS

          439.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

  set forth herein.

          440.    Throughout the relevant time period, Defendant has knowingly and willfully made

  unlawful payments to physicians and other health care professionals in connection with dinner and

  speaker programs and provided other things of value for the purpose of, among other things,




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  inducing them to prescribe Prezista and Intelence, payment for which may be made in whole or in

  part under the Government Health Care Programs. Each claim tainted by these unlawful kickbacks

  which was subsequently presented to Texas constituted a false or fraudulent claim for payment.

          441.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

  payment to Texas in violation of Section 36.002(1) of the Act.

          442.    As a result of Defendant’s knowing violations of the Act, Texas has sustained actual

  damages.

                                             COUNT LI

                     VIRGINIA FRAUD AGAINST TAXPAYERS ACT
                         VA. CODE ANN. §§ 8.01-216.3(A)(1), (2)
                  FOR MISBRANDED AND OFF-LABEL PRESCRIPTIONS
                           OF PREZISTA AND INTELENCE

          443.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

  set forth herein.

          444.    Throughout the relevant time period, Defendant caused the submission of false

  claims for reimbursement for Prezista and Intelence. These claims were false because claims for

  misbranded drugs, for drugs that are not “reasonable and necessary” for the treatment of patients

  and/or claims submitted due to off-label promotion are not eligible for reimbursement by Virginia.

  Through this conduct, Defendant knowingly caused false or fraudulent claims for payment to

  Virginia in violation of Section 8.01-216.3(A)(1) of the Act.

          445.    Further, throughout the relevant time period, Defendant, through its off-label

  marketing and misbranding of Prezista and Intelence, has knowingly made or used false records

  or statements material to false or fraudulent claims to Virginia, in violation of Section 8.01-

  216.3(A)(2) of the Act. Defendant has knowingly made numerous misleading statements, false

  statements, and omissions regarding Prezista and Intelence, including but not limited to the claim



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  that Prezista is “lipid-neutral,” Prezista has superior “binding affinity” over other PI drugs, and

  Intelence is safe and effective for once a day use and for treatment-naïve patients.

          446.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

  payment to Virginia in violation of Section 8.01-216.3(A)(1) and (A)(2) of the Act.

          447.    As a result of Defendant’s knowing violations of the Act, the United States has

  sustained actual damages.

                                             COUNT LII

                        VIRGINIA FRAUD AGAINST TAXPAYERS ACT
                             VA. CODE ANN. §§8.01-216.3(A)(1)
                              FOR UNLAWFUL KICKBACKS

          448.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

  set forth herein.

          449.    Throughout the relevant time period, Defendant has knowingly and willfully made

  unlawful payments to physicians and other health care professionals in connection with dinner and

  speaker programs and provided other things of value for the purpose of, among other things,

  inducing them to prescribe Prezista and Intelence, payment for which may be made in whole or in

  part under the Government Health Care Programs. Each claim tainted by these unlawful kickbacks

  which was subsequently presented to Virginia constituted a false or fraudulent claim for payment.

          450.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

  payment to Virginia in violation of Section 8.01-216.3(A)(1) of the Act.

          451.    As a result of Defendant’s knowing violations of the Act, Virginia has sustained

  actual damages.




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                                            COUNT LIII

                  WASHINGTON MEDICAID FRAUD FALSE CLAIM ACT
                      REV. CODE WASH. ANN. §§ 74.66.020(1)(a), (b)
                  FOR MISBRANDED AND OFF-LABEL PRESCRIPTIONS
                            OF PREZISTA AND INTELENCE

          452.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

  set forth herein.

          453.    Throughout the relevant time period, Defendant caused the submission of false

  claims for reimbursement for Prezista and Intelence. These claims were false because claims for

  misbranded drugs, for drugs that are not “reasonable and necessary” for the treatment of patients

  and/or claims submitted due to off-label promotion are not eligible for reimbursement by

  Washington. Through this conduct, Defendant knowingly caused false or fraudulent claims for

  payment to Washington in violation of Sections 74.66.020(1)(a) of the Act.

          454.    Further, throughout the relevant time period, Defendant, through its off-label

  marketing and misbranding of Prezista and Intelence, has knowingly made or used false records

  or statements material to false or fraudulent claims to Washington in violation of Section

  74.66.020(1)(b) of the Act. Defendant has knowingly made numerous misleading statements, false

  statements, and omissions regarding Prezista and Intelence, including but not limited to the claim

  that Prezista is “lipid-neutral,” Prezista has superior “binding affinity” over other PI drugs, and

  Intelence is safe and effective for once a day use and for treatment-naïve patients.

          455.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

  payment to Washington in violation of Sections 48.80.030(1) and 48.80.030(2) of the Act.

          456.    As a result of Defendant’s knowing violations of the Act, the United States has

  sustained actual damages.




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                                            COUNT LIV

                      WASHINGTON MEDICAID FRAUD FALSE CLAIM ACT
                          REV. CODE WASH. ANN. §§ 74.66.020(1)(a)
                               FOR UNLAWFUL KICKBACKS

          457.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

  set forth herein.

          458.    Throughout the relevant time period, Defendant has knowingly and willfully made

  unlawful payments to physicians and other health care professionals in connection with dinner and

  speaker programs and provided other things of value for the purpose of, among other things,

  inducing them to prescribe Prezista and Intelence, payment for which may be made in whole or in

  part under the Government Health Care Programs. Each claim tainted by these unlawful kickbacks

  which was subsequently presented to Washington constituted a false or fraudulent claim for

  payment.

          459.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

  payment to Washington in violation of Section 74.66.020(1)(a) of the Act.

          460.    As a result of Defendant’s knowing violations of the Act, Washington has sustained

  actual damages.

                                             COUNT LV

                     DISTRICT OF COLUMBIA FALSE CLAIMS ACT
                            D.C. CODE §§ 2-381.02(A)(1), (2)
                  FOR MISBRANDED AND OFF-LABEL PRESCRIPTIONS
                           OF PREZISTA AND INTELENCE

          461.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

  set forth herein.

          462.    Throughout the relevant time period, Defendant caused the submission of false

  claims for reimbursement for Prezista and Intelence. These claims were false because claims for



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  misbranded drugs, for drugs that are not “reasonable and necessary” for the treatment of patients

  and/or claims submitted due to off-label promotion are not eligible for reimbursement by District

  of Columbia. Through this conduct, Defendant knowingly caused false or fraudulent claims for

  payment to District of Columbia in violation of Section 2-381.02(a)(1) of the Act.

          463.    Further, throughout the relevant time period, Defendant, through its off-label

  marketing and misbranding of Prezista and Intelence, has knowingly made or used false records

  or statements material to false or fraudulent claims to the District of Columbia, in violation of

  Section 2-381.02(a)(2) of the Act.      Defendant has knowingly made numerous misleading

  statements, false statements, and omissions regarding Prezista and Intelence, including but not

  limited to the claim that Prezista is “lipid-neutral,” Prezista has superior “binding affinity” over

  other PI drugs, and Intelence is safe and effective for once a day use and for treatment-naïve

  patients.

          464.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

  payment to District of Columbia in violation of Section 2-381.02(a)(1) and (a)(2) of the Act.

          465.    As a result of Defendant’s knowing violations of the Act, the United States has

  sustained actual damages.

                                            COUNT LVI

                       DISTRICT OF COLUMBIA FALSE CLAIMS ACT
                             D.C. CODE ANN. §§2-308.14(a)(1)
                              FOR UNLAWFUL KICKBACKS

          466.    Relators reallege and incorporate by reference the preceding paragraphs as if fully

  set forth herein.

          467.    Throughout the relevant time period, Defendant has knowingly and willfully made

  unlawful payments to physicians and other health care professionals in connection with dinner and




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  speaker programs and provided other things of value for the purpose of, among other things,

  inducing them to prescribe Prezista and Intelence, payment for which may be made in whole or in

  part under the Government Health Care Programs. Each claim tainted by these unlawful kickbacks

  which was subsequently presented to District of Columbia constituted a false or fraudulent claim

  for payment.

         468.    Through this conduct, Defendant knowingly caused false or fraudulent claims for

  payment to District of Columbia in violation of Section 2-308.14(a)(1) of the Act.

         469.    As a result of Defendant’s knowing violations of the Act, District of Columbia has

  sustained actual damages.

                                    REQUESTS FOR RELIEF

         WHEREFORE, Relators, on behalf of the United States and the Plaintiff States, demands

  that judgment be entered in their favor and against Defendant for the maximum amount of damages

  and such other relief as the Court may deem appropriate on each Count. This includes, with respect

  to the Federal False Claims Act, three times the amount of damages to the Federal Government

  plus civil penalties of no more than Eleven Thousand Dollars ($11,000.00) and no less than Five

  Thousand Five Hundred Dollars ($5,500.00) for each false claim, and any other recoveries or relief

  provided for under the Federal False Claims Act.

         This Request also includes, with respect to the state statutes cited above, the maximum

  damages permitted by those statutes and the maximum fine or penalty permitted by those statutes,

  and any other recoveries or relief provided for under the State FCA’s.

         Further, Relators request that they receive the maximum amount permitted by law of the

  proceeds of this action or settlement of this action collected by the United States and the Plaintiff

  States, plus reasonable expenses necessarily incurred, and reasonable attorneys’ fees and costs.




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  Relators request that their award be based upon the total value recovered, both tangible and

  intangible, including any amounts received from individuals or entities not parties to this action.

                                   DEMAND FOR JURY TRIAL

          A jury trial is demanded in this case.

  Dated: June 30, 2017                             Respectfully submitted,


                                                   /s Peter S. Pearlman
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                                                   Attorneys for Plaintiff Relators




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                                   CERTIFICATE OF SERVICE

            I hereby certify that the foregoing Second Amended Complaint Pursuant to the Federal

  False Claims Act, 31 U.S.C. §§3729 Et Seq. and Pendent State False Claims Act was served on

  this 30th day of June, 2017, via the Court’s electronic filing system (ECF) upon all counsel of

  record.



                                                     /s Peter S. Pearlman
